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PAUL SHELDON                                                                                            October 28, 2014
SPEAR VS. FENKELL                                                                                                    1–4
                                                     Page 1                                                             Page 3
·1                                                             ·1
·2·   ·UNITED STATES DISTRICT COURT                            ·2
· ·   ·EASTERN DISTRICT OF PENNSYLVANIA
                                                               ·3· · · · · · · · IT IS HEREBY STIPULATED AND AGREED that
·3·   ·--------------------------------------
· ·   ·BARBIE SPEAR, et al.,                                   ·4· ·all objections, except as to the form of the
·4                                                             ·5· ·questions, shall be reserved to the time of the
· ·   · · · · · · · · · ·Plaintiffs,                           ·6· ·trial;
·5·   · · · · · · · · · · · · · · · · · ·Civil Action No.
                                                               ·7· · · · · · · · IT IS FURTHER STIPULATED AND AGREED that
· ·   · · ·-against-· · · · · · · · · · ·CV-02391-JLS
·6                                                             ·8· ·the within examination may be subscribed and sworn to
· ·   ·DAVID B. FENKELL, et al.,                               ·9· ·before any notary public with the same force and
·7                                                             10· ·effect as though subscribed and sworn to before this
· ·   · · · · · · · Defendants.
                                                               11· ·court.
·8·   ·--------------------------------------
                                                               12
·9·   · · · · ·VIDEO DEPOSITION OF PAUL SHELDON, the Witness
10·   ·herein, taken by Plaintiff, at the offices of Morgan,   13
11·   ·Lewis & Bockius, LLP, 101 Park Avenue, New York, on     14
12·   ·Tuesday, October 28, 2014, at 9:14 a.m., before         15
13·   ·Patricia Guarino, a Shorthand Reporter and notary
                                                               16
14·   ·public, within and for the State of New York.
15                                                             17
16                                                             18
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                                                     Page 2                                                               Page 4
·1                                                             ·1
·2·   ·A P P E A R A N C E S:
·3·   ·GROOM LAW GROUP                                         ·2· · · · · · · · · · ·P R O C E E D I N G S
· ·   · · · · ·Attorneys for Barbie Spear                      ·3· · · · · · · · VIDEOGRAPHER:· ·This is tape number 1 of
·4·   ·1701 Pennsylvania Avenue, NW
· ·   ·Washington, D.C. 20006-5811
                                                               ·4· ·the videotaped deposition of Paul Sheldon being taken
·5                                                             ·5· ·in the matter of "Barbie Spear versus David D.
· ·   ·BY:· LARS C. GOLUMBIC, ESQ.                             ·6· ·Fenkell, et al."· It's being heard before the United
·6·   · · · ANDREW SALEK-RAHAM, ESQ
·7                                                             ·7· ·States District Court for the Eastern District of
· ·   ·JACKSON LEWIS, P.C.                                     ·8· ·Pennsylvania, Case Number 13-CV02391, JLS.
·8·   · · · Attorneys for Defendants
· ·   · · · David B. Fenkel, DBF Consulting, LLC,              ·9· · · · · · · · This deposition is being held at 101
·9·   · · · Student Loan Advisory Management Services,         10· ·Park Avenue, New York, New York on October 28, 2014.
· ·   · · · LLC, Karen Fenkell, Paul Sefcovic and
10·   · · · Lianne Sefcovic
                                                               11· ·The time is approximately 9:14 a.m.
· ·   ·725 South Figueroa Street, 25th floor                   12· · · · · · · · My name is Andrew Ritchie.· I'm the
11·   ·Los Angeles, California 90012
                                                               13· ·videographer.· The court reporter is Patricia
12·   ·BY:· DAVID R. JOHANSON, ESQ.
13                                                             14· ·Guarino.
· ·   ·HANGLEY ARONCHICK SEGAL PUDLIN SCHILLER                 15· · · · · · · · Counsel, please introduce yourselves and
14·   · · · · ·Attorney for Defendant
· ·   · · · · ·Stonehenge Financial Holdings                   16· ·your affiliations, and the witness will be sworn.
15·   ·One Logan Square, 27th Floor                            17· · · · · · · · MR. GOLUMBIC:· ·Lars Golumbic and Andrew
· ·   ·Philadelphia, Pennsylvania 19103
16                                                             18· ·Salek-Raham, Groom Law Group on behalf Barbie Spear,
· ·   · · · BY:· JOHN S. STAPLETON, ESQ.                       19· ·as Trustee and individually, and with us is Ken Wanko
17
                                                               20· ·of Alliance Holding.
18·   ·ALSO   PRESENT:
19·   · · ·   DAVID FENKELL                                    21· · · · · · · · MR. JOHANSON:· David Johanson
20·   · · ·   PAUL SEFCOVIC                                    22· ·representing the Sefcovics, the Fenkels, SLAMS, and
21·   · · ·   KENNETH WANKO
22·   · · ·   ANDREW RITCHIE, Videographer                     23· ·DBF Consulting.
23·   · · ·   · · · · · · · · · · ·* * *                       24· · · · · · · · Just briefly, Mr. Golumbic, we'll make
24
25                                                             25· ·the same objection to your representation at this


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·deposition, as we've made in all other proceedings in   ·2· ·you questions.· Give me time to answer the question
·3· ·this matter based upon our motion to disqualify the     ·3· ·-- excuse me, to say the question and then you give
·4· ·Groom Law Group chartered, and we reserve all rights.   ·4· ·your responses back so we don't talk over each other.
·5· · · · · · · · MR. STAPLETON:· ·John Stapleton,           ·5· ·Okay?
·6· ·Hangley, Aronchick, Segal, Pudlin & Schiller.· I'm      ·6· · · · · · · · And you're nodding your head.· This is
·7· ·here representing Stonehenge Holdings, Inc., John       ·7· ·being video recorded, but just for the purposes of
·8· ·Witten, Barry Gowdy and Ronald Brooks.                  ·8· ·the court reporter if you could just give audible
·9· · · · · · · · MR. GOLUMBIC:· ·Mr. Johanson, do you       ·9· ·answers, yes or no.
10· ·want to just for the record introduce who is with you   10· · · · · ·A.· ·Okay.
11· ·today?                                                  11· · · · · ·Q.· ·And if you realize later in the course
12· · · · · · · · MR. JOHANSON:· ·I don't, but if you        12· ·of your deposition that an answer you gave was
13· ·would like.                                             13· ·incomplete or inaccurate, feel free to go back and,
14· · · · · · · · MR. GOLUMBIC:· ·Okay.· Well, then I'll     14· ·you know, clarify the record, even if I haven't
15· ·just note for the record Mr. Sefcovic and Mr. Fenkell   15· ·prompted that.
16· ·are also here present.                                  16· · · · · ·A.· ·Okay.
17· · · · · · · · MR. JOHANSON:· ·Thank you.                 17· · · · · ·Q.· ·Is there any reason today why you can't
18· · · · · · · · Whereupon,                                 18· ·give complete and accurate testimony?
19· · · · · · · · · · · · ·PAUL SHELDON,                     19· · · · · ·A.· ·No.
20· ·after having been first duly sworn, was examined and    20· · · · · ·Q.· ·Just for the record, could you state
21· ·testified as follows:                                   21· ·your full name?
22· ·EXAMINATION BY MR. GOLUMBIC:                            22· · · · · ·A.· ·Paul B. Sheldon.
23· · · · · ·Q.· ·Mr. Sheldon, hi.· My name is Lars          23· · · · · ·Q.· ·What is your age?
24· ·Golumbic.· I'm with the Groom Law Group.· We            24· · · · · ·A.· ·62.
25· ·represent Ms. Spear in this matter.· We're going to     25· · · · · ·Q.· ·Where do you currently reside?
                                                   Page 6                                                       Page 8
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·ask you some questions today, and I want to just make   ·2· · · · · ·A.· ·1410 Wolver Hollow Road, Oyster Bay, New
·3· ·sure you understand you're under oath.· So your job     ·3· ·York.
·4· ·today is to answer questions as completely and          ·4· · · · · ·Q.· ·Could you briefly go over your
·5· ·truthfully as you can.                                  ·5· ·educational background, you know, starting with when
·6· · · · · · · · Do you understand that?                    ·6· ·you graduated from high school and then anything
·7· · · · · ·A.· ·Yes.                                       ·7· ·beyond that?
·8· · · · · ·Q.· ·Have you ever had your deposition taken    ·8· · · · · ·A.· ·Okay.· Graduated from high school in
·9· ·before?                                                 ·9· ·1971.· Went to the University of Massachusetts,
10· · · · · ·A.· ·I have.                                    10· ·graduated in 1975.· Went to Columbia Business School,
11· · · · · ·Q.· ·When was the last time -- on more than     11· ·graduated 1978.
12· ·one occasion?                                           12· · · · · ·Q.· ·Did you have a concentration at business
13· · · · · ·A.· ·Once.                                      13· ·school?
14· · · · · ·Q.· ·When was that?                             14· · · · · ·A.· ·Finance.
15· · · · · ·A.· ·Maybe January of this year.                15· · · · · ·Q.· ·Do you hold any other degrees besides
16· · · · · ·Q.· ·Generally speaking, what did the matter    16· ·the MBA and your undergrad?
17· ·involve?                                                17· · · · · ·A.· ·BBA undergraduate.· MBA graduate.
18· · · · · ·A.· ·I'm the president of a gas company.· We    18· · · · · ·Q.· ·Got it.
19· ·were suing a tenant.                                    19· · · · · · · · Let's go over your work experience.· Did
20· · · · · ·Q.· ·It's been pretty recent, but just do you   20· ·you work in between college and business school?
21· ·have a sense as to what it means to have your           21· · · · · ·A.· ·No.
22· ·deposition taken, but let's just go over a few ground   22· · · · · ·Q.· ·When you graduated from business school,
23· ·rules so we both understand what's expected of you      23· ·what was your first job?
24· ·today.                                                  24· · · · · ·A.· ·My first job was in a real estate firm
25· · · · · · · · In terms of a question, I'm going to ask   25· ·here in New York.· The name of the firm was Whitbread


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·Nolan, W-H-I-T-B-R-E-A-D, Nolan, N-O-L-A-N.             ·2· ·title did you assume at Smith Barney?
·3· · · · · ·Q.· ·How long did you work for Whitbread        ·3· · · · · ·A.· ·I joined as a vice president and became
·4· ·Nolan?                                                  ·4· ·a managing director about two years later.
·5· · · · · ·A.· ·I think approximately one year, one or     ·5· · · · · ·Q.· ·What were your responsibilities?
·6· ·two years, approximately one to two years.              ·6· · · · · ·A.· ·Similar.· Retaining clients, executing
·7· · · · · ·Q.· ·Again, that time frame would have been     ·7· ·transactions as a managing director, managing the
·8· ·approximately when?                                     ·8· ·business.
·9· · · · · ·A.· ·'78 to '79.                                ·9· · · · · ·Q.· ·Did any of this work with Smith Barney
10· · · · · ·Q.· ·What were your duties and                  10· ·involve student loans?
11· ·responsibilities with the real estate firm?             11· · · · · ·A.· ·I began specializing in student loans in
12· · · · · ·A.· ·It was regarding originating financing     12· ·1981 at Chase Manhattan.
13· ·for companies, mortgage financing and venture           13· · · · · ·Q.· ·Just briefly explain what that work
14· ·financing for companies.                                14· ·involved.
15· · · · · ·Q.· ·Then what was your next job after          15· · · · · ·A.· ·Stop me if this is more detailed than
16· ·Whitbread Nolan?                                        16· ·you want, but in 1981 Chase Manhattan Bank was a bank
17· · · · · ·A.· ·A firm by the name of Herbert J. Sims,     17· ·that had few underwriting opportunities, underwriting
18· ·which was a firm downtown where I did approximately     18· ·of debt.· One opportunity it had to underwrite debt
19· ·the same thing for about one year.                      19· ·was in the field of student loans because there was a
20· · · · · ·Q.· ·One year ago again.                        20· ·loophole in the Glass Steagall Act which allowed
21· · · · · · · · And then, so now we're up to 1980.· What   21· ·national banks to underwrite bonds relating to
22· ·was your next job after that?                           22· ·education.· We got the comptroller of the currency to
23· · · · · ·A.· ·I joined Chase Manhattan Bank, now JP      23· ·tell us that a student loan bond was an education
24· ·Morgan.                                                 24· ·bond, and so that and housing was available to the
25· · · · · ·Q.· ·What was your position at Chase            25· ·young investment bankers who worked at Chase

                                                  Page 10                                                             Page 12
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·Manhattan?                                              ·2· ·Manhattan.· I became interested in student lending.
·3· · · · · ·A.· ·I joined them as a second vice             ·3· ·Interest rates were high.· They required support from
·4· ·president.                                              ·4· ·a bank in underwriting a bond and so we developed a
·5· · · · · ·Q.· ·What were your duties as a second vice     ·5· ·product that utilized both my underwriting group and
·6· ·president?                                              ·6· ·the bank's credit facilities.
·7· · · · · ·A.· ·Thinking about and calling on clients      ·7· · · · · ·Q.· ·So this work began when you were at
·8· ·who might hire us to underwrite bonds.                  ·8· ·Chase Manhattan or --
·9· · · · · ·Q.· ·How long did you work at Chase             ·9· · · · · ·A.· ·Yes.
10· ·Manhattan?                                              10· · · · · ·Q.· ·And then you continued this type of work
11· · · · · ·A.· ·Ten years, 1981 to 1991, as I recall.      11· ·at Smith Barney?
12· · · · · ·Q.· ·Did you hold the same position through     12· · · · · ·A.· ·Yes.
13· ·that ten-year period?                                   13· · · · · ·Q.· ·Did Smith Barney undergo a corporate
14· · · · · ·A.· ·I rose to the rank of managing director    14· ·change at some point while you were there?
15· ·in the late '80s.                                       15· · · · · ·A.· ·Yes.· Smith Barney was headed by Sandy
16· · · · · ·Q.· ·Did your responsibilities change as        16· ·Weill, who famously purchased a number of companies,
17· ·managing director?                                      17· ·Solomon Brothers being one of the more notable ones,
18· · · · · ·A.· ·As managing director, I was more           18· ·Citigroup being an even more notable, and my firm
19· ·involved in running the business, but still retaining   19· ·morphed into Citigroup.
20· ·clients and executing transactions.                     20· · · · · ·Q.· ·Do you know approximately when that
21· · · · · ·Q.· ·So that's -- we're up to 1991.· Did you    21· ·occurred.
22· ·change positions in '91?                                22· · · · · ·A.· ·We bought Shearson in 1993.· We bought
23· · · · · ·A.· ·I joined Smith Barney Harris Uphman        23· ·Solomon Brothers in '97 or so, Citigroup in '98 or
24· ·(sic), U-P-H-M-A-N, I think.                            24· ·'99 or so.
25· · · · · ·Q.· ·So 1991 you joined Smith Barney.· What     25· · · · · ·Q.· ·With these corporate changes, did you


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·continue to do this work that you described?            ·2· ·acquisition opportunities or is it more than that?
·3· · · · · ·A.· ·Same work, yes.                            ·3· · · · · ·A.· ·Since I founded the firm in 2007, we've
·4· · · · · ·Q.· ·Did it change in any way over time?        ·4· ·advised 71 entities.· Some of them are M&A type
·5· · · · · ·A.· ·No.· Same function.· The business grew     ·5· ·transactions.· Some of them were restructuring
·6· ·very significantly so that our -- my group's            ·6· ·transactions during the financial crisis.· Some of
·7· ·production or revenue, whatever you want to call it,    ·7· ·them were New York Stock Exchange companies involved
·8· ·became enormous compared to what it was in 1981, but    ·8· ·in the business in one way or another.· And most of
·9· ·otherwise it was the same business.                     ·9· ·those 71 clients involved just pure advisory and
10· · · · · ·Q.· ·For how long were you at Smith Barney in   10· ·work-out arrangements, et cetera, but some were
11· ·its corporate -- with all the corporate changes?        11· ·involved in advising on the issuance of new debt.
12· · · · · ·A.· ·I left in 2007 -- 1991 to 2007.            12· · · · · ·Q.· ·Why did you form SLCS?· Why at that
13· · · · · ·Q.· ·When you left, what did you do next?       13· ·time, based on your long tenure at Smith Barney, why
14· · · · · ·A.· ·I formed Student Loan Capital              14· ·did you decide to go out on your own?
15· ·Strategies.                                             15· · · · · ·A.· ·Wall Street was getting a little bit
16· · · · · ·Q.· ·What is Student Loan Capital Strategies?   16· ·different than it had been.· My group was moved into
17· ·What is their business model?                           17· ·the capital markets area, a move I had fought since
18· · · · · ·A.· ·It is an advisory firm.· As its name       18· ·we bought Solomon Brothers, and when they finally got
19· ·suggests, it advises student loan entities or           19· ·us, it wasn't the same for us.
20· ·entities involved in the student loan business.         20· · · · · · · · In addition to that, the financial
21· · · · · ·Q.· ·Did you form -- if I refer to your --      21· ·crisis was starting to come into the picture, and I
22· ·this firm as SLCS, would that make sense to you?        22· ·guess you could say it wasn't quite as much fun as it
23· · · · · ·A.· ·Yes.                                       23· ·had been.
24· · · · · ·Q.· ·Did you form SLCS with anyone else?        24· · · · · ·Q.· ·I know it may be a biased question, but
25· · · · · ·A.· ·I formed the firm with one other           25· ·in your view what is SLCS's reputation in the student

                                                  Page 14                                                            Page 16
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·individual, Patrick Belica, B-E-L-I-C-A.· It was the    ·2· ·loan community?
·3· ·two of us for approximately one year.· In 2008, my      ·3· · · · · ·A.· ·I believe we're the recognized expert in
·4· ·former colleague from Citigroup, Mark Weadick,          ·4· ·the field of student loans.· I don't know of anybody
·5· ·W-E-A-D-I-C-K, joined us, and today we are a group of   ·5· ·that would say that there's a firm more experienced
·6· ·eight people.                                           ·6· ·in student loans than we are.
·7· · · · · ·Q.· ·Okay.· What is Mr. Belica's role at        ·7· · · · · ·Q.· ·Does SLCS have competitors?
·8· ·SLCS?                                                   ·8· · · · · ·A.· ·Not really.· I shouldn't be quite that
·9· · · · · ·A.· ·Mr. Belica is in charge of analytical --   ·9· ·bold.· There are firms smaller than ours.· We do
10· ·the analysis of various things for our clients.· Our    10· ·several types of things from pure financial advice to
11· ·business is a very technical business, very complex     11· ·acting as a back-up administrator of firms -- of
12· ·business.· The heart of all of our business is          12· ·student loan entities.· And so we have one and
13· ·analyzing cash flows, predicted cash flows, and so      13· ·two-man shops that compete with us.· We don't have
14· ·Patrick is an instrumental part of our business.        14· ·100 percent market share, but they all are sort of
15· · · · · ·Q.· ·What about Mr. -- is it Weadick?           15· ·smaller and less experienced than we are.
16· · · · · ·A.· ·Mr. Weadick --                             16· · · · · ·Q.· ·Can you name a few?
17· · · · · ·Q.· ·Weadick.                                   17· · · · · ·A.· ·First Southwest is a two-man shop in
18· · · · · ·A.· ·-- co-headed the Citigroup with me.· He    18· ·Dallas, Texas that is a financial advisor.
19· ·was a managing director there and at our firm, and      19· · · · · · · · Randy Behm heads a administrative
20· ·did and does the same thing that I do.                  20· ·services company that -- I forget the name of their
21· · · · · ·Q.· ·Which is?                                  21· ·firm.· No other sort of administrator is coming to
22· · · · · ·A.· ·Find clients to help advise on student     22· ·mind.
23· ·loan matters, execute transactions.                     23· · · · · ·Q.· ·Anyone else that you can think of?
24· · · · · ·Q.· ·When you say to advise clients on          24· · · · · ·A.· ·If you gave me a few minutes, I might,
25· ·student loan matters, does that involve primarily       25· ·but nothing comes to mind.


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·Do you know Paul Sefcovic?                 ·2· ·recollection of her exact field.
·3· · · · · ·A.· ·I do.                                      ·3· · · · · ·Q.· ·Did you believe at the time that you met
·4· · · · · ·Q.· ·When did you first meet Mr. Sefcovic?      ·4· ·her that Ms. Sefcovic had experience in the student
·5· · · · · ·A.· ·In the '80s sometime.· It might have       ·5· ·loan industry?
·6· ·been the mid '80s -- '86, '87, '88, something like      ·6· · · · · · · · MR. JOHANSON:· ·Objection as to form.
·7· ·that.                                                   ·7· · · · · ·A.· ·No.
·8· · · · · ·Q.· ·In what context did you met Mr.            ·8· · · · · ·Q.· ·At the beginning of the deposition you
·9· ·Sefcovic?                                               ·9· ·indicated that you currently reside in Oyster Bay,
10· · · · · ·A.· ·He served as underwriter's counsel.        10· ·correct?
11· ·Wait.· Have I got this right?· I'm going to come back   11· · · · · ·A.· ·Yes.
12· ·to the date.                                            12· · · · · ·Q.· ·Do you also own a home or did you own a
13· · · · · · · · When I met him it was because he was       13· ·home in Arizona?
14· ·serving as underwriter counsel to us.· And it wasn't    14· · · · · ·A.· ·I don't own a home in Arizona.· I rent a
15· ·at Chase.· It must have been the mid '90s, early to     15· ·home in Arizona.
16· ·mid '90s.· I get my decades mixed up every once in a    16· · · · · ·Q.· ·Rent a home.· Okay.
17· ·while.                                                  17· · · · · · · · And where is that located?
18· · · · · ·Q.· ·What's your understanding of the work      18· · · · · ·A.· ·In a development called Desert Mountain,
19· ·that Mr. Sefcovic has done related to the student       19· ·Northern Scottsdale.
20· ·loan industry?                                          20· · · · · ·Q.· ·When did you first rent your home in
21· · · · · ·A.· ·He served as our counsel for many years.   21· ·Desert Mountain?
22· ·He was underwriters' counsel on numerous transactions   22· · · · · ·A.· ·We've been renting in North Scottsdale
23· ·that I did at Citigroup.                                23· ·for four or five years.· We first rented in Desert
24· · · · · ·Q.· ·Was Mr. Sefcovic with a law firm?          24· ·Mountain a year ago.
25· · · · · ·A.· ·Squire, Sanders & Dempsey.                 25· · · · · ·Q.· ·Did you know that the Sefcovics own a
                                                  Page 18                                                      Page 20
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·When he was performing work for Smith      ·2· ·home in the Scottsdale area?
·3· ·Barney, it was in his capacity as an attorney for       ·3· · · · · ·A.· ·I do.
·4· ·Squire Sanders?                                         ·4· · · · · · · · MR. JOHANSON:· ·Objection as to form.
·5· · · · · ·A.· ·Yes.                                       ·5· · · · · ·Q.· ·Do you belong to a golf club out in
·6· · · · · ·Q.· ·Do you know Lianne Sefcovic?               ·6· ·Desert Mountain or the Scottsdale area?
·7· · · · · ·A.· ·I do.                                      ·7· · · · · ·A.· ·I do.
·8· · · · · ·Q.· ·When did you first meet Ms. Sefcovic?      ·8· · · · · ·Q.· ·What is the name of that golf club?
·9· · · · · ·A.· ·2000 and -- I don't have a crisp           ·9· · · · · ·A.· ·Desert Mountain Club.
10· ·recollection, but in the late 2008, '09, '10,           10· · · · · ·Q.· ·Did the Sefcovics belong to the same
11· ·something like that.                                    11· ·golf club?
12· · · · · ·Q.· ·At the time you met Ms. Sefcovic, what     12· · · · · ·A.· ·They do.
13· ·did you know, what did you learn about her              13· · · · · · · · MR. JOHANSON:· ·Objection as to form.
14· ·professional background or work experience?             14· · · · · · · · Mr. Sheldon, I'm sorry.· I have to make
15· · · · · ·A.· ·I met her as Mr. Sefcovic's wife and       15· ·certain objections.· I'm not going to instruct you
16· ·knew her to be a lawyer.                                16· ·not to answer, but I'm going to make objections.
17· · · · · ·Q.· ·Did you know in what field she was an      17· · · · · ·Q.· ·And I should have said this at the
18· ·attorney?                                               18· ·outset.· People may make objections on the record,
19· · · · · · · · MR. JOHANSON:· Excuse me.                  19· ·and that's just to preserve their objections.· Unless
20· · · · · · · · Just objection as to form.                 20· ·someone tells you differently, you're permitted to
21· · · · · · · · Thanks.                                    21· ·answer afterwards.
22· · · · · ·Q.· ·You can go ahead and answer.               22· · · · · · · · Did you socialize with the Sefcovics
23· · · · · ·A.· ·She had told us anecdotes about some of    23· ·over the years?
24· ·her cases, none of which are coming to mind, but        24· · · · · ·A.· ·I did.
25· ·maybe family practice.· I don't have a crisp            25· · · · · ·Q.· ·When was the last time you saw the

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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·Sefcovics socially?                                     ·2· ·a state of mind of a particular person.
·3· · · · · ·A.· ·Probably about a year ago.· I don't have   ·3· · · · · · · · Go ahead.
·4· ·a crisp recollection, but about a year ago.             ·4· · · · · ·Q.· ·It's at the top of the page.· If you
·5· · · · · · · · MR. GOLUMBIC:· ·Dave, do we want to        ·5· ·look underneath the From, To, Sent, Subject, there's
·6· ·start from the beginning?                               ·6· ·two sentences.
·7· · · · · · · · MR. JOHANSON:· ·It's fine with me.         ·7· · · · · ·A.· ·Yes.
·8· ·Whatever you decide to do.                              ·8· · · · · ·Q.· ·And I'm asking in the second sentence,
·9· · · · · · · · MR. GOLUMBIC:· ·I don't know what number   ·9· ·if you understand what Mr. Sefcovic meant by "You
10· ·we're up to.                                            10· ·know how frugal I am since I met Lianne"?
11· · · · · · · · MR. JOHANSON:· ·I'm all right with just    11· · · · · ·A.· ·I don't know.· No.
12· ·having --                                               12· · · · · ·Q.· ·Did Mr. Sefcovic ever discuss financial
13· · · · · · · · MR. GOLUMBIC:· Number 1.                   13· ·difficulties he was having?
14· · · · · · · · MR. JOHANSON:· ·-- number 1.               14· · · · · · · · MR. JOHANSON:· ·Objection as to form.
15· · · · · · · · MR. GOLUMBIC:· ·Number 1.                  15· · · · · · · · Assumes facts not in evidence.
16· · · · · · · · (Exhibit 1 so marked                       16· · · · · ·A.· ·Mr. Sefcovic is a frugal man, as I know
17· · · · · · · · for identification.)                       17· ·him.· We often would have fee discussions, as my
18· · · · · ·Q.· ·Mr. Sheldon, I'm handing to you what the   18· ·counsel.· He's a tenacious lawyer and would often
19· ·court reporter has marked as Plaintiff's Exhibit 1.     19· ·seek as high a fee as he could get.· I would say I'm
20· · · · · · · · Can you take a look at the e-mail?         20· ·pretty much the same way with my clients, but other
21· ·Usually with these e-mail strings, you need to start    21· ·than that, I don't...
22· ·from the bottom and then go up.· And let me know when   22· · · · · ·Q.· ·But you're are not aware of any
23· ·you're done.· I'll ask you a couple questions about     23· ·discussions regarding any sort of personal financial
24· ·it.                                                     24· ·difficulties he was having?
25· · · · · · · · MR. JOHANSON:· ·I do object as to the      25· · · · · ·A.· ·Well, at this time?
                                                  Page 22                                                      Page 24
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·instruction.                                            ·2· · · · · ·Q.· ·Yes.
·3· · · · · ·A.· ·Okay.                                      ·3· · · · · ·A.· ·No.· At this time -- you might want to
·4· · · · · ·Q.· ·Let me direct you to the first e-mail      ·4· ·ask me a question about that later.· But at this time
·5· ·from Mr. Sefcovic to you and it's dated December 14,    ·5· ·I think he was a prominent attorney at Squire
·6· ·2006, and the subject line reads "Re:· Please sit       ·6· ·Sanders.· Right?· I mean 2006, pretty much in the
·7· ·down."                                                  ·7· ·heart of his private practice.
·8· · · · · · · · Do you recognize this e-mail?              ·8· · · · · ·Q.· ·Did something happen between 2006 and
·9· · · · · ·A.· ·Not really.· Only very -- maybe very       ·9· ·later?· You mentioned that was 2006 you knew him to
10· ·vaguely.· I mean, it sounds like the type of exchange   10· ·be a prominent lawyer within his firm.· Did some
11· ·we might have.                                          11· ·events occur after that point?
12· · · · · ·Q.· ·Do you have any reason to believe that     12· · · · · ·A.· ·He lost one of his big clients and that
13· ·you did not receive this e-mail?                        13· ·I believe, based on our friendship and that with his
14· · · · · ·A.· ·No.                                        14· ·wife, caused them some consternation with respect to
15· · · · · ·Q.· ·Let me direct you to the second sentence   15· ·finances.
16· ·in the body of the e-mail.· It says, "You know how      16· · · · · ·Q.· ·Who was the client that he lost?
17· ·frugal I am since I met Lianne."                        17· · · · · ·A.· ·Brazos Higher Education Authority,
18· · · · · · · · Do you know what Mr. Sefcovic meant by     18· ·B-R-A-Z-O-S, Higher Education Authority.
19· ·that sentence?                                          19· · · · · ·Q.· ·Did Mr. Sefcovic mention losing any
20· · · · · ·A.· ·Let me see where that is again.            20· ·other clients?
21· · · · · · · · MR. JOHANSON:· ·Objection.· I object.      21· · · · · ·A.· ·I would have to think about that for a
22· · · · · ·Q.· ·Up top.                                    22· ·minute.· Brazos was a huge client of both mine and
23· · · · · · · · Go ahead.                                  23· ·Mr. Sefcovic.· We both made a lot of money in
24· · · · · · · · MR. JOHANSON:· ·I object as to form.       24· ·connection with Brazos Higher Education Authority.
25· · · · · · · · And it seems like you're asking him for    25· ·When he lost it, it would impact him personally, as


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·it would me as well.                                    ·2· ·you?
·3· · · · · ·Q.· ·Mr. Sheldon, have you heard the name       ·3· · · · · ·A.· ·Not that I recall.
·4· ·Student Loan Management and Research Services?          ·4· · · · · ·Q.· ·Have you discussed SLMRS or SLAMS with
·5· · · · · ·A.· ·Well, if I've got it right, that is the    ·5· ·Mr. Sefcovic or Ms. Sefcovic since you learned about
·6· ·firm listed in the -- one of the complaints in this     ·6· ·their existence in the complaint?
·7· ·matter.                                                 ·7· · · · · ·A.· ·No.
·8· · · · · ·Q.· ·Is that the first time you had heard       ·8· · · · · ·Q.· ·Let's talk about your relationship --
·9· ·that name before?                                       ·9· ·SLCS's relationship with Alliance.
10· · · · · ·A.· ·It is.                                     10· · · · · · · · Do you know a David Fenkell?
11· · · · · ·Q.· ·What about student loan -- I'm going to    11· · · · · ·A.· ·I do.
12· ·refer to that as SLMRS, S-L-M-R-S or SLMRS, and just    12· · · · · ·Q.· ·When did you first meet him?
13· ·any other question I ask about this.                    13· · · · · ·A.· ·This e-mail --
14· · · · · · · · MR. JOHANSON:· ·Mr. Golumbic, just to      14· · · · · ·Q.· ·Referring to Plaintiff's Exhibit 1?
15· ·have a clean record, since we have SLAMS, do you want   15· · · · · ·A.· ·Yes.· I knew that Mr. Sefcovic had a
16· ·to call that SLMRS?                                     16· ·client, David Fenkell, and knew roughly about what
17· · · · · · · · MR. GOLUMBIC:· ·Sure.                      17· ·they did since the late -- mid to late '90s because
18· · · · · · · · MR. JOHANSON:· Does that work with you?    18· ·there were some matters that were brought, I think,
19· · · · · · · · MR. GOLUMBIC:· ·Yes, that's fine.          19· ·by Mr. Sefcovic to our firm that I didn't handle
20· · · · · · · · MR. JOHANSON:· ·It will be a better        20· ·relating to Alliance, is my best recollection.· So I
21· ·record.                                                 21· ·knew of Alliance and Mr. Fenkell for some time, may
22· · · · · ·Q.· ·I'm going to refer, just to be clear       22· ·have socialized with Mr. Fenkell at a football game.
23· ·then, Student Loan Management Research Services in      23· ·I kind of forget.
24· ·any subsequent questions that I have or Mr. Johanson    24· · · · · ·Q.· ·Okay.
25· ·has, we'll refer to that as SLMRS.                      25· · · · · ·A.· ·I knew generally about them, but I kind
                                                  Page 26                                                      Page 28
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · · · · MR. JOHANSON:· ·Thank you.                 ·2· ·of forget when I met Mr. Fenkell.
·3· · · · · ·Q.· ·Student Loan Advisory Management           ·3· · · · · ·Q.· ·How did SCLS come to work with Alliance?
·4· ·Services, when did you -- when did you first hear       ·4· · · · · ·A.· ·Mr. Sefcovic introduced us to Alliance
·5· ·that name?                                              ·5· ·to -- because of our business, I believe Mr. Sefcovic
·6· · · · · ·A.· ·Again, there were two firms listed in      ·6· ·and Mr. Fenkell thought that Alliance could obtain
·7· ·the complaint that I'm talking about.· And I think      ·7· ·investments in the student loan space and thought it
·8· ·there's more than one complaint on the table here.      ·8· ·was a natural to work with us -- I'm inferring. I
·9· ·But I read that lawsuit and found two names. I          ·9· ·believe this is what happened.· I believe that they
10· ·wouldn't swear that those are the two names, but it     10· ·thought that it was a natural for them to team or
11· ·sounds like it, and that's where I learned of those     11· ·hire us to identify student loan investments.
12· ·two new names.                                          12· · · · · ·Q.· ·We'll get into the specifics, but in
13· · · · · ·Q.· ·And I will in subsequent questions, I      13· ·general terms, can you describe the type of work that
14· ·will refer to Student Loan Advisory Management          14· ·SLCS performed for Alliance?
15· ·Services as SLAMS.                                      15· · · · · ·A.· ·Yes.· There's sort of two things we did.
16· · · · · ·A.· ·Okay.                                      16· ·One, we identified potential target acquisitions.
17· · · · · ·Q.· ·Do you have any understanding of the       17· ·And if they turned out to be sort of active, we
18· ·work that SLMRS performed?                              18· ·analyzed the cash flow prospects of that entity in
19· · · · · ·A.· ·I don't.                                   19· ·order to obtain a valuation that Alliance might pay
20· · · · · ·Q.· ·What about SLAMS?                          20· ·for a certain cash flow stream or a certain company.
21· · · · · ·A.· ·No.                                        21· · · · · · · · (Exhibit 2 so marked
22· · · · · ·Q.· ·As a friend of the Sefcovics, did you      22· · · · · · · · for identification.)
23· ·ever discuss SLMRS or SLAMS with them?                  23· · · · · ·Q.· ·Mr. Sheldon, I'm handing you what's been
24· · · · · ·A.· ·No.                                        24· ·marked as Exhibit 2.
25· · · · · ·Q.· ·Did they ever mention SLMRS or SLAMS to    25· · · · · · · · Take a look at the document, read


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·through it and let me know when you're done.            ·2· ·obviously does because the partnership is being
·3· · · · · ·A.· ·Okay.                                      ·3· ·announced here.· I don't have a crisp recollection.
·4· · · · · ·Q.· ·Do you recognize what's been marked as     ·4· ·I'm guessing that it's several months before August
·5· ·Exhibit 2?                                              ·5· ·of 2010.
·6· · · · · ·A.· ·I do.                                      ·6· · · · · ·Q.· ·Okay.
·7· · · · · ·Q.· ·What is it?                                ·7· · · · · · · · What was the fee structure for the work
·8· · · · · ·A.· ·It's a press release that Alliance put     ·8· ·that SLCS -- for the work that SLCS performed for
·9· ·out 2010, announcing their business plan for            ·9· ·Alliance?· What was the fee structure?
10· ·acquiring student loan entities.                        10· · · · · ·A.· ·The structure was that if a target was
11· · · · · ·Q.· ·If you look at the second full             11· ·identified, that we would talk about it.· Student
12· ·paragraph, the second sentence that begins "We have     12· ·Loan Capital Strategies would lay out who they are,
13· ·put together a strong team," do you see that?           13· ·what they do, our background with them, which was
14· · · · · ·A.· ·Yes.                                       14· ·usually, you know, many years.· And if Alliance was
15· · · · · ·Q.· ·"We have put together a strong team        15· ·to proceed with the target, my recollection is that
16· ·including Paul Sefcovic, Partner, of Squire Sanders &   16· ·we would normally negotiate a fee, $20,000, $40,000,
17· ·Dempsey, and Paul Sheldon, Managing Director, of        17· ·$10,000, to obtain data from the target and analyze
18· ·Student Loan Capital Strategies, to assist us in        18· ·it.
19· ·achieving our investment objectives."                   19· · · · · · · · If both Alliance and the target seemed
20· · · · · · · · Were there any other individuals or        20· ·like they were interested, that you could take the
21· ·entities that you're aware of that were part of this    21· ·process to another step, my recollection is that
22· ·new Alliance Student Loan Management Inc. team, other   22· ·there would be another sort of negotiation about a
23· ·than the ones listed here in the press release?         23· ·fee because the analysis would become more evolved.
24· · · · · · · · MR. JOHANSON:· ·Objection as to form.      24· · · · · · · · I believe that if a letter of intent was
25· · · · · ·A.· ·I think you're asking firms as opposed     25· ·signed, we would structure a success fee, if I recall
                                                  Page 30                                                      Page 32
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·to people.                                              ·2· ·correctly.· And if transaction was successfully
·3· · · · · ·Q.· ·Yes.· Was there anyone else besides Paul   ·3· ·completed, a fee neighborhood of -- a larger fee,
·4· ·Sefcovic at Squire and you at SLCS who were part of     ·4· ·neighborhood of 75 to $125,000, something like that,
·5· ·this group that was going to be the Alliance Student    ·5· ·would be made.
·6· ·Loan Management team?                                   ·6· · · · · · · · I kind of forget the question.· Did
·7· · · · · ·A.· ·Yes.· There were individuals at both       ·7· ·that...
·8· ·Squire Sanders and Student Loan Capital Strategies      ·8· · · · · ·Q.· ·You answered.· Thanks.
·9· ·involved in the business.                               ·9· · · · · · · · (Exhibits 3 and 4 were so marked
10· · · · · ·Q.· ·What about outside those two firms?        10· · · · · · · · for identification.)
11· · · · · ·A.· ·As far as firms go, no, I don't have a     11· · · · · ·Q.· ·Mr. Sheldon, I'm handing to you what the
12· ·recollection of other firms involved in this budding    12· ·court reporter has marked as Exhibit 3 and Exhibit 4.
13· ·business plan to acquire student loans.                 13· ·Take a look at both exhibits.· Start with Exhibit 3
14· · · · · ·Q.· ·Was SLMRS part of that group, that team?   14· ·and take a look at both, and then I'm going to ask
15· · · · · ·A.· ·No.                                        15· ·you questions about both in a minute.
16· · · · · ·Q.· ·What about SLAMS?                          16· · · · · ·A.· ·Did you want me to look at both now or?
17· · · · · · · · MR. JOHANSON:· ·Objection as to form.      17· · · · · ·Q.· ·Yes, why don't you?
18· ·Go ahead.                                               18· · · · · ·A.· ·Okay.
19· · · · · ·A.· ·No.                                        19· · · · · ·Q.· ·If you can turn back to Exhibit 3, let
20· · · · · ·Q.· ·So this press release is put out in        20· ·me start with that exhibit.
21· ·2010.· Was that around the time that SLCS began to      21· · · · · · · · They're a series of e-mails.· The first
22· ·perform work for Alliance?                              22· ·is an e-mail from you to David Fenkell, Mr. Sefcovic,
23· · · · · ·A.· ·Yes.· I don't have a crisp recollection    23· ·dated February 10, 2010.· Subject:· Prospect list.
24· ·of when this all started.· I believe that that          24· · · · · · · · Do you recognize that e-mail?
25· ·meeting Mr. Fenkell predates August 2010.· Well, it     25· · · · · ·A.· ·Yes.


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·What is it?                                ·2· ·and JPM, which I believe is JP Morgan --
·3· · · · · ·A.· ·This is a stab of just listing some        ·3· · · · · ·A.· ·Yes.
·4· ·potential targets for Alliance.                         ·4· · · · · ·Q.· ·-- with names and numbers.· Those are
·5· · · · · ·Q.· ·And it's dated February 10th.· Feel free   ·5· ·the contacts?
·6· ·to go back if you want, but the Exhibit 2 that we       ·6· · · · · ·A.· ·Yes.· I believe those are the people who
·7· ·looked at before, the website press release, is dated   ·7· ·ran the student loan division of the bank, although
·8· ·August 2010.· So this is, as you testified before,      ·8· ·Mark Thomas is the only name that I recognize. I
·9· ·several months earlier, correct?                        ·9· ·believe these are the executives who run the student
10· · · · · ·A.· ·Yes.                                       10· ·loan business and who you would call if you were
11· · · · · ·Q.· ·So you were beginning to do work before    11· ·interested in obtaining information about a potential
12· ·the official sort of press release for Alliance?        12· ·investment.
13· · · · · ·A.· ·Yes.                                       13· · · · · ·Q.· ·So if you look at the e-mail at the top
14· · · · · ·Q.· ·Can you just explain for us, there's the   14· ·on the first page of Exhibit 3, it's from Mr.
15· ·categories that you had grouped here, the small         15· ·Sefcovic to you and Mr. Fenkell.· And it reads, "I
16· ·Players, Large Players, Banks and Current and Former    16· ·suggest a call Thursday afternoon or Friday."· Was
17· ·Non-Profits and their significance?                     17· ·there -- do you recall that there was a follow-up
18· · · · · ·A.· ·I don't think there's overwhelming         18· ·call to discuss the prospect list?
19· ·significance of the way they're listed.· I think that   19· · · · · ·A.· ·I don't recall having a call.· We
20· ·my colleagues and I sat around at our own internal      20· ·spoke -- my best recollection is that we spoke often
21· ·meeting, who would be interested in -- who would        21· ·about the subject.· It was a very important line of
22· ·Alliance be interested in?· And we would have gotten    22· ·business for my firm.· And my recollection is we
23· ·that data from separate places.· Let's talk about       23· ·spoke often, Mr. Sefcovic, Mr. Fenkell.· And this
24· ·banks.· What banks are in business that Alliance        24· ·list of names that I saw somewhere became, you know,
25· ·might contact?· We would go to a list of banks.· What   25· ·John Reppucci, of course Mr. Wanko, Mr. Springer.
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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·new players are there?· We might go to a list of an     ·2· ·The group got larger and we had, as I recall,
·3· ·association directory or something like that.· That's   ·3· ·frequent conversations.
·4· ·my recollection of why these are categorized.           ·4· · · · · · · · No, I don't recall whether there was a
·5· · · · · · · · I think that's what you asked me.          ·5· ·call on a Thursday afternoon.
·6· · · · · ·Q.· ·Yes.· And the last grouping was Current    ·6· · · · · ·Q.· ·That's fine.
·7· ·or Former Non-Profits.                                  ·7· · · · · · · · What came of the prospect list?
·8· · · · · · · · Why that designation?                      ·8· · · · · ·A.· ·I think that Student Loan Capital
·9· · · · · ·A.· ·Same answer.· Sitting around a table       ·9· ·Strategies, divvied up, if you will, the names.· And
10· ·internally, the not-for-profits were exceedingly        10· ·it would be odd -- it's not the best way to go to a
11· ·challenged during these years, expected to liquidate.   11· ·business, just call out of blue, pick one name and
12· ·If they did liquidate or in some fashion try to         12· ·call out of blue.· Sometimes it would be okay.· But
13· ·obtain financing, they would be prime targets for       13· ·sometimes that can be done in connection with other
14· ·Alliance.                                               14· ·matters that make the call a little bit more
15· · · · · ·Q.· ·Just looking at that last category, the    15· ·fruitful.· So I believe that my partner, Mark
16· ·current or former non-profits, there's names and        16· ·Weadick, and my partner, Patrick Belica, and I
17· ·numbers listed.· Are those names within each            17· ·divvied up -- well, who wants to cover who to try to
18· ·non-profit?                                             18· ·obtain, you know, a potential target.
19· · · · · ·A.· ·These are the executive directors of the   19· · · · · ·Q.· ·Let's turn to the next exhibit, Exhibit
20· ·not-for-profit.                                         20· ·4.· And this is series of e-mails with an attachment
21· · · · · ·Q.· ·Those are your points of contact?          21· ·to it.· Going from the bottom, at the very bottom of
22· · · · · ·A.· ·Yes.                                       22· ·the first page, page 1 of the e-mail chain, from John
23· · · · · ·Q.· ·Is that the same with respect to all the   23· ·Reppucci to himself, Patrick Belica, Paul Sefcovic,
24· ·other groupings.· There's a -- for example, banks       24· ·yourself and Donald Hughes, with CC's to David
25· ·there is listed Suntrust, Key, Wachovia, Wells Fargo    25· ·Fenkell, Ken Wanko, Chris Springer, John Kolla and TJ


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·Haas.· It's dated February 28, 2011.· The subject is    ·2· · · · · · · · Do you see that?
·3· ·Student Loan Call tomorrow at 10:00 a.m.                ·3· · · · · ·A.· ·Yes.
·4· · · · · · · · Do you recognize the e-mail?               ·4· · · · · ·Q.· ·And then to the right "ASLM
·5· · · · · ·A.· ·I can't say that I do, no.                 ·5· ·Responsibility"?
·6· · · · · ·Q.· ·You're copied on -- it's to you and        ·6· · · · · ·A.· ·Yes.
·7· ·others.· Any reason that you believe you did not        ·7· · · · · ·Q.· ·And then "Update," that's the final
·8· ·receive this e-mail?                                    ·8· ·heading?
·9· · · · · ·A.· ·No.                                        ·9· · · · · ·A.· ·Yes.
10· · · · · ·Q.· ·This is a year later from exhibit --       10· · · · · ·Q.· ·So the Target names here are listed
11· ·roughly a year, a little over a year later from the     11· ·Access, CoStep, Montana, New Hampshire, Educational
12· ·e-mail chain in Exhibit 3.                              12· ·Service Foundation, GOAL, GCO, Key Bank and Iowa.
13· · · · · ·A.· ·Yes.                                       13· · · · · · · · Those are the target entities that --
14· · · · · ·Q.· ·Do you have a general idea about what      14· ·can you explain what that is?
15· ·this call, this was about?                              15· · · · · · · · MR. JOHANSON:· ·Excuse me, Mr. Sheldon.
16· · · · · ·A.· ·Let me read it again, because I...         16· · · · · · · · Mr. Golumbic, I do have an objection
17· · · · · ·Q.· ·Sure.                                      17· ·because you're reading off of this.· You read a
18· · · · · ·A.· ·Well, I believe that what this is, is --   18· ·partial number of names from this list.· I would ask
19· ·there was a periodic and sort of a diligent process     19· ·that you ask him questions about it rather than
20· ·to try to identify targets, and so I think that this    20· ·reading into the record.· It confuses the document.
21· ·group was formed.· There were periodic and diligent     21· · · · · · · · Thank you.
22· ·calls.                                                  22· · · · · ·Q.· ·Can you explain what ALC -- can you
23· · · · · · · · I believe the -- I have a rough            23· ·explain what the target header means?
24· ·recollection that Mr. Reppucci did a nice job of        24· · · · · ·A.· ·These are entities that were identified
25· ·creating a spreadsheet about various targets, yeah,     25· ·to approach for potential investments.
                                                  Page 38                                                      Page 40
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·had -- right.· As I said before, we had internally      ·2· · · · · ·Q.· ·There's sort of subheadings within that
·3· ·sort of divvied up names, and he's got those listed     ·3· ·full heading.· Another one is "Other
·4· ·here probably for accountability.                       ·4· ·Initiatives/Meetings."
·5· · · · · ·Q.· ·By "here," you're referring to the         ·5· · · · · · · · Do you see that?
·6· ·attachment on Exhibit 4?                                ·6· · · · · ·A.· ·Yes.
·7· · · · · ·A.· ·The attachment, correct.                   ·7· · · · · ·Q.· ·Those are another list of targets for
·8· · · · · ·Q.· ·For the record, who is John Reppucci?      ·8· ·other initiatives and meetings; is that --
·9· · · · · ·A.· ·John Reppucci was a young associate at     ·9· · · · · ·A.· ·Correct.
10· ·Alliance.                                               10· · · · · ·Q.· ·Those names are NelNet, Sallie Mae,
11· · · · · ·Q.· ·Let's look at the attachment.· And it      11· ·Brazos,· PHEAA, Great Lakes and Discover.
12· ·reads "Alliance Student Loan Management                 12· · · · · · · · And then the final subheading is
13· ·Marketing/Opportunity Tracking."                        13· ·"Dead/on-hold."· I'll just list the names and then
14· · · · · · · · This is the tracking spreadsheet that      14· ·I'll ask you a question about that.· CIT, North
15· ·Mr. Reppucci had put together?                          15· ·Texas, EdSouth and Brazos.
16· · · · · ·A.· ·I believe it was Mr. Reppucci.· But yes,   16· · · · · · · · So Dead/on-hold, does that mean what I
17· ·that's what I recall.                                   17· ·think it means?
18· · · · · ·Q.· ·So this spreadsheet on the left side it    18· · · · · · · · MR. JOHANSON:· ·Before you answer, same
19· ·reads "Opportunity Tracking," and then a header of      19· ·objection.· Completeness.· Go ahead.
20· ·"Target," and then there's a list of names.             20· · · · · · · · The document speaks for itself.
21· · · · · · · · Do you see that?                           21· · · · · ·A.· ·Dead or on-hold, I would take to mean
22· · · · · ·A.· ·Yes.                                       22· ·it's not likely that there's a target here.· Probably
23· · · · · ·Q.· ·And then going from left to right          23· ·not worth a call.· Let's study it a little further.
24· ·there's a heading "Contact at Target" and then a list   24· ·Maybe something will happen.
25· ·of names.                                               25· · · · · ·Q.· ·Under the header "ASLM Responsibility,"


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·what does that heading mean?                            ·2· ·don't know if you want me to read it entirely or --
·3· · · · · ·A.· ·That heading is sort of an                 ·3· · · · · ·Q.· ·No.· Just look through it and let me
·4· ·accountability heading.· Who is accountable to -- who   ·4· ·know if you're familiar with the document.
·5· ·on the team is accountable to try to develop this       ·5· · · · · · · · This is Exhibit 5.· Do you recognize the
·6· ·into a target.                                          ·6· ·document?
·7· · · · · ·Q.· ·And you mentioned before Mark Weadick      ·7· · · · · ·A.· ·I do.
·8· ·who's with your firm.· There's another couple other     ·8· · · · · ·Q.· ·What is it?
·9· ·names here.· Taige Thornton, do you know Mr.            ·9· · · · · ·A.· ·This is an engagement agreement with
10· ·Thornton?                                               10· ·Alliance, between Student Loan Capital Strategies and
11· · · · · ·A.· ·Yes.· The first successful transaction     11· ·Alliance, with respect to a target that we had
12· ·that we did was acquiring an entity by the name of      12· ·identified that my recollection would be we went
13· ·Northstar Servicing -- I forget the exact name of the   13· ·through those first couple steps that I mentioned
14· ·company.· Taige Thornton was the head of that entity    14· ·earlier, and this was an engagement mostly to set
15· ·that was acquired by Alliance.· And although I don't    15· ·forth the fees that we would be paid.· I think this
16· ·recall this, he became sort of a team participant       16· ·was a success fee, maybe.· Let me just read this.
17· ·trying to develop further business for Alliance.        17· · · · · · · · Okay.· Could you repeat the question,
18· · · · · ·Q.· ·John Kolla, do you know John Kolla?        18· ·please?· Is there a question on the table?
19· · · · · ·A.· ·John Kolla is currently an employee of     19· · · · · ·Q.· ·I don't think there is.
20· ·Alliance, and I assume he was an employee of Alliance   20· · · · · · · · You had asked yourself a question about
21· ·at this time.                                           21· ·whether there was a success fee involved.· I was
22· · · · · ·Q.· ·Then John Hupalo, H-U-P-A-L-O?             22· ·looking at page 2 of the agreement.· So was there a
23· · · · · ·A.· ·So it's a little surprising to see         23· ·success fee involved?
24· ·John's name here, but we had introduced Alliance to     24· · · · · ·A.· ·We had identified this as a target.· It
25· ·Deutche Bank.· The student loan group was headed by     25· ·went -- we got to first base with it.· I think there
                                                  Page 42                                                      Page 44
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·John Hupalo, a long-time associate of mine.· It looks   ·2· ·was a letter signed, and we were paid $40,000 when we
·3· ·like Deutche Bank had a financial arrangement with      ·3· ·signed this engagement, which sort of comports with
·4· ·Alliance that would stand to be used if targets,        ·4· ·my earlier description of our business plan.· And
·5· ·successful targets were to be identified.· And so I'm   ·5· ·then if and when the transaction contemplated was
·6· ·inferring here, but I think John Hupalo was enlisted    ·6· ·completed, we'd be paid another sum.· And then there
·7· ·to help us develop business in various places where     ·7· ·was an earn out and we stood to make a little bit
·8· ·others didn't have a good call.· But that's an          ·8· ·more money if that was earned out.
·9· ·inference.                                              ·9· · · · · ·Q.· ·You said earlier that "we had identified
10· · · · · ·Q.· ·Sure.                                      10· ·an opportunity for Alliance."· By "we," do you mean
11· · · · · · · · You said that John Hupalo was a            11· ·SLCS?
12· ·long-time associate of yours.· Does that mean that      12· · · · · ·A.· ·Yes.
13· ·you had worked with him in Deutsche Bank for a long     13· · · · · ·Q.· ·So it was SLCS who identified this
14· ·time or was it a different relationship?                14· ·Northstar opportunity?
15· · · · · ·A.· ·He worked at Smith Barney Harris Upham.    15· · · · · · · · MR. JOHANSON:· ·Objection as to form.
16· · · · · ·Q.· ·Just put those away for now.· We may go    16· · · · · ·A.· ·I had called -- we earlier spoke of
17· ·back to it later.                                       17· ·Taige Thornton.· I had called his associate, Jamie
18· · · · · · · · (Exhibit 5 so marked                       18· ·Wolfe, described what we were up to.
19· · · · · · · · for identification.)                       19· · · · · · · · To digress a little bit, the primary
20· · · · · · · · Mr. Sheldon, I'm handing to you what the   20· ·business plan was to acquire stable cash flows to
21· ·reporter has marked as Exhibit 5.                       21· ·utilize Alliance's net operating loss carry forward.
22· · · · · · · · Can you take a look at the document and    22· ·And so they wanted to acquire very secure cash flows.
23· ·then read through it, and let me know when you're       23· ·That did not go anywhere at Northstar.· However,
24· ·ready and I'll ask you some questions about it.         24· ·Jamie asked me would they want to buy the servicing
25· · · · · ·A.· ·Well, this is very familiar to me. I       25· ·company, the servicing entity at Northstar.· I said I


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·didn't know.· I would ask.· We asked, and we            ·2· · · · · ·Q.· ·You can put that down, Mr. Sheldon.
·3· ·obviously pursued that transaction.                     ·3· · · · · · · · (Exhibit 7 so marked
·4· · · · · ·Q.· ·What is Northstar Capital Market           ·4· · · · · · · · for identification.)
·5· ·Services or what was it at the time of this fee         ·5· · · · · ·Q.· ·Mr. Sheldon, the court reporter has
·6· ·engagement?                                             ·6· ·handed to you what's been marked as Exhibit 7.· Take
·7· · · · · ·A.· ·There's a student loan company by the      ·7· ·a look at the document, read through it and let me
·8· ·name of Northstar -- I forget their exact name --       ·8· ·know when you're ready.
·9· ·that's composed of a board that has issued debt to      ·9· · · · · ·A.· ·Can I ask a question?
10· ·finance a pool of student loans.· That is the entity    10· · · · · ·Q.· ·Sure.
11· ·that we initially sought to make an investment in, if   11· · · · · ·A.· ·Is this one of the names in the
12· ·one would be available.                                 12· ·complaint, SLMRS and SLAMS you were talking about?
13· · · · · · · · Northstar Capital Market Services, as I    13· · · · · ·Q.· ·You're referring to the header?
14· ·recall, is the entity that stood in between the board   14· · · · · ·A.· ·Yes.
15· ·-- not in between the board, but the entity that        15· · · · · ·Q.· ·You're referring to the first paragraph?
16· ·basically administered the board's duties.· Northstar   16· · · · · ·A.· ·Yes, the header.
17· ·was paid a fee for those services.· Those fees were     17· · · · · ·Q.· ·Yes.· SLMRS, that's what we were
18· ·relatively secure because they derived from an          18· ·referring to as SLMRS.
19· ·extremely secure cash flow within the bond trust and    19· · · · · ·A.· ·Okay.
20· ·so represented a fairly secure, albeit not exactly      20· · · · · · · · MR. JOHANSON:· ·I do object.· I haven't
21· ·what Alliance was originally looking for, but a         21· ·heard your questions yet, but foundation.· This is
22· ·fairly secure investment, and they came to the          22· ·between Mr. Stephen Jones at SLMRS to Henry
23· ·conclusion that that would be something they would      23· ·Hockemier, Jr., Partner at Ballard Spahr.· I don't
24· ·want to take a look at.                                 24· ·see a copy to Mr. Sheldon on here.
25                                                           25· · · · · · · · If he's going to read this, that's going
                                                  Page 46                                                      Page 48
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · · · · (Exhibit 6 so marked                       ·2· ·to taint his testimony.· We object to that.
·3· · · · · · · · for identification.)                       ·3· · · · · · · · VIDEOGRAPHER:· ·Counsel, we have about
·4· · · · · ·Q.· ·Mr. Sheldon, the court reporter has        ·4· ·two minutes left on tape.
·5· ·marked the next document which is Exhibit 6.· Take a    ·5· · · · · · · · MR. GOLUBMIC:· ·Do you want to go ahead
·6· ·look at the e-mail and let me know when you're ready.   ·6· ·and switch?
·7· · · · · ·A.· ·Okay.                                      ·7· · · · · · · · VIDEOGRAPHER:· ·The time now is 10:36
·8· · · · · ·Q.· ·So this is an e-mail from you to Mr.       ·8· ·a.m.· This marks the end of tape number 1.
·9· ·Fenkell and Mr. Sefcovic dated February 19, 2010 with   ·9· · · · · · · · Going off the record.
10· ·a CC to Patrick Belica.· Subject:· Update.              10· · · · · · · · (Recess.)
11· · · · · · · · Do you recognize the e-mail?               11· · · · · · · · VIDEOGRAPHER:· ·The time now is 10:49
12· · · · · ·A.· ·I can't say verbatim, but it looks like    12· ·a.m.· This marks the beginning of tape number 2.
13· ·an e-mail that I would have written.· I'm sure it's     13· · · · · · · · We're back on the record.
14· ·my e-mail.                                              14· · · · · ·Q.· ·Mr. Sheldon, before we went off the
15· · · · · ·Q.· ·Do you know what the subject is about,     15· ·record, I handed to you what was marked as Exhibit 7.
16· ·particularly under Number 2, Northstar?                 16· ·Have you had a chance to review the document?
17· · · · · ·A.· ·Yes.· It's exactly what I was just         17· · · · · ·A.· ·Yes.
18· ·talking about.                                          18· · · · · ·Q.· ·Exhibit 7 is a letter dated November 20,
19· · · · · ·Q.· ·And this predates the previous exhibit,    19· ·2012 from Stephen Jones to Henry Hockeimer.· It's the
20· ·Exhibit 5, the fee agreement dated March 15, 2010.      20· ·letterhead of Student Loan Management and Research
21· · · · · ·A.· ·Okay.· So we were still in the fishing     21· ·Services, LLC.
22· ·mode.                                                   22· · · · · · · · Do you recognize the letter?
23· · · · · ·Q.· ·Right.· And that turned into the fee       23· · · · · ·A.· ·No, I don't.
24· ·agreement later, a month later?                         24· · · · · ·Q.· ·Have you ever seen the letter before?
25· · · · · ·A.· ·Yes.                                       25· · · · · ·A.· ·No.


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·1· · · · · · · · · · · · · Sheldon                        ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·If you go to the -- one, two, three,     ·2· · · · · ·Q.· ·Turning back to Exhibit 8, do you
·3· ·fourth paragraph of the first page beginning with     ·3· ·recognize the document?
·4· ·"The relationship between Alliance," do you see that  ·4· · · · · ·A.· ·I do.
·5· ·paragraph?                                            ·5· · · · · ·Q.· ·What is it?
·6· · · · · ·A.· ·Yes.                                     ·6· · · · · ·A.· ·This is an engagement of Student Loan
·7· · · · · ·Q.· ·If you go to the second sentence.· It    ·7· ·Capital Strategies by Alliance in connection with the
·8· ·reads, "Earlier in 2010, SLMRS members introduced     ·8· ·Panhandle proposed transaction.
·9· ·Alliance to Northstar Capital Markets Services,       ·9· · · · · ·Q.· ·What is the -- the engagement reads
10· ·('NCMS') and arranged a meeting followed by dinner    10· ·Panhandle Plains Service Center.· What is Panhandle
11· ·between Alliance and management team members and NCMS 11· ·Plains Service Center?
12· ·management team members."                             12· · · · · ·A.· ·It's a similar entity as the Northstar
13· · · · · · · · Do you see that?                         13· ·service company.· It's the entity that administers
14· · · · · ·A.· ·Yes.                                     14· ·Panhandle Plains Higher Education Authority debt.
15· · · · · ·Q.· ·Do you have an understanding that SLMRS  15· · · · · ·Q.· ·What was SLCS's sort of involvement with
16· ·did these things in 2010?                             16· ·this proposed transaction?· What services did it
17· · · · · · · · MR. JOHANSON:· ·I object as to form,     17· ·perform for Alliance?
18· ·also foundation.· He already said he doesn't          18· · · · · ·A.· ·We identified Panhandle as a potential
19· ·recognize the document.· He's never seen this.        19· ·target.· Panhandle had been my client since 1981 at
20· · · · · ·A.· ·It's a surprising statement.· I believe  20· ·Chase Manhattan, and I knew them for 30 years and
21· ·none of what I hear and half of what I see.· So who   21· ·knew that the Panhandle Plains Service Center had
22· ·knows?· But this is a surprising statement.           22· ·been converted to a for-profit entity.· The owners
23· · · · · ·Q.· ·Do you know the name Stephen Jones, the  23· ·were now older people and wanted to sell.· Since
24· ·person who signed this letter?                        24· ·Alliance had done the deal with Northstar, this was
25· · · · · ·A.· ·I don't.                                 25· ·almost -- as I recall off the top of my head as I'm
                                                  Page 50                                                      Page 52
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·You've never met Stephen Jones before?     ·2· ·testifying here -- an identical deal.· And so my best
·3· · · · · ·A.· ·Not that I know of, no.                    ·3· ·recollection is that I spoke to Jimmy Parker, the
·4· · · · · ·Q.· ·Have you ever heard his name before?       ·4· ·executive director, and suggested that Alliance would
·5· · · · · ·A.· ·No.                                        ·5· ·be -- probably told him about Northstar and would you
·6· · · · · ·Q.· ·Let's put this down for a minute.· I'll    ·6· ·have any interest in talking to Alliance?
·7· ·be coming back to it.                                   ·7· · · · · ·Q.· ·What happened with respect to the
·8· · · · · · · · (Exhibit 8 so marked                       ·8· ·proposed transaction?· ·Did the transaction
·9· · · · · · · · for identification.)                       ·9· ·consummate?
10· · · · · ·Q.· ·Mr. Sheldon, the court reporter has        10· · · · · ·A.· ·It did.
11· ·handed to you what's been marked as Exhibit 8.· Can     11· · · · · ·Q.· ·This engagement is dated June 20, 2010.
12· ·you take a look at the document and just read through   12· ·Do you know approximately when the transaction
13· ·it and let me know when you're ready, and I'll ask      13· ·closed?
14· ·you some questions.                                     14· · · · · ·A.· ·It would be a guess.
15· · · · · ·A.· ·Okay.                                      15· · · · · ·Q.· ·That's okay.
16· · · · · ·Q.· ·Just before I ask you questions about      16· · · · · · · · (Exhibit 9 so marked
17· ·this exhibit, just going back to the Northstar, did     17· · · · · · · · for identification.)
18· ·the Northstar -- was there a Northstar transaction      18· · · · · ·Q.· ·Mr. Sheldon, the reporter has hand you
19· ·that closed?                                            19· ·what's been marked as Exhibit 9.· Can you take a look
20· · · · · ·A.· ·There was.                                 20· ·at it and let me know when you're ready?
21· · · · · ·Q.· ·When did that occur, approximately?        21· · · · · ·A.· ·Okay.
22· · · · · ·A.· ·Well, it occurred prior to the e-mail      22· · · · · ·Q.· ·This is a letter dated January 19, 2010
23· ·where Taige Thornton was listed to be involved in       23· ·from you to David Fenkell.· Do you recognize the
24· ·developing new business.· I don't have a crisp          24· ·document?
25· ·recollection of chronology here.                        25· · · · · ·A.· ·I do.


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·What is it?                                ·2· · · · · ·A.· ·He works for Alliance.· I believe he's
·3· · · · · ·A.· ·It's an engagement agreement regarding     ·3· ·the gentleman responsible for -- or at this time. I
·4· ·the U.S. Education Loan matter.                         ·4· ·haven't had recent contact with him.· But at this
·5· · · · · ·Q.· ·Who is U.S. Education Loan?                ·5· ·time I believe he was the gentleman responsible for
·6· · · · · ·A.· ·U.S. Education Loan is an entity in        ·6· ·overseeing investments and reviewing investments.· He
·7· ·Miami, Florida that owns a pool of student loans,       ·7· ·might have sat on the board of targets once acquired.
·8· ·headed by a gentleman by the name of Henry Howard,      ·8· ·But that's my recollection.
·9· ·who I've known since the late '80s in the student       ·9· · · · · ·Q.· ·TJ Haas, do you recognize that name?
10· ·loan business.                                          10· · · · · ·A.· ·I vaguely recall that perhaps Alliance
11· · · · · ·Q.· ·How did you first come to know Mr.         11· ·hired a young man that they called TJ, but no, I
12· ·Howard?                                                 12· ·don't really recognize TJ Haas.
13· · · · · ·A.· ·He originated student loans, which were    13· · · · · ·Q.· ·The subject line is SLFC.· Do you know
14· ·later sold to Brazos Higher Education Authority, a      14· ·what refers to?
15· ·name that's already come up today.                      15· · · · · ·A.· ·Student Loan Finance Corporation.
16· · · · · ·Q.· ·What became of -- what services did SLCS   16· · · · · ·Q.· ·What is SLFC?
17· ·provide in connection with the proposed transaction     17· · · · · ·A.· ·They are a -- formerly a not-for-profit
18· ·services U.S. Education Loan?                           18· ·that turned into a for-profit bond issuer in South
19· · · · · ·A.· ·My best recollection is that this got to   19· ·Dakota, a client of ours since 2007, and we worked
20· ·first base in terms of we identified it as a client     20· ·with them since the mid '80s.
21· ·-- as a target, excuse me.· I believe that              21· · · · · ·Q.· ·Mr. Belica's e-mail reads, "Norg
22· ·information was received, information about their       22· ·Sanderson, CEO, would like to set up a call to meet
23· ·student loan portfolio.· I think that analysis was      23· ·Alliance and discuss a possible transaction."
24· ·made and -- I'm just reviewing this for status of the   24· · · · · · · · Did SL -- a lot of acronyms here.· Did
25· ·transaction, when this agreement was signed.· But it    25· ·SLCS work with Alliance on identifying and proceeding
                                                  Page 54                                                      Page 56
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·was beyond the fishing.· It looked like we had a real   ·2· ·with a possible transaction involving SLFC?
·3· ·deal.· I think there was a meeting with Mr. Howard,     ·3· · · · · ·A.· ·Yes.· Mr. Belica covers, if you will,
·4· ·although I may be mistaken about that.                  ·4· ·SLFC.· His dad was on the board of SLFC for many
·5· · · · · ·Q.· ·Okay.· You can put that down.              ·5· ·years.· I'm not sure whether he still was.· But Mr.
·6· · · · · · · · (Exhibit 10 so marked                      ·6· ·Belica has a very strong rapport with Mr. Sanderson
·7· · · · · · · · for identification.)                       ·7· ·and SLFC.
·8· · · · · ·Q.· ·Mr. Sheldon, the reporter's handed you     ·8· · · · · ·Q.· ·Did the work on a possible transaction
·9· ·what's been marked as Exhibit 11.· Take a look at the   ·9· ·involving SLFC get beyond first base?
10· ·e-mail and let me know when you're ready.               10· · · · · ·A.· ·Yes.· My recollection of this one is
11· · · · · ·A.· ·Okay.                                      11· ·that there was going to be a loan between Alliance
12· · · · · ·Q.· ·This is an e-mail from Patrick Belica to   12· ·and SLFC.· It got beyond first base.· I believe SL --
13· ·Mr. Fenkell, Kenneth Wanko, Mr. Sefcovic, yourself,     13· ·Alliance asked for some information from SLFC, and I
14· ·Chris Springer, John Reppucci, TJ Hass.· The subject    14· ·believe the transaction got bogged down in developing
15· ·line is SLCS.                                           15· ·the package to substantiate the agreement.· I'm not
16· · · · · · · · Do you see that?                           16· ·sure if any fees were ever paid.
17· · · · · ·A.· ·Yes.                                       17· · · · · · · · That's my recollection.· Maybe you're
18· · · · · ·Q.· ·Do you recognize the e-mail?               18· ·going to hand me an engagement agreement.
19· · · · · ·A.· ·Again, I don't have a crisp recollection   19· · · · · ·Q.· ·No.
20· ·of this being sent, but it looks like something that    20· · · · · · · · If you can go back to Exhibit 3,
21· ·Patrick would have sent and it looks very familiar.     21· ·and on the second page of the exhibit is a list of
22· · · · · ·Q.· ·I'm not sure if this name came up          22· ·current or former non-profits.
23· ·before, but Chris Springer, do you know that name?      23· · · · · · · · Do you see that?
24· · · · · ·A.· ·Yes.                                       24· · · · · ·A.· ·Yes.
25· · · · · ·Q.· ·Who is Mr. Springer?                       25· · · · · ·Q.· ·At this bottom of the list is an entity


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SPEAR VS. FENKELL                                                                                               57–60
                                                  Page 57                                                               Page 59
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·called Access.· Do you see that?                        ·2· · · · · ·Q.· ·Mr. Sheldon, the reporter has handed to
·3· · · · · ·A.· ·Yes.                                       ·3· ·you what's been marked as Exhibit 11.· Take a look at
·4· · · · · ·Q.· ·What is Access?                            ·4· ·it and let me know when you're ready.
·5· · · · · ·A.· ·Access is a company that derives from      ·5· · · · · ·A.· ·Okay.
·6· ·the Law Access, the people who give the tests for law   ·6· · · · · ·Q.· ·This is an e-mail from you to Mr.
·7· ·students, LSAT and LSAC.· I helped LSAS form a          ·7· ·Fenkell, Mr. Sefcovic, with a CC to Mr. Belica, with
·8· ·student loan company in the mid '80s that developed     ·8· ·the subject Update.
·9· ·into a very robust company.· At some time it branded    ·9· · · · · · · · Do you recognize the e-mail?
10· ·itself in order to go beyond the law school space,      10· · · · · ·A.· ·Not crisply, but vaguely.
11· ·developing student loans, into all graduate             11· · · · · ·Q.· ·It's dated February 12, 2012.· There's a
12· ·education.· I believe that caused it to rebrand         12· ·reference to an entity CLC.
13· ·itself to Access.                                       13· · · · · · · · Do you know CLC?
14· · · · · · · · Chris Chapman was hired.· Chris was a      14· · · · · ·A.· ·Yes.
15· ·former colleague of my partner, Mark Weadick, at        15· · · · · ·Q.· ·What is that?
16· ·Student Loan Funding Corp. in Cincinnati where Mark     16· · · · · ·A.· ·CLC is what we would refer to as a
17· ·and Chris worked.· Mark and Chris had a strong          17· ·for-profit student loan company.· It was formerly
18· ·relationship.· We serve as advisor to Access now.       18· ·known as College Loan Corporation, I believe.· They
19· ·And I wouldn't be surprised to see if Mark was the      19· ·were a direct marketer in the space during the
20· ·responsible entity -- responsible person to cover       20· ·consolidation boom of the turn of the century.· Paul
21· ·Access.                                                 21· ·Wozniak was a managing director at UBS, UBS Bank, and
22· · · · · ·Q.· ·And did SLCS perform work related to a     22· ·was my primary competitor as a banker at Citigroup.
23· ·possible Access transaction for Alliance?               23· ·He now is the chairman, at this time and currently he
24· · · · · ·A.· ·I don't have a crisp recollection of       24· ·was the chairman of CLC.
25· ·that getting to any stage, no.· I just don't know.      25· · · · · ·Q.· ·So you knew Mr. Wozniak --

                                                  Page 58                                                               Page 60
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·Okay.· If you go to the first page of      ·2· · · · · ·A.· ·Wozniak.
·3· ·that same exhibit, Exhibit 3.· Under the heading        ·3· · · · · ·Q.· ·-- through -- as competitors?
·4· ·"Large Players," do you see that?                       ·4· · · · · ·A.· ·Yes.
·5· · · · · ·A.· ·Yes.                                       ·5· · · · · ·Q.· ·Was it SLCS that identified CLC as a
·6· · · · · ·Q.· ·There's an entity called NelNet.           ·6· ·possible opportunity for Alliance?
·7· · · · · ·A.· ·Yes.                                       ·7· · · · · ·A.· ·I assume so.· I don't have a crisp
·8· · · · · ·Q.· ·What is NelNet?                            ·8· ·recollection of how that developed.· They're on the
·9· · · · · ·A.· ·NelNet is a company that has been --       ·9· ·list of -- they're in the February 10th e-mail, I
10· ·NelNet or its successors have been in the business      10· ·believe.
11· ·since the '70s.· In the '80s, its business plan was     11· · · · · ·Q.· ·Right.
12· ·to roll up the not-for-profits, acquire them and        12· · · · · ·A.· ·As a small player.
13· ·become -- it actually stood for National Education      13· · · · · ·Q.· ·Right.· You're referring back to Exhibit
14· ·Loan Network, and is today a very prominent student     14· ·3.· They're listed as a small player.
15· ·loan entity and ranks with Sallie Mae as the two        15· · · · · · · · What about CIT, do you recognize that?
16· ·bellwether student loan companies.                      16· · · · · ·A.· ·CIT is a speciality finance company.
17· · · · · ·Q.· ·Did SLCS provide any work or do any work   17· ·They were in dire straights at this time.· My
18· ·related to a possible NelNet transaction for            18· ·colleague at Student Loan Capital Strategies, Dan
19· ·Alliance?                                               19· ·Blighe, had worked at CIT and we -- David Finn was
20· · · · · ·A.· ·I don't have any recollection that we      20· ·his boss at CIT, as I recall.· So I called David
21· ·did.· It would not surprise me if Mr. Weadick or I      21· ·Finn.
22· ·spoke to Jeff Noordhoek about the possibility, but I    22· · · · · · · · There's a misspelling here, "Thian,"
23· ·don't have any recollection of that.                    23· ·former Goldman Sachs managing director, former New
24· · · · · · · · (Exhibit 11 so marked                      24· ·York Stock Exchange company CEO, went to CIT to save
25· · · · · · · · for identification.)                       25· ·it, if you will.· And I believe that Finn said, hey,


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                                                  Page 61                                                      Page 63
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·listen, we're not doing anything yet, but keep in       ·2· ·probably one conversation.· He had no interest in
·3· ·touch because after Thian's done reorganizing us, who   ·3· ·pursuing anything.· Unlike the Panhandle transaction
·4· ·knows?                                                  ·4· ·which is analogous, the Panhandle administrator was a
·5· · · · · ·Q.· ·If you refer back to Exhibit 3.· CIT is    ·5· ·for-profit entity with stockholders.· And Brazos,
·6· ·listed as one of the large players that was             ·6· ·that entity was a not-for-profit, and there was just
·7· ·identified --                                           ·7· ·no interest in getting to a second phone call, as I
·8· · · · · ·A.· ·Yes.                                       ·8· ·recall.
·9· · · · · ·Q.· ·-- in the prospect list?                   ·9· · · · · ·Q.· ·Did Mr. Sefcovic provide any services
10· · · · · ·A.· ·Mm-hmm.· John Thain, right.                10· ·related to the possible Brazos opportunity for
11· · · · · ·Q.· ·What became of the pursuit of those        11· ·Alliance?
12· ·opportunities with CLC and CIT?                         12· · · · · · · · MR. JOHANSON:· ·Objection as to form.
13· · · · · ·A.· ·CLC, there was a round of telephone        13· · · · · ·A.· ·Not that I know of, but he had reason to
14· ·calls, I believe, with Mr. Wozniak and Alliance         14· ·talk to Mr. Watson day in and day out, so I just have
15· ·personnel.· I think, yes, we did receive what we        15· ·no knowledge of what he might or not might have said.
16· ·referred to as a tape of information, which is          16· · · · · ·Q.· ·If you go to page 1 of Exhibit 3, same
17· ·basically the portfolio of student loans,               17· ·exhibit.
18· ·electronically transmitted to us.· Mr. Belica would     18· · · · · ·A.· ·Right.
19· ·take that, quote, "tape," and analyze the cash flows    19· · · · · ·Q.· ·Under Small Players, there's an entity,
20· ·of their various trusts.· My best recollection is       20· ·GCO.
21· ·that we received the tape.· I don't recall being        21· · · · · ·A.· ·Yes.
22· ·paid, that there be an engagement agreement --          22· · · · · ·Q.· ·What is GCO?
23· ·although, again, you may hand me one in a second --     23· · · · · ·A.· ·GCO is a student loan player.· Had been
24· ·but I don't think we sort of got to first base.         24· ·a -- I believe it was Student Loan Capital
25· · · · · · · · Did you ask about CIT?                     25· ·Strategies' first client.· They owned several trusts,
                                                  Page 62                                                      Page 64
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·Yes.· I did ask about CIT as well.         ·2· ·several student loan trusts, and was -- is a
·3· · · · · ·A.· ·I believe that nothing came of CIT. I      ·3· ·subsidiary of Greystone Financial and someone I think
·4· ·believe we made that initial call.· I believe John      ·4· ·we identified as a prime candidate for Alliance,
·5· ·Thain did come in and clean house, and then I think     ·5· ·given that Greystone is not a student loan company
·6· ·he sold CIT, and so nothing developed.                  ·6· ·and would be wanting to shed this entity, is my
·7· · · · · ·Q.· ·If you go back to Exhibit 3, the           ·7· ·recollection.
·8· ·prospect list that we've been looking at.· If you go    ·8· · · · · ·Q.· ·It says "Alliance has this covered" next
·9· ·to the second page of that exhibit under the heading    ·9· ·to it.· Do you know what that refers to?
10· ·Current or Former Non-Profits, Brazos is listed         10· · · · · ·A.· ·I believe that we introduced Alliance to
11· ·there?                                                  11· ·GCO and that there was discussion -- I kind of forget
12· · · · · ·A.· ·Yes.                                       12· ·this one.· There was discussion, maybe, and because
13· · · · · ·Q.· ·What is Brazos?                            13· ·there was already a dialogue, Alliance personnel had
14· · · · · ·A.· ·Brazos is a not-for-profit company that    14· ·regular conversations with GCO is my best
15· ·sells tax exempt bonds to finance student loans, a      15· ·recollection.
16· ·client of mine since 1981 and a client of Mr.           16· · · · · ·Q.· ·On the same exhibit, page 1, under the
17· ·Sefcovic's -- well, sorry -- yes, I guess that's        17· ·heading Banks, do you see that?
18· ·right.· Mr. Sefcovic served as underwriter's counsel    18· · · · · ·A.· ·Yes.
19· ·for us in mid '90s and later became a central legal     19· · · · · ·Q.· ·And so in terms of the objective, what
20· ·figure at the Brazos Education Authority acting as      20· ·was -- how were the banks involved here in terms of
21· ·what we call bond counsel.                              21· ·your prospect list?· What role would they be playing?
22· · · · · ·Q.· ·Brazos is identified as a possible         22· · · · · ·A.· ·Unclear.· I don't recall them as being
23· ·opportunity.· What became of that?                      23· ·primary targets.· There was a -- at this time even
24· · · · · ·A.· ·Nothing.· I'm sure that I spoke to Mr.     24· ·banks were having extreme financing difficulties and
25· ·Watson about it in probably one or maybe two, but       25· ·the thinking was that perhaps a bank would be


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                                                  Page 65                                                      Page 67
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·interested in a whole loan sale, in other words, a      ·2· · · · · · · · MR. JOHANSON:· ·Excuse me, were you
·3· ·sale of the actual student loans and maybe there'd be   ·3· ·finished with your answer there?
·4· ·an opportunity to team Alliance with someone else,      ·4· · · · · · · · I do object to --
·5· ·Alliance's role to finance some of that purchase of     ·5· · · · · · · · THE WITNESS:· No, I'm not finished.
·6· ·whole loans with someone else.· But my best             ·6· ·It's just a point of order that if you want me to
·7· ·recollection is that these banks would not be selling   ·7· ·describe what this is about, it's fairly
·8· ·a cash flow stream to Alliance and so -- that's my      ·8· ·self-explanatory.
·9· ·best recollection.· But he did develop into a little    ·9· · · · · · · · MR. JOHANSON:· ·My only objection was I
10· ·something.                                              10· ·think Mr. Golumbic stopped you in the middle of your
11· · · · · ·Q.· ·And Key is listed here.· Explain, what     11· ·answer.· So that was my objection.
12· ·did Key develop into?                                   12· · · · · · · · THE WITNESS:· Okay.
13· · · · · ·A.· ·Key -- this was late in the process. I     13· · · · · ·Q.· ·Unless you have something else you want
14· ·think this was one of the last things we worked on.     14· ·to say about my prior question, which was just
15· ·Key had two trusts, two or three.· My best              15· ·open-ended, what is Graduate Leverage?
16· ·recollection is that we got data on those trusts and    16· · · · · ·A.· ·Graduate Leverage is a very dynamic
17· ·performed some analysis.· I forget exactly what the     17· ·company that entered our space in the '90s.· Dan
18· ·proposed transaction was to be.· It got to first base   18· ·Thiebault is a very impressive man.· Citigroup lent
19· ·and I believe we were paid a small fee, neighborhood    19· ·him upwards of 3, $4 billion to develop his
20· ·of $10,000, but it dried up for some reason.            20· ·portfolio.· We were hired by Graduate Leverage as one
21· · · · · ·Q.· ·Among the other banks listed here is JPM   21· ·of our first -- in the first month or two of
22· ·or JP Morgan.· Do you know what, if anything,           22· ·developing Student Loan Capital Strategies, we were
23· ·happened with respect to the development of that        23· ·hired by Graduate Leverage to talk about a sale of
24· ·possible opportunity?                                   24· ·the company.· It's coming back to me.· That was in
25· · · · · ·A.· ·No.· I don't have any recollection of      25· ·the fall of 2007.· And the walls came down on the
                                                  Page 66                                                      Page 68
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·either JP Morgan or Wells Fargo even being              ·2· ·business, so that went away.· And by November of
·3· ·approached.· I don't recall anything at all.            ·3· ·2010, having a large pool of loans and being involved
·4· · · · · ·Q.· ·Okay.                                      ·4· ·in a number of things, I thought that it would be a
·5· · · · · · · · (Exhibit 12· so marked                     ·5· ·great time for Mr. Fenkell to meet Mr. Thiebault to
·6· · · · · · · · for identification                         ·6· ·see what would happen.
·7· · · · · ·Q.· ·Mr. Sheldon, the court reporter has        ·7· · · · · ·Q.· ·Did a meeting ever take place between
·8· ·handed to you what's been marked as Exhibit 12.· Take   ·8· ·Mr. Fenkell and Mr. Thiebault?
·9· ·a look at the e-mails and let me know when you're       ·9· · · · · ·A.· ·I don't recall that it did.· I don't
10· ·ready.                                                  10· ·have a recollection.· He may be able to trip my
11· · · · · ·A.· ·Okay.                                      11· ·memory, but I don't have a recollection of anything
12· · · · · ·Q.· ·So this is a series of e-mails, the        12· ·happening past this e-mail.
13· ·first is an e-mail from you to Mr. Fenkell and Mr.      13· · · · · · · · (Exhibit 13 so marked
14· ·Wanko dated November 11, 2010, Subject:· Graduate       14· · · · · · · · for identification.)
15· ·Leverage.· And then an e-mail the next day, November    15· · · · · ·Q.· ·Mr. Sheldon, the reporter has handed to
16· ·12, 2010 from Mr. Fenkell to you with the same          16· ·you what's been marked as Exhibit 13.· Take a look at
17· ·subject line.                                           17· ·the two e-mails and let me know when you're ready.
18· · · · · · · · Do you recognize the e-mails?              18· · · · · ·A.· ·Okay.
19· · · · · ·A.· ·Yes.                                       19· · · · · ·Q.· ·These are two e-mails.· The first is
20· · · · · ·Q.· ·What is this about?                        20· ·from you dated August 31, 2010 to Mr. Sefcovic, Mr.
21· · · · · ·A.· ·Well, as it says, Dan Thiebault -- I'll    21· ·Wanko, Mr. Fenkell.· The subject line is Montana.
22· ·mostly be parroting this back, but Dan Thiebault was    22· ·And then on the same day, an e-mail back from Mr.
23· ·a --                                                    23· ·Sefcovic to you Mr. Wanko and Mr. Fenkell.
24· · · · · ·Q.· ·Let me just ask you then what is           24· · · · · · · · Do you recognize the e-mails?
25· ·Graduate Leverage?                                      25· · · · · ·A.· ·Again, I don't have a crisp recollection


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                                                  Page 69                                                      Page 71
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·of sending it, but yes, I have a general familiarity    ·2· ·Northstar business, whereas we started looking for
·3· ·and remembrance of the subject matter.                  ·3· ·residual interests and actual bond issues, we got
·4· · · · · ·Q.· ·The subject line is Montana.· What is      ·4· ·success in acquiring master servicing businesses at
·5· ·Montana?                                                ·5· ·Northstar, Panhandle, and we were trying to produce
·6· · · · · ·A.· ·Montana is a similar company, if you       ·6· ·the same result here in Montana.
·7· ·will, as the other not-for-profits.· This is a          ·7· · · · · ·Q.· ·Okay.
·8· ·company in Montana which issued debt to finance         ·8· · · · · · · · You can go back to Exhibit 3, the
·9· ·student loans.· It was a banking client at Smith        ·9· ·prospect list again, and under Small Players there is
10· ·Barney, then Citigroup for 15 years.· Jim Stipich is    10· ·an entity, Next.· Do you see that?
11· ·a -- is the long time executive director since it       11· · · · · ·A.· ·Yes.
12· ·started I think in the early '80s.· Still is.· He's     12· · · · · ·Q.· ·What is Next?
13· ·established many innovative participants in the         13· · · · · ·A.· ·Next is similar to CLC and GOAL and K-2.
14· ·student loan business.· His servicing company           14· ·As I said, there came a time in the student loan
15· ·actually serviced all of Dan Thiebault's billions of    15· ·business where direct marketing to existing student
16· ·dollars worth of student loans.· And again, from my     16· ·loan borrowers for the purpose of consolidating their
17· ·e-mail, I recall that just like everyone else he was    17· ·loans became an extremely lucrative business.· Next
18· ·short of capital, had these new enterprises starting,   18· ·was a Phoenix company which was a successful player
19· ·and here's Alliance looking to buy pieces of            19· ·in that game.
20· ·businesses.· They all ought to get together.            20· · · · · ·Q.· ·So Next is identified by you as a
21· · · · · ·Q.· ·Had you dealt with Mr. Stipich in          21· ·prospect.· Do you know what became of that, the
22· ·Montana when you were at Smith Barney and Citigroup?    22· ·pursuit of that opportunity?
23· · · · · ·A.· ·My colleague covered it, but someone in    23· · · · · ·A.· ·I don't.· I'm pretty sure Next became a
24· ·my group covered Montana for the business.              24· ·client of ours.· I don't recognize the name Brent
25· · · · · ·Q.· ·Okay.· So the e-mail describes the         25· ·Carlson.· There are other individuals there that we
                                                  Page 70                                                      Page 72
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·possibility of Alliance purchasing Montana's master     ·2· ·know and I would have thought would be there.· But I
·3· ·servicing business.· What did -- were there further     ·3· ·don't think that Next became a target here.
·4· ·discussions about the matter?                           ·4· · · · · ·Q.· ·Okay.· And then this may be my final
·5· · · · · ·A.· ·I don't recall this going anywhere.· Jim   ·5· ·question on this exhibit.· I'm sure you'll be happy
·6· ·Stipich had several, you know, entities, as I said.     ·6· ·about that.
·7· ·And the thought, I believe, as I recall, was that if    ·7· · · · · · · · The second page of the exhibit under
·8· ·he sold some of the cash flow coming off his bond       ·8· ·that heading Current or Former Non-Profits, there's
·9· ·issues and going to service loans which was now --      ·9· ·is a reference to PHEAA.· Do you see that?
10· ·service the bond issues, if you will -- I could         10· · · · · ·A.· ·Yes.
11· ·explain what that means if you'd like me to.· This      11· · · · · ·Q.· ·What does that refer to, PHEAA?
12· ·was something -- this was all line business, maybe      12· · · · · ·A.· ·Pennsylvania Higher Education Assistance
13· ·he'd like to sell that cash flow stream so he could     13· ·Agency, otherwise known as PHEAA, is a state agency
14· ·use the proceeds in one of his new endeavors.           14· ·in Pennsylvania, a very significant player in the
15· · · · · ·Q.· ·What does it mean to service the bond      15· ·student loan space -- in the student loan industry, a
16· ·issues?                                                 16· ·client at this time and currently a client of Student
17· · · · · ·A.· ·You have -- you usually have a board and   17· ·Loan Capital Strategies.
18· ·in all of the cases that we've talked about, the        18· · · · · · · · Jim Preston, like -- I have a mental
19· ·Montana board, the Northstar board, the Panhandle       19· ·block -- the gentleman at CLC, Paul Wozniak, was a --
20· ·board, you have a board that has issued hundreds,       20· ·Jim Preston worked for Paul Wozniak at UBS and got a
21· ·perhaps millions of dollars worth of bonds.· Usually    21· ·job at PHEAA to run it and is currently the executive
22· ·they would contract with a separate entity to           22· ·director of PHEAA.
23· ·administrator that program.                             23· · · · · ·Q.· ·Did you or others at SLCS reach out to
24· · · · · ·Q.· ·Okay.                                      24· ·Mr. Preston and others to seek out this potential
25· · · · · ·A.· ·And as I stated in connection with the     25· ·opportunity for Alliance?


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·I don't have a crisp recollection of       ·2· · · · · ·A.· ·GOAL is very similar to CLC, K-2 and
·3· ·that.· My partner, Mr. Weadick, covers PHEAA, if you    ·3· ·Next, obtained its success in the consolidation
·4· ·will.· And I assume that he mentioned the concept,      ·4· ·business, direct marketing, and just like those
·5· ·but I don't have a crisp recollection of that. I        ·5· ·others.
·6· ·don't believe I spoke to Mr. Preston about it.          ·6· · · · · ·Q.· ·Did you or others from SLCS reach out to
·7· · · · · ·Q.· ·I lied.· I have a couple more questions    ·7· ·any contacts at GOAL?
·8· ·on this exhibit.                                        ·8· · · · · ·A.· ·Again, Mr. Weadick has the best
·9· · · · · · · · If you could go back to the first page.    ·9· ·relationship with GOAL, and so I don't know whether
10· ·If you look at under the Large Players, Sallie Mae?     10· ·we did or not.
11· · · · · ·A.· ·Yes.                                       11· · · · · ·Q.· ·Okay.· You can put that exhibit away,
12· · · · · ·Q.· ·And There's a reference to Jack Remondi.   12· ·hopefully for the last time.
13· ·Do you know Jack Remondi?                               13· · · · · ·A.· ·Okay.
14· · · · · ·A.· ·Yes.· Jack Remondi was a client at Smith   14· · · · · · · · (Exhibit 14 so marked
15· ·Barney at an entity that we helped sell to Sallie       15· · · · · · · · for identification.)
16· ·Mae.· At this time, Jack was the CFO of Sallie Mae      16· · · · · ·Q.· ·Mr. Sheldon, the court reporter has
17· ·and has since become the CEO of Sallie Mae.· I spoke    17· ·handed you what's been marked as Exhibit 14.· It's
18· ·to Jack about this, and he was not overly impressed.    18· ·two e-mails.· Take a look at them and let me know
19· ·He thought that the hedge funds were pretty good        19· ·when you're ready.
20· ·competitors of Alliance.· At this time he was also      20· · · · · ·A.· ·Okay.
21· ·struggling with capital.                                21· · · · · ·Q.· ·Looking from the bottom up to the top,
22· · · · · ·Q.· ·Right.                                     22· ·the first is an e-mail from Mr. Fenkell to Mark
23· · · · · ·A.· ·And we had a lovely conversation, but it   23· ·Weadick, a copy to Mr. Sefcovic, with a subject line
24· ·went nowhere.                                           24· ·"Upcoming Student Loan Conference."
25· · · · · ·Q.· ·Okay.· Above Sallie Mae there is a         25· · · · · · · · And above that the same day, Mr. Weadick
                                                  Page 74                                                      Page 76
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·reference to STU.· Do you see that?                     ·2· ·responds to Mr. Fenkell and copied you on the
·3· · · · · ·A.· ·Where is it?                               ·3· ·response, with a CC to Paul Sefcovic.
·4· · · · · ·Q.· ·It's right above the Sallie under Large    ·4· · · · · · · · Do you recognize the e-mail chain?
·5· ·Players.                                                ·5· · · · · ·A.· ·I do.
·6· · · · · ·A.· ·STU.                                       ·6· · · · · ·Q.· ·And the Re line is "Upcoming Student
·7· · · · · ·Q.· ·Yes.· What is STU?                         ·7· ·Loan Conference."
·8· · · · · ·A.· ·STU was the student loan business of       ·8· · · · · · · · What is the e-mail about?
·9· ·Citigroup.· It had been a division of Citicorp.         ·9· · · · · ·A.· ·There are many student loan conferences
10· ·Again, Smith Barney actually did the IPO to create      10· ·attended by most participants.· So they're a good way
11· ·STU in the mid '90s.· STU then became a company, but    11· ·to go meet, meet and greet, in this case, targets for
12· ·as I recall, Citicorp retained a majority interest in   12· ·Alliance.· I forget the name of this particular
13· ·STU.· Mike Reardon was the head of -- well, he was      13· ·conference being held in Washington, D.C., but my
14· ·the CEO of Student Loan.· STU stood for Student Loan    14· ·best recollection is that I did intend to go to it
15· ·Corporation.· STU was the ticker of the stock, STU.     15· ·and Mark Weadick was going to it.· And so my best
16· · · · · ·Q.· ·Did you or others from SLCS reach out to   16· ·recollection here is that Mr. Fenkell wanted to make
17· ·Mr. Reardon or others?                                  17· ·sure that Mark had topics in mind that we want to
18· · · · · ·A.· ·I did not.· I'm not sure if Mr. Weadick    18· ·meet people, we want to do business, et cetera.
19· ·did.· I recall that we worked at Citigroup, Mr.         19· · · · · ·Q.· ·Particularly the e-mail discusses -- it
20· ·Weadick and I, and I don't know that we did contact     20· ·says that "I was also hoping that you would be able
21· ·STU.                                                    21· ·to make some introductions on our behalf of potential
22· · · · · ·Q.· ·Under Small Players there's a reference    22· ·lenders for our Northstar transaction."· And in the
23· ·to GOAL.· Do you see that?                              23· ·top e-mail Mark Weadick responds and identifies
24· · · · · ·A.· ·Yes.                                       24· ·possible new candidates, including Morgan Stanley,
25· · · · · ·Q.· ·What is GOAL?                              25· ·Cross Point Capital.· Then he says "remaining usual


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·suspects -- BAML, Citi, Credit Suisse and JPM."         ·2· ·attended ed by Chris Cronk and -- mental block about
·3· · · · · · · · Do you recall if Mr. Weadick helped make   ·3· ·his colleague's name.· I think we had lunch and
·4· ·some introductions for Mr. Fenkell at this              ·4· ·chatted about the things that Alliance was anxious to
·5· ·Washington, D.C. conference?                            ·5· ·do.· Brian Moynihan had been made CEO that week, and
·6· · · · · · · · MR. JOHANSON:· ·Objection as to form.      ·6· ·we saw him in the hallway.
·7· ·Foundation.                                             ·7· · · · · · · · (Exhibit 16 so marked
·8· · · · · ·A.· ·I don't have a crisp recollection of       ·8· · · · · · · · for identification.)
·9· ·that, I believe that Scott Kaysen may have been         ·9· · · · · ·Q.· ·The court reporter has handed you what's
10· ·introduced in person at this conference because there   10· ·been marked as Exhibit 16.· It's a series of e-mails.
11· ·were follow up conversations with Mr. Kaysen.           11· ·Please review them and let me know when you're ready.
12· · · · · ·Q.· ·Mr. Kaysen is with Morgan Stanley; is      12· · · · · ·A.· ·Okay.
13· ·that right?                                             13· · · · · ·Q.· ·So this is a series of e-mails beginning
14· · · · · ·A.· ·No.· He was with -- this sentence is not   14· ·with an e-mail from Mr. Wanko to Patrick Belica from
15· ·artfully written.· I believe Mr. Kaysen is with Cross   15· ·SLCS.· The subject line is Norg.· Who is Norg?
16· ·Point Capital.· Mr. Kaysen had worked with us at        16· · · · · ·A.· ·We spoke about him this morning.· Norg
17· ·Chase Manhattan -- at Smith Barney, and I believe --    17· ·Sanderson is the executive director or CEO of Student
18· ·I'm nearly certain he was not with Morgan Stanley. I    18· ·Loan Finance Corporation in South Dakota, a client
19· ·think he was with Cross Point Capital and had just      19· ·that Mr. Belica covers for our firm.
20· ·done a similar piece of business.· And I think that     20· · · · · ·Q.· ·So the discussion of the e-mail is about
21· ·that went one or two steps with Scott Kaysen.           21· ·a possible meeting with Mr. -- is it Anderson you
22· · · · · · · · (Exhibit 15 so marked                      22· ·said?
23· · · · · · · · for identification.)                       23· · · · · ·A.· ·Sanderson.
24· · · · · ·Q.· ·Mr. Sheldon, the court reporter has        24· · · · · ·Q.· ·Sanderson, excuse me.· Mr. Sanderson and
25· ·handed to you what's been marked as Exhibit 15.· It's   25· ·Steve Kohles, the CFO.
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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·an e-mail from you to Mr. Fenkell.· Subject line is     ·2· · · · · · · · You're copied on the e-mail.· If you
·3· ·Chris Cronk.                                            ·3· ·look at the first page, the second to the top is an
·4· · · · · · · · Do you see that?                           ·4· ·e-mail on the -- I'm looking at the actual first page
·5· · · · · ·A.· ·Yes.                                       ·5· ·of the exhibit itself.· There's an e-mail from Mr.
·6· · · · · ·Q.· ·Who is Mr. Cronk?                          ·6· ·Wanko to Mr. Belica and you, copying Mr. Fenkell,
·7· · · · · ·A.· ·Mr. Cronk is the head of the student       ·7· ·talking about a Thursday morning meeting at Squire
·8· ·loan investment banking group at Bank of America,       ·8· ·Sanders.
·9· ·sort of my counterpart when I was at Citigroup.         ·9· · · · · ·A.· ·If it's important, you need to point --
10· · · · · ·Q.· ·And there's a -- the e-mail discusses      10· · · · · ·Q.· ·Sure.· I'm looking at the actual first
11· ·Mr. Cronk coming in earlier in the week and that        11· ·page of the exhibit.
12· ·there's a possibility for lunch.                        12· · · · · ·A.· ·Okay.· Yes.
13· · · · · · · · Do you see that?                           13· · · · · ·Q.· ·Mr. Wanko says, "Also, Paul -- since
14· · · · · ·A.· ·Yes.                                       14· ·David and I are going to be in NYC, do you think you
15· · · · · ·Q.· ·Did a lunch take place with Mr. Fenkell    15· ·could try to set up a meeting or two with some of the
16· ·and Mr. Cronk?                                          16· ·financing services you mentioned (Deutsche Bank,
17· · · · · ·A.· ·I don't believe so.· I don't recall        17· ·Credit Suisse and UBS)?
18· ·there being a follow-up to this e-mail.· I don't have   18· · · · · · · · Do you see that?
19· ·a recollection of them meeting.                         19· · · · · ·A.· ·Yes.
20· · · · · ·Q.· ·But you tried to make the introduction?    20· · · · · ·Q.· ·Do you recall trying to set up a meeting
21· · · · · ·A.· ·Right -- oh, hold on.· I do remember       21· ·with those financing source?
22· ·joining Mr. Fenkell at Bank of America's building.      22· · · · · ·A.· ·Well, in particular, Deutsche Bank --
23· ·We saw the new Lehman CEO in the hallway, which         23· ·that's John Hupalo -- which later became successful.
24· ·tripped my memory about it.                             24· ·We met Mr. Hupalo at Deutsche Bank on Wall Street,
25· · · · · · · · So we had a meeting at their building,     25· ·and that developed into a financing source for


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·Northstar to purchase, I think, Panhandle and           ·2· ·Jamie Wolfe and Mark Lindgren, are they also
·3· ·refinance some financing for Northstar, if I recall     ·3· ·Northstar people?
·4· ·correctly.                                              ·4· · · · · ·A.· ·Jamie Wolfe is the one that I identified
·5· · · · · ·Q.· ·You can put this one down.                 ·5· ·this morning as my initial contact into Northstar
·6· · · · · · · · Are you familiar with the entity RBC       ·6· ·that led to this transaction.· He was the CFO.
·7· ·Capital Markets?                                        ·7· · · · · ·Q.· ·Okay.· And then Taige Thornton and Mark
·8· · · · · ·A.· ·Yes.                                       ·8· ·Lindgren are also from Northstar?
·9· · · · · ·Q.· ·Did you do any work for Alliance related   ·9· · · · · ·A.· ·Mark was the legal general counsel.
10· ·to RBC Capital Markets?                                 10· ·Taige was the CEO.· And the three of them and others,
11· · · · · ·A.· ·I don't have a crisp recollection of       11· ·as I recall, owned the servicing enterprise that was
12· ·this, but I believe that we thought to approach our     12· ·purchased by Alliance.
13· ·RBC as a financing source similar to the Deutsche       13· · · · · ·Q.· ·Your e-mail discusses a meeting at
14· ·Bank.· However RBC was also a very prominent student    14· ·Squire Sanders office followed by a dinner at Mr.
15· ·loan investment banking group and had issued letters    15· ·Sefcovic's favorite restaurant.
16· ·of credit and at the time had numerous difficulties     16· · · · · · · · Do you see that?
17· ·in the student loan space because of the client that    17· · · · · ·A.· ·Yes.
18· ·they had helped during the financial crisis.· RBC had   18· · · · · ·Q.· ·Did you help coordinate the logistics
19· ·a -- still does -- has a broad footprint in the         19· ·regarding the meeting?
20· ·student loan space, but I believe the thought was       20· · · · · · · · MR. JOHANSON:· ·Objection as to form.
21· ·that they might be a financing source.                  21· · · · · ·A.· ·I don't have a crisp recollection. I
22· · · · · ·Q.· ·Do you know what became of any of those    22· ·would have been the one probably -- telling probably
23· ·sort of initial discussions?                            23· ·Jamie where we're going to meet.· But no, I don't
24· · · · · ·A.· ·I don't have a crisp recollection.· We     24· ·have a crisp recollection of setting this up.
25· ·at Student Loan Capital Strategies all knew the         25· · · · · ·Q.· ·Do you know who paid for the meeting?
                                                  Page 82                                                      Page 84
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·players at RBC very well.· There could have been a      ·2· · · · · ·A.· ·When you say "meeting," the actual
·3· ·number of calls made from any one of us to a number     ·3· ·office?
·4· ·of them.· I don't have a crisp recollection of that     ·4· · · · · ·Q.· ·Well, the e-mail indicates that there's
·5· ·happening.                                              ·5· ·going to be sandwiches and brownies served, and then
·6· · · · · ·Q.· ·Okay.                                      ·6· ·there's going to be a dinner at a restaurant in the
·7· · · · · · · · (Exhibit 17 so marked                      ·7· ·evening.· Do you know who paid for those meals?
·8· · · · · · · · for identification.)                       ·8· · · · · ·A.· ·Well, I feel certain that the lunch,
·9· · · · · ·Q.· ·What's been marked as Exhibit 17 is an     ·9· ·which I believe was held at Squires Sanders &
10· ·e-mail from you dated February 25, 2010 to Taige        10· ·Phoenix, which would have been paid by Squire
11· ·Thornton, Jamie Wolfe and Mark Lindgren, with CC's to   11· ·Sanders, perhaps reimbursed.· I don't know.
12· ·Mr. Fenkell and Mr. Sefcovic.· The subject line is      12· · · · · ·Q.· ·Okay.
13· ·"Logistics."                                            13· · · · · ·A.· ·As to dinner, I may have hosted it.· Mr.
14· · · · · · · · Do you recognize the document?             14· ·Sefcovic may have hosted it.· Mr. Fenkell may have
15· · · · · ·A.· ·Vaguely.                                   15· ·hosted it.· I don't recall.
16· · · · · ·Q.· ·What is it, to the best of your            16· · · · · · · · My guess, if you're interested in a
17· ·recollection?                                           17· ·guess, is that Mr. Fenkell paid for it.
18· · · · · ·A.· ·I believe there were two meetings in       18· · · · · ·Q.· ·That's okay.· You don't need to guess.
19· ·Phoenix with similar entertainment.· I believe the      19· ·Just what you know.
20· ·first one occurred as we were trying to make a deal     20· · · · · ·A.· ·Okay.
21· ·with Northstar.· And then I believe the second one      21· · · · · ·Q.· ·What role did you play at the meeting at
22· ·was around the closing of the transaction weeks, if     22· ·Squire Sanders' office?
23· ·not months later.· I think this was the first one.      23· · · · · ·A.· ·Normal role of an advisor trying to
24· · · · · ·Q.· ·You had identified I believe before        24· ·develop a transaction.
25· ·Taige Thornton as being someone from Northstar. Is      25· · · · · · · · Again, I believe this was the meeting


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·where we were developing the transaction as opposed     ·2· · · · · ·Q.· ·If Mr. Fenkell's e-mail, the initial
·3· ·to closing the transaction.· And if I'm correct with    ·3· ·e-mail, he indicates that -- he says "It is our
·4· ·that assumption, then I would have been -- Patrick      ·4· ·thinking that the invitation to this dinner would not
·5· ·Belica would have been there, too, I'm fairly           ·5· ·come from us.· The concern is that Chris Chapman may
·6· ·certain.· I don't see his name here of, but I would     ·6· ·be uncomfortable meeting with us in this setting if
·7· ·be surprised if he wasn't at this meeting.              ·7· ·the invitation is from us."
·8· · · · · ·Q.· ·Mr. Sefcovic is copied on the e-mail.      ·8· · · · · · · · Did you understand the nature of the
·9· ·On whose behalf was Mr. Sefcovic attending the          ·9· ·sensitivity issue that Mr. Fenkell raised?
10· ·meeting?                                                10· · · · · ·A.· ·Let me just see who's saying what here.
11· · · · · ·A.· ·Squire Sanders.                            11· · · · · ·Q.· ·It's at the end of the e-mail chain.
12· · · · · ·Q.· ·Did Ms. Sefcovic play any role in          12· · · · · ·A.· ·I don't have a crisp recollection of the
13· ·arranging the meeting or the dinner or golf?            13· ·sensitivities that Chris may have had.· I could
14· · · · · ·A.· ·Who?                                       14· ·speculate, but won't speculate.
15· · · · · ·Q.· ·Lianne Sefcovic.                           15· · · · · ·Q.· ·That's okay.
16· · · · · ·A.· ·No, not that I'm aware of.                 16· · · · · · · · In your e-mail responding to Mr. Fenkell
17· · · · · · · · (Exhibit 18 so marked                      17· ·about the possibility of a cocktail property, you
18· · · · · · · · for identification.)                       18· ·indicate -- you say "Wonderful idea.· SLCS could
19· · · · · ·Q.· ·Mr. Sheldon, the court reporter has        19· ·pretty easily be the host for this dinner."
20· ·handed you what's been marked as Exhibit 18.· It's --   20· · · · · · · · Do you recall if there was a dinner that
21· ·let me know when you're done.                           21· ·was held after the EFC conference?
22· · · · · ·A.· ·Okay.                                      22· · · · · ·A.· ·There was.· And the reason that this was
23· · · · · ·Q.· ·These are a series of e-mails.· The        23· ·very easy for us to do was that we would very often
24· ·first is dated January 14, 2011 from Mr. Fenkell to     24· ·have a dinner such as this.· Clients of ours and
25· ·you, to Mark Weadick, John --                           25· ·long-time friends -- just looking at this list, it's
                                                  Page 86                                                      Page 88
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·Hupalo.                                    ·2· ·a list of people that I had known and had similar
·3· · · · · ·Q.· ·-- Hupalo and Mr. Sefcovic, with a CC to   ·3· ·dinners with for 10, 15 years.· So I believe what I
·4· ·Mr. Wanko, followed by a response e-mail from you on    ·4· ·was conveying, hey, no problem, we do this all the
·5· ·the same date to Mr. Fenkell and the rest of parties    ·5· ·time.· And we can create that sort of comfortable
·6· ·listed in the initial e-mail.                           ·6· ·environment.
·7· · · · · · · · Do you recognize these e-mails?            ·7· · · · · ·Q.· ·Mr. Fenkell writes out an invitee list,
·8· · · · · ·A.· ·Vaguely, yes.                              ·8· ·if you see.· Was that -- was that generally the
·9· · · · · ·Q.· ·In the first e-mail from Mr. Fenkell he    ·9· ·people who attended the dinner that was held?
10· ·makes reference to an EFC conference?                   10· · · · · ·A.· ·I don't think the dinner was all that
11· · · · · ·A.· ·Yes.                                       11· ·successful in terms of getting many people there. I
12· · · · · ·Q.· ·What is EFC conference?                    12· ·believe that Pat Beard and her colleague, Adam
13· · · · · ·A.· ·So, as I mentioned earlier, there are a    13· ·Gonzalez, who were clients of ours, were there.· I'm
14· ·couple of different entities that sponsor these         14· ·not sure.· Mr. Stipich may have been there.
15· ·conferences.· Education Finance Council is an           15· · · · · ·Q.· ·Did Mr. Sefcovic play any role in
16· ·association which has as its member base the            16· ·organizing the dinner?
17· ·not-for-profit segment of our business.                 17· · · · · · · · MR. JOHANSON:· ·Objection as to form.
18· · · · · · · · Listed here are prominent CEO's of         18· · · · · ·A.· ·I don't have a recollection of that.
19· ·various not-for-profits, some of whom we talked about   19· ·Not to say he didn't, but I don't have a recollection
20· ·already earlier this morning.· They have an annual      20· ·that he did.
21· ·meeting.· I think this was the annual meeting in        21· · · · · ·Q.· ·What about Lianne Sefcovic?· Did she
22· ·Seattle.                                                22· ·have any role in organizing the dinner?
23· · · · · · · · VIDEOGRAPHER:· ·Counsel, four minutes      23· · · · · ·A.· ·No, I --
24· ·left on tape.                                           24· · · · · · · · MR. JOHANSON:· ·Same objection.
25· · · · · · · · MR. GOLUMBIC:· ·Okay.                      25· · · · · ·A.· ·No, I don't think so.


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·What about SLMRS, did they play any role   ·2· · · · · · · · Have you had a chance to look at Exhibit
·3· ·in organizing the dinner?                               ·3· ·20?
·4· · · · · ·A.· ·I had no recollection -- I had no          ·4· · · · · ·A.· ·No.
·5· ·knowledge of SLMRS, and I would say no.· It doesn't     ·5· · · · · ·Q.· ·Why don't you look at it and let me know
·6· ·make sense to me.                                       ·6· ·when you're ready.
·7· · · · · ·Q.· ·What about SLAMS, did they have any role   ·7· · · · · ·A.· ·Okay.
·8· ·in organizing the dinner?                               ·8· · · · · ·Q.· ·Exhibit 20 is a series of e-mails.· Just
·9· · · · · ·A.· ·Same answer.                               ·9· ·go to the furthest one.· It's an e-mail from Mr.
10· · · · · · · · MR. JOHANSON:· ·Same objection to this     10· ·Sefcovic dated September 28, 2011, copying Richard
11· ·line of questions.                                      11· ·George, yourself, Mr. Belica and Mr. Wanko, with CC's
12· · · · · · · · VIDEOGRAPHER:· ·We're about to run out.    12· ·to Vincent Cimino, Mark Weadick and Taige Thornton.
13· · · · · · · · MR. GOLUMBIC:· ·We can stop.               13· · · · · · · · Do you see that?
14· · · · · · · · VIDEOGRAPHER:· ·The time now is 12:13      14· · · · · ·A.· ·Yes.
15· ·p.m.· This marks the end of tape number 2.              15· · · · · ·Q.· ·And the subject is "Firestone Vans."
16· · · · · · · · Going off the record.                      16· · · · · · · · Do you recognize the e-mail?
17· · · · · · · · (Discussion held off the record.)          17· · · · · ·A.· ·Yes.· It does rekindle my recollection
18· · · · · · · · (Recess.)                                  18· ·of the Firestone outing, and I do recognize not the
19· · · · · · · · (Exhibits 19 and 20 were so marked         19· ·e-mails themselves, but the subject matter.
20· · · · · · · · for identification.)                       20· · · · · ·Q.· ·The e-mail is from Mr. Sefcovic to the
21· · · · · · · · VIDEOGRAPHER:· ·The time now is 1:06       21· ·names -- who is Richard George?
22· ·p.m. This marks the beginning of tape number 3.         22· · · · · ·A.· ·He's the CEO of Great Lakes, a student
23· · · · · · · · We're back on the record.                  23· ·loans guarantor and servicer.
24· · · · · ·Q.· ·Mr. Sheldon, the court reporter has        24· · · · · ·Q.· ·And Taige Thornton I think you've
25· ·handed to you what's been marked as Exhibits 19 and     25· ·mentioned him before.· He's with Northstar; is that
                                                  Page 90                                                      Page 92
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·20.                                                     ·2· ·right?
·3· · · · · · · · Have you had a chance to review those?     ·3· · · · · ·A.· ·He was the CEO of Northstar, and that
·4· · · · · ·A.· ·I have.                                    ·4· ·company was acquired by Alliance.
·5· · · · · ·Q.· ·Let's start with Exhibit 19.· It's a       ·5· · · · · ·Q.· ·Right.· So this was an outing at
·6· ·series of e-mails with an attachment.                   ·6· ·Firestone Country Club in Akron?
·7· · · · · · · · Do you recognize -- well, you're not       ·7· · · · · ·A.· ·Yes.
·8· ·listed on these e-mails, correct?                       ·8· · · · · ·Q.· ·And the people copied on these e-mails,
·9· · · · · ·A.· ·Correct.                                   ·9· ·and this e-mail from September 28, 2011, were those
10· · · · · ·Q.· ·The e-mails concern a golf outing at       10· ·the attendees of the outing?
11· ·Firestone?                                              11· · · · · ·A.· ·Mr. George, yes, myself.· I don't have a
12· · · · · · · · MR. JOHANSON:· ·I do object.               12· ·crisp recollection of Mr. Wanko being there.· Mr.
13· · · · · · · · He says he's not copied on it.· He         13· ·Cimino, Mr. Weadick, my partner, Mr. Thornton I do
14· ·doesn't have any recollection of it.· And I object to   14· ·recall being there.
15· ·your description of it.· Foundation, form.              15· · · · · ·Q.· ·Okay.· Who paid for the event, the event
16· · · · · ·Q.· ·The e-mails refer to an event at           16· ·at Firestone?
17· ·Firestone.· Do you know what that involved, Firestone   17· · · · · ·A.· ·I read it quickly, but I believe that
18· ·Country Club?                                           18· ·this was an event where we all paid our own way,
19· · · · · ·A.· ·I don't know what that involved, no. I     19· ·so-called Dutch treat.· I thought I saw that
20· ·don't recall there being an outing.· Mr. Sefcovic       20· ·somewhere, but that's my recollection of how this
21· ·entertained me and other people at Firestone many       21· ·went.· There might have been some charges that were
22· ·times over the years, but I don't have a recollection   22· ·not conducive to that, that either Mr. Sefcovic paid
23· ·of one directed to this group.· You could rekindle my   23· ·or someone else.· I don't know.· But I think that by
24· ·recollection, but I don't recall it, no.                24· ·and large we all paid our own way.
25· · · · · ·Q.· ·Okay.· Let's go to Exhibit 20 then.        25· · · · · ·Q.· ·Did Lianne Sefcovic attend this event?


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·No.                                        ·2· · · · · ·A.· ·Yes.· This was a run-of-the-mill EFC
·3· · · · · ·Q.· ·Did anyone from SLMRS attend this event?   ·3· ·conference in the winter of this year where all of
·4· · · · · ·A.· ·I don't know that firm.                    ·4· ·these people would normally be there.· Mr. Sampson is
·5· · · · · ·Q.· ·What about SLAMS, did anyone attend from   ·5· ·the executive director of the entity putting on the
·6· ·SLAMS?                                                  ·6· ·meeting, and we were all attending in the normal
·7· · · · · ·A.· ·Same answer.                               ·7· ·course of our business.
·8· · · · · · · · (Exhibit 21 so marked                      ·8· · · · · ·Q.· ·Okay.· Who paid for the golf?
·9· · · · · · · · for identification.)                       ·9· · · · · ·A.· ·I believe I paid for the -- or I know I
10· · · · · ·A.· ·Okay.                                      10· ·paid for the golf for Chris Cronk and Vince Sampson.
11· · · · · ·Q.· ·Mr. Sheldon, the court reporter has        11· ·As I say, I don't remember Mr. Wanko being there, so
12· ·handed to you what's been marked as Exhibit 21.· It's   12· ·I can't speak to him.· Mr. Cimino is a member who
13· ·two e-mails, the first from Mr. Fenkell to Mr.          13· ·would have paid for himself.· And I believe Mr.
14· ·Sefcovic dated February 27, 2012.                       14· ·Weadick and Mr. Belica would have reimbursed me.
15· · · · · · · · The second e-mail from Mr. Sefcovic on     15· · · · · ·Q.· ·Who paid for the dinner following golf?
16· ·the same date, back to Mr. Fenkell with the subject     16· · · · · ·A.· ·The dinner was at Mr. Sefcovic's house
17· ·line reading "Scottsdale."                              17· ·and as such, I assume that he paid for it.
18· · · · · · · · The discussion in the e-mails is           18· · · · · ·Q.· ·Mr. Sheldon, I'm going to go back to
19· ·regarding a dinner following an EFC conference.         19· ·Exhibit 7, which is a previously marked exhibit.· If
20· ·Do you recall a dinner around that time frame --        20· ·you don't mind I'll see if I can find it for you.
21· · · · · ·A.· ·Yes.                                       21· · · · · · · · Here you go.
22· · · · · ·Q.· ·-- in Scottsdale?                          22· · · · · · · · (Handing.)
23· · · · · ·A.· ·Yes.                                       23· · · · · · · · If I can direct your attention to the
24· · · · · ·Q.· ·Mr. Sefcovic indicates that -- well, he    24· ·second page of the letter?· If you could, since it's
25· ·says, quote, "Sheldon and I are hosting several         25· ·been since this morning, can you read the second full
                                                  Page 94                                                      Page 96
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·student loan types for golf on Tuesday followed by      ·2· ·paragraph to yourself?
·3· ·dinner at my home."                                     ·3· · · · · ·A.· ·Beginning with "Alliance"?
·4· · · · · · · · Do you recall that golf event in           ·4· · · · · ·Q.· ·Correct.
·5· ·Scottsdale?                                             ·5· · · · · · · · MR. JOHANSON:· ·Where are you?
·6· · · · · ·A.· ·I do.                                      ·6· · · · · · · · MR. GOLUMBIC:· ·I'm on the page 2 of
·7· · · · · ·Q.· ·Mr. Sefcovic indicates that it's           ·7· ·Exhibit 7, the second full paragraph.
·8· ·yourself, Mr. Weadick and Mr. Belica from your firm,    ·8· · · · · · · · MR. JOHANSON:· ·Starting with "Once"?
·9· ·Chris Cronk from Bank of America and Vince Sampson,     ·9· · · · · · · · MR. GOLUMBIC:· ·Correct.
10· ·head of EFC, and Mr. Wanko and perhaps Mr. Cimino       10· · · · · · · · MR. JOHANSON:· ·Thanks.
11· ·from RBC Capital Markets.                               11· · · · · ·A.· ·Okay.
12· · · · · · · · Do you recall those individuals            12· · · · · ·Q.· ·Okay.· I'm going to read part of this
13· ·attending the golf outing?                              13· ·into the record.· So the paragraph reads, "Once
14· · · · · ·A.· ·I do.                                      14· ·Alliance entered into the Agreement, SLMRS" -- or
15· · · · · ·Q.· ·Did Mr. Cimino also attend?                15· ·SLMRS as we've been referring to it -- "immediately
16· · · · · ·A.· ·I believe that he did.· He's a member of   16· ·set about providing the student loan knowledge and
17· ·that course and I believe that he did, but I don't      17· ·expertise and education lacking at Alliance.· SLMRS
18· ·have a crisp recollection of him being there. I         18· ·also continued to introduce Alliance management to
19· ·remember him at dinner, but not...                      19· ·other student loan companies and trade organizations.
20· · · · · ·Q.· ·What was the purpose of this event in      20· ·These contacts include but are not limited to,
21· ·Scottsdale?                                             21· ·introductions to Panhandle Plains Management
22· · · · · ·A.· ·Are you speaking of the EFC conference     22· ·Servicing Corporation, U.S. Education Loan, Inc.,
23· ·or the golf or the dinner?                              23· ·Access Group, Inc., Student Loan Finance Corporation,
24· · · · · ·Q.· ·Following -- we'll start with the          24· ·NelNet, Inc., College Loan Corporation, Great Lakes
25· ·conference.· Did you attend the conference?             25· ·Higher Education Student Loan Corporation, the Brazos


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·Group, GCO and others.· In each case, there developed   ·2· ·these contacts was to procure financing for
·3· ·further discussions or negotiations regarding the       ·3· ·Alliance's student loan initiative and to use the
·4· ·interest of Alliance in purchasing the entities         ·4· ·bankers' contacts to provide for additional student
·5· ·themselves or purchasing portfolios of student loans    ·5· ·loan opportunities to Alliance."
·6· ·or residual interests in or servicing of such student   ·6· · · · · · · · Mr. Sheldon, what work did Lianne
·7· ·loans."                                                 ·7· ·Sefcovic perform for Alliance in connection with
·8· · · · · · · · Mr. Sheldon, what work did Lianne          ·8· ·Morgan Stanley, Citi, Key Bank, Deutsche Bank, RBC
·9· ·Sefcovic perform for Alliance concerning the            ·9· ·Capital Markets, Bank of America, Merrill Lynch or JP
10· ·Panhandle transaction?                                  10· ·Morgan?
11· · · · · · · · MR. JOHANSON:· ·Objection as to form and   11· · · · · · · · MR. JOHANSON:· ·Same objection as to
12· ·foundation.                                             12· ·form, foundation.· Asked and answered.
13· · · · · ·A.· ·I'm not aware of any.                      13· · · · · ·A.· ·I'm not aware of any.
14· · · · · ·Q.· ·What work did SLAMS or SLMRS perform for   14· · · · · ·Q.· ·What work did SLMRS perform for Alliance
15· ·Alliance related to the Panhandle transaction?          15· ·in connection with Morgan Stanley, Citi, Key Bank,
16· · · · · ·A.· ·I'm not aware any.                         16· ·Deutsche Bank, RBC Capital Markets, Bank of America
17· · · · · · · · MR. JOHANSON:· ·Excuse me.· Same           17· ·or JP Morgan?
18· ·objection.                                              18· · · · · · · · MR. JOHANSON:· ·Same objection as to
19· · · · · ·Q.· ·What work did Lianne Sefcovic perform      19· ·form, foundation.· Asked and answered.
20· ·for Alliance in connection with U.S. Education Loan,    20· · · · · ·A.· ·Same answer.· I'm not aware of any.
21· ·Access Group, Student Loan Finance Corporation,         21· · · · · ·Q.· ·What work did SLAMS perform for Alliance
22· ·NelNet, College Loan Corporation, Great Lakes Higher    22· ·in connection with Morgan Stanley, Citi, Key Bank,
23· ·Education Student Loan Corporation, the Brazos Group    23· ·Deutsche Bank, RBC Capital, Bank of America or JP
24· ·or GCO?                                                 24· ·Morgan?
25· · · · · · · · MR. JOHANSON:· ·Objection as to form,      25· · · · · · · · MR. JOHANSON:· ·Objection as to form,
                                                  Page 98                                                     Page 100
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·foundation.· Asked and answered.                        ·2· ·foundation.· Asked and answered.
·3· · · · · ·A.· ·I'm not aware of any.                      ·3· · · · · ·A.· ·I'm not aware of any.
·4· · · · · ·Q.· ·What work did SLMRS or SLAMS perform for   ·4· · · · · ·Q.· ·If you go to the next to the last
·5· ·Alliance related to Panhandle -- excuse me, with        ·5· ·paragraph on page 2 of the letter?
·6· ·respect to U.S. Education Loan, Access Group, Student   ·6· · · · · ·A.· ·Beginning "some of "?
·7· ·Loan Finance Corporation, NelNet, College Loan          ·7· · · · · ·Q.· ·Correct.· It reads, "Some of the student
·8· ·Corporation, Great Lakes Higher Education Student       ·8· ·loan contacts and introductions to Alliance were made
·9· ·Loan Corporation, the Brazos Group or GCO?              ·9· ·through golf outings and dinners hosted by SLMRS.
10· · · · · · · · MR. JOHANSON:· ·Objection as to form,      10· ·These golf outings and dinners were provided by SLMRS
11· ·foundation.· Also asked and answered.                   11· ·at no cost to Alliance and included active
12· · · · · ·A.· ·I'm not aware of any.                      12· ·participation by various members of the Alliance
13· · · · · ·Q.· ·Mr. Sheldon, can you look at the next      13· ·management team."
14· ·full paragraph beginning with "SLMRS also arranged      14· · · · · · · · Are you aware of Lianne Sefcovic
15· ·for meetings or telephone conferences"?                 15· ·providing work to Alliance related to student loan
16· · · · · · · · Let me know when you've read it.           16· ·contacts and introductions through golf outings and
17· · · · · ·A.· ·Okay.                                      17· ·dinners?
18· · · · · ·Q.· ·Okay.· This paragraph reads, "SLMRS also   18· · · · · · · · MR. JOHANSON:· ·Objection to form,
19· ·arranged meetings or telephone conferences for the      19· ·foundation.· Ask and answered multiple times.
20· ·purpose of introducing Alliance management to           20· · · · · ·A.· ·No.
21· ·investment bankers and bankers who were active in the   21· · · · · ·Q.· ·What about with respect to SLMRS?· Are
22· ·student loan industry.· These bankers include, but      22· ·you aware of them making student loan contacts and
23· ·are not limited to, Morgan Stanley, Citi, Key Bank,     23· ·introductions on behalf of Alliance through golf
24· ·Deutsche Bank, RBC Capital Markets, Bank of America,    24· ·outings and dinners?
25· ·Merrill Lynch, JP Morgan and others.· The purpose of    25· · · · · · · · MR. JOHANSON:· ·Objection as to form and


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·foundation.· Asked and answered several times.          ·2· ·questions on behalf of the Sefcovics, Paul and
·3· · · · · ·A.· ·No.                                        ·3· ·Lianne, as well as an entity called SLAMS.
·4· · · · · ·Q.· ·What about SLAMS, are you aware of SLAMS   ·4· · · · · ·A.· ·Okay.· And are you treating me as a
·5· ·providing student loan contacts and introductions to    ·5· ·third-party witness?
·6· ·Alliance through golf outings and dinners?              ·6· · · · · ·Q.· ·I'm not going to answer any more
·7· · · · · · · · MR. JOHANSON:· ·Objection as to form and   ·7· ·questions at this point.· Do you want me to come back
·8· ·foundation.· Asked and answered several times.          ·8· ·another day and do this?· Do you want me to send
·9· · · · · ·A.· ·No.                                        ·9· ·another subpoena?
10· · · · · · · · MR. GOLUMBIC:· ·I need to concur with      10· · · · · ·A.· ·Okay.· Well, it's unclear why you can't
11· ·Andrew.                                                 11· ·answer that, but go ahead.
12· · · · · · · · MR. JOHANSON:· ·Fine, take your time.      12· · · · · ·Q.· ·I'm not trying to be rude at all. I
13· · · · · · · · MR. GOLUMBIC:· ·Can we take five           13· ·just -- I've got some questions to ask you and I'd
14· ·minutes?                                                14· ·like to do so today.
15· · · · · · · · MR. JOHANSON:· ·Yes.· Take ten if you      15· · · · · ·A.· ·Okay.
16· ·want.                                                   16· · · · · ·Q.· ·May I proceed?
17· · · · · · · · MR. GOLUMBIC:· ·We'll take five minutes    17· · · · · ·A.· ·Sure.
18· ·and we'll be right back.                                18· · · · · ·Q.· ·Thank you.
19· · · · · · · · VIDEOGRAPHER:· ·1:28 p.m.                  19· · · · · · · · Do you have counsel today?
20· · · · · · · · Going off the record.                      20· · · · · ·A.· ·No.
21· · · · · · · · (Recess.)                                  21· · · · · ·Q.· ·Did you consult with counsel before you
22· · · · · · · · VIDEOGRAPHER:· ·The time now is 1:31       22· ·came here?
23· ·p.m.                                                    23· · · · · ·A.· ·No.
24· · · · · · · · We're back on the record.                  24· · · · · ·Q.· ·Are you being indemnified at all by
25· · · · · ·Q.· ·Mr. Sheldon, I have no further questions   25· ·Alliance Holdings in connection with this deposition?
                                                 Page 102                                                     Page 104
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·for you at this time.· Thank you.                       ·2· · · · · ·A.· ·No.
·3· · · · · ·A.· ·Okay.                                      ·3· · · · · ·Q.· ·Have you spoken to Alliance Holdings or
·4· · · · · · · · MR. JOHANSON:· ·We'll just get up and      ·4· ·any of its agents in advance of this deposition?
·5· ·rotate, if you don't mind.· I'd rather sit by him for   ·5· · · · · ·A.· ·Yes.
·6· ·a minute.                                               ·6· · · · · ·Q.· ·Who have you spoken with?
·7· · · · · · · · MR. GOLUMBIC:· ·Yes, that makes sense.     ·7· · · · · ·A.· ·I spoke to counsel for Alliance, but I
·8· · · · · · · · VIDEOGRAPHER:· ·The time now is 1:31       ·8· ·forget the firm's name.
·9· ·p.m., going off the record.                             ·9· · · · · ·Q.· ·Does Will Delaney ring a bell?
10· · · · · · · · (Recess.)                                  10· · · · · ·A.· ·No.
11· · · · · · · · VIDEOGRAPHER:· ·The time now is 1:34       11· · · · · ·Q.· ·Does Charles Jackson ring a bell?
12· ·p.m.                                                    12· · · · · ·A.· ·No.
13· · · · · · · · We're back on the record.                  13· · · · · ·Q.· ·When did you speak with them?
14· ·BY MR. JOHANSON:                                        14· · · · · ·A.· ·Months ago, three or four or five months
15· · · · · ·Q.· ·Good afternoon.                            15· ·ago.
16· · · · · ·A.· ·If I could ask a question first?· Are      16· · · · · ·Q.· ·Where did the meeting occur?
17· ·you asking these questions of me as a third-party       17· · · · · ·A.· ·In New York City.
18· ·witness?                                                18· · · · · ·Q.· ·Did they call you?
19· · · · · ·Q.· ·You can't ask questions, but I'm going     19· · · · · ·A.· ·Yes.
20· ·to answer that anyway.                                  20· · · · · ·Q.· ·And you don't remember the name of the
21· · · · · ·A.· ·Okay.                                      21· ·person who you spoke with?
22· · · · · ·Q.· ·Just to identify myself like I did         22· · · · · ·A.· ·I do not.
23· ·earlier.· I'm asking questions on behalf of the         23· · · · · ·Q.· ·Do you know what office they were from?
24· ·Fenkells, Mr. and Mrs. Fenkell, David Fenkell, Karen    24· · · · · ·A.· ·It's a Philadelphia law firm whose firm
25· ·Fenkell and DBF Consulting LLC.· And I'm also asking    25· ·I know well.· I just can't remember the name.

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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·So was it Ballard Spahr -- S-P-A-H-R, I    ·2· · · · · ·Q.· ·How long did the meeting last?
·3· ·think.                                                  ·3· · · · · ·A.· ·I'm going to say an hour.
·4· · · · · ·A.· ·I believe they served as general counsel   ·4· · · · · ·Q.· ·Did anybody record any of that?
·5· ·to Alliance, if that helps.                             ·5· · · · · ·A.· ·No.
·6· · · · · ·Q.· ·Does Ballard Spahr ring a bell at all?     ·6· · · · · ·Q.· ·Was there electronic recording at all?
·7· · · · · ·A.· ·Only because I know that firm very well,   ·7· · · · · ·A.· ·No.
·8· ·but I couldn't say for sure that that was it.           ·8· · · · · ·Q.· ·Did they take notes at the meeting?
·9· · · · · ·Q.· ·Was it -- looking at that exhibit, if      ·9· · · · · ·A.· ·I don't have a crisp recollection of
10· ·you could, the one that's got -- Exhibit 7, could you   10· ·them taking notes, but it would be normal that they
11· ·look at that for a minute?                              11· ·would.
12· · · · · ·A.· ·Yes.                                       12· · · · · ·Q.· ·Could you tell me just -- and I'll let
13· · · · · ·Q.· ·Is that person's name -- it's Henry E.     13· ·you go on as long as you like for this purpose.· Can
14· ·Hockeimer, I think.· Does that ring a bell?             14· ·you tell me what you talked about with them?
15· · · · · ·A.· ·No.                                        15· · · · · ·A.· ·I talked about similar things with them
16· · · · · ·Q.· ·Does the firm name Blank Rome,             16· ·that I spoke with this group this morning, what I did
17· ·B-L-A-N-K, R-O-M-E?                                     17· ·for Alliance.
18· · · · · ·A.· ·No.· I want to say that it begins with     18· · · · · ·Q.· ·By "this group," you mean Mr. Golumbic?
19· ·G.                                                      19· · · · · ·A.· ·Everyone around this table.
20· · · · · ·Q.· ·G?                                         20· · · · · ·Q.· ·Well, this morning Mr. Golumbic was the
21· · · · · ·A.· ·Yes.                                       21· ·only one questioning, correct?
22· · · · · ·Q.· ·So when did they call you the first        22· · · · · ·A.· ·Yes.
23· ·time?                                                   23· · · · · ·Q.· ·And so by that you mean the answers to
24· · · · · ·A.· ·This is a guess.· Six months ago.          24· ·his deposition questions that he asked you this
25· · · · · ·Q.· ·And you don't recall if it was Ballard     25· ·morning?
                                                 Page 106                                                     Page 108
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·Spahr or Blank Rome or some other firm?                 ·2· · · · · ·A.· ·The subject matter of that meeting was
·3· · · · · ·A.· ·I don't recall.· I know the Ballard firm   ·3· ·similar to the thrust of the questions being asked
·4· ·very well.· And I'm inclined to say it wasn't           ·4· ·this morning.
·5· ·Ballard, but it could have been.· It was a              ·5· · · · · ·Q.· ·Can you summarize that for me, just the
·6· ·Philadelphia firm.                                      ·6· ·topic areas, please?
·7· · · · · ·Q.· ·And you don't recall the name of the       ·7· · · · · ·A.· ·What did Student Loan Capital Strategies
·8· ·person?                                                 ·8· ·do for Alliance.
·9· · · · · ·A.· ·I do not.                                  ·9· · · · · ·Q.· ·What else?
10· · · · · ·Q.· ·Was this the first time they'd ever        10· · · · · ·A.· ·I believe that's what it was.
11· ·spoken with you?                                        11· · · · · ·Q.· ·What did you tell them?· ·That was the
12· · · · · ·A.· ·Yes.                                       12· ·only topic you covered, was what you did -- what your
13· · · · · ·Q.· ·And you didn't have any other meetings     13· ·entity did for Alliance?
14· ·with them?                                              14· · · · · ·A.· ·I don't have a crisp recollection of the
15· · · · · ·A.· ·No.                                        15· ·meeting, but I believe that the interplay of
16· · · · · ·Q.· ·Did you have any other meetings with       16· ·Alliance, Squire Sanders, what we did was the thrust
17· ·this counsel to Alliance Holdings other than the one    17· ·of what they were asking about.
18· ·that occurred six months ago.                           18· · · · · ·Q.· ·Do you remember what -- so the interplay
19· · · · · ·A.· ·No, I did not.                             19· ·of Alliance and Squire Sanders?
20· · · · · ·Q.· ·What did they say the purpose of the       20· · · · · ·A.· ·Yes.
21· ·meeting was?                                            21· · · · · ·Q.· ·Anything else?· Anything other than the
22· · · · · ·A.· ·My best recollection is that they were     22· ·interplay of Alliance and Squire Sanders?
23· ·serving as counsel to Alliance in connection with the   23· · · · · ·A.· ·No.· I don't recall.
24· ·matter that has developed into this, and asked me       24· · · · · ·Q.· ·And it lasted an hour, correct?
25· ·questions about the role that I played with Alliance.   25· · · · · ·A.· ·Correct.


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·Is there anything else you recall that     ·2· · · · · ·Q.· ·Anything else?
·3· ·you shared with them at that meeting other than what    ·3· · · · · ·A.· ·That's it.
·4· ·S -- is it SLCS?                                        ·4· · · · · ·Q.· ·How long did that take you?
·5· · · · · ·A.· ·Correct.                                   ·5· · · · · ·A.· ·Twenty minutes.
·6· · · · · ·Q.· ·-- did for Alliance, and the interplay     ·6· · · · · ·Q.· ·Did you speak with anybody else in
·7· ·of Alliance and Squire Sanders?                         ·7· ·preparation for today?
·8· · · · · ·A.· ·No.                                        ·8· · · · · ·A.· ·No.
·9· · · · · ·Q.· ·Were there any other details you           ·9· · · · · ·Q.· ·Have you worked -- let me go back one
10· ·remember about that day and the interview and what      10· ·second.· On the meeting with the counsel for Alliance
11· ·you shared with them?                                   11· ·that you described, what time frame did you share
12· · · · · ·A.· ·No.                                        12· ·information with them about, what period of time?
13· · · · · ·Q.· ·Did they make any kind of commitments to   13· · · · · ·A.· ·I don't have a crisp recollection of
14· ·you of any kind?                                        14· ·what period of time I spoke to them about.· I assume
15· · · · · ·A.· ·No.                                        15· ·it's the time frame that we're talking about here,
16· · · · · ·Q.· ·Did they say anything to you other than    16· ·but I don't recall a time frame.
17· ·ask you questions about what you've already testified   17· · · · · ·Q.· ·What period of time do you -- and when I
18· ·about here today?                                       18· ·say "you" here, I'll talk about either you, yourself,
19· · · · · ·A.· ·No.                                        19· ·or your entity SLCS, or anybody, you know, who you
20· · · · · ·Q.· ·Who all was present?· How many people      20· ·might be aware of at your entity who worked with
21· ·were present?                                           21· ·Alliance.· What period of time have you had a
22· · · · · ·A.· ·I believe there were three people          22· ·commercial relationship with Alliance?
23· ·present.                                                23· · · · · ·A.· ·I don't -- I wouldn't have known the
24· · · · · ·Q.· ·But you don't remember any of their        24· ·dates very well at all prior to this morning, but
25· ·names?                                                  25· ·approximately October of 2010 to the fall of 2012.
                                                 Page 110                                                     Page 112
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·I do not.                                  ·2· · · · · ·Q.· ·Did you do anything for -- and by "you,"
·3· · · · · ·Q.· ·Did you keep any notes?                    ·3· ·again, I use that broad definition, you, your
·4· · · · · ·A.· ·I did not.                                 ·4· ·colleagues at SLCS or your entity.· To your
·5· · · · · ·Q.· ·Did you get any e-mails in advance of      ·5· ·knowledge, did you do any work for Alliance after the
·6· ·that meeting?                                           ·6· ·fall of 2012?
·7· · · · · ·A.· ·I don't recall how they contacted me,      ·7· · · · · ·A.· ·Yes.
·8· ·but it's likely that I got an e-mail.· I don't          ·8· · · · · ·Q.· ·What did you do?
·9· ·recall.                                                 ·9· · · · · ·A.· ·In inverse chronological order, we are
10· · · · · ·Q.· ·How far in advance of the meeting did      10· ·working on a matter right now.· And --
11· ·they contact you?                                       11· · · · · ·Q.· ·Could you tell me about that matter
12· · · · · ·A.· ·I don't have any recollection.             12· ·before you go on?
13· · · · · ·Q.· ·Anything else you remember about that      13· · · · · ·A.· ·Okay.· There's a company by the name of
14· ·meeting?                                                14· ·GOAL, G-O-A-L, which asked Alliance to participate in
15· · · · · ·A.· ·It was held in a building at 42nd and      15· ·a particular transaction and we assessed -- put a
16· ·Sixth.                                                  16· ·valuation on that transaction.
17· · · · · ·Q.· ·Do you know whose offices?                 17· · · · · ·Q.· ·What was the purpose of assessing and
18· · · · · ·A.· ·I don't.                                   18· ·putting a valuation on that transaction?
19· · · · · ·Q.· ·So -- I don't want to duplicate, but I     19· · · · · ·A.· ·For Alliance to use and assess in their
20· ·just want to make sure I got the questions -- or the    20· ·interest in executing a transaction.
21· ·answers correct.· Did you prepare for your deposition   21· · · · · ·Q.· ·Does that assist Alliance in
22· ·today?                                                  22· ·establishing the purchase price?
23· · · · · ·A.· ·I reviewed my engagement agreements and    23· · · · · ·A.· ·Yes.
24· ·some internal schedules regarding the payment of our    24· · · · · ·Q.· ·Do you issue a fair market value and
25· ·fees.                                                   25· ·fairness opinion letter about it?


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·We would in a more formal arrangement.     ·2· ·I would say one.
·3· ·This was informal, given the early stage of the         ·3· · · · · ·Q.· ·How did that engagement come about?
·4· ·proposed transaction.                                   ·4· · · · · ·A.· ·John Kolla likely would have called us
·5· · · · · ·Q.· ·What did you get paid?· And again, by      ·5· ·up and told us about something that he's working on.
·6· ·"you," I'm talking about your entity and the            ·6· · · · · ·Q.· ·Would he have called you or would he
·7· ·individuals connected to your entity.· What did you     ·7· ·have called somebody else?
·8· ·get paid for that service?                              ·8· · · · · ·A.· ·He likely would have called me, but he
·9· · · · · ·A.· ·We haven't been paid yet.· We expect to    ·9· ·could call Mr. Belica.
10· ·be paid in the neighborhood of $5,000.                  10· · · · · ·Q.· ·I know it's an odd way to communicate,
11· · · · · ·Q.· ·Anything more than that?                   11· ·but let me finish before.· It's an unusual form of
12· · · · · ·A.· ·No.                                        12· ·communication we're doing here today.
13· · · · · ·Q.· ·Do you expect anything if the deal goes    13· · · · · · · · So I didn't hear that.· Could you tell
14· ·forward?· Do you get any other fees?                    14· ·me how that would have --
15· · · · · ·A.· ·As I understand it, the deal is dead.      15· · · · · ·A.· ·Maybe you could ask the question again.
16· ·If it went forward, we'd probably get a little bit      16· · · · · ·Q.· ·How would it have developed that
17· ·more, but it's a very minor transaction.                17· ·Alliance contracted with you or your firm to do this
18· · · · · ·Q.· ·Was that work related to just simply       18· ·additional work within the last few months?
19· ·acquiring that entity or any other services             19· · · · · ·A.· ·Okay.· There wouldn't have been a
20· ·contemplated?                                           20· ·contract.· If there was a contract, I would remember.
21· · · · · ·A.· ·Simply purchasing a piece of a proposed    21· ·John Kolla likely would have called us, "Paul,
22· ·new LLC.                                                22· ·something's come across my desk.· We may have a shot
23· · · · · ·Q.· ·And after that point, your -- and by       23· ·at some business here."· He might have said, "What do
24· ·"your," I mean again the definition we're using for     24· ·you think?"· Or we might have spoken informally about
25· ·"you" and "your" today -- your involvement would end?   25· ·it, but it would have been in the nature of a fishing

                                                 Page 114                                                     Page 116
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·Presumably, yes.                           ·2· ·expedition.· I'm relatively certain and can tell you
·3· · · · · ·Q.· ·So that's the most recent one, correct?    ·3· ·that there was not any concrete transaction that we
·4· · · · · ·A.· ·Yes.                                       ·4· ·would have signed an engagement for since around
·5· · · · · ·Q.· ·Could you work us back from there to the   ·5· ·2012.
·6· ·time -- to the fall of 2012?                            ·6· · · · · ·Q.· ·Do you know why that is?
·7· · · · · ·A.· ·I believe that we did something similar.   ·7· · · · · ·A.· ·The timing of what we did for Alliance
·8· ·And if you give me the rest of the day, I could         ·8· ·occurred in connection with the financial crisis, and
·9· ·probably remember it, but I can't -- it's not coming    ·9· ·so if you had money to spend to buy things, there
10· ·to me right at the moment.                              10· ·were plenty of people to sell things.· With the
11· · · · · ·Q.· ·Okay.· Just one something similar or       11· ·financial crisis being substantially over by 2012,
12· ·more than one something similar?                        12· ·that didn't exist.· And at the same time, there were
13· · · · · ·A.· ·Probably one.                              13· ·plenty of people coming into the business, hedge
14· · · · · · · · If you'd like to give me a minute,         14· ·funds and the like, doing the same thing as Alliance.
15· ·I'll --                                                 15· · · · · ·Q.· ·Was there any reach out from your group,
16· · · · · ·Q.· ·Yes.· I'm not in a hurry.· I didn't mean   16· ·you or your group or SLCS to Alliance after the fall
17· ·to rush you.· Take your time.                           17· ·of 2012?
18· · · · · ·A.· ·It's not coming to me.· I have a vague     18· · · · · ·A.· ·I don't have a crisp recollection of
19· ·recollection that we did something.· I'm certain we     19· ·that, but there would have been some reach out.· By I
20· ·didn't get paid for it.· But I think we discussed a     20· ·the time Mr. Fenkell left, it disrupted the normal
21· ·transaction that didn't go anywhere, and I would need   21· ·sort of conversation chain.· I imagine that we would
22· ·to jog my memory to bring any more up.                  22· ·have talked to Mr. Wanko.· "What's the latest?"· He
23· · · · · ·Q.· ·Do you recall at all if there's more       23· ·would have said to us -- I believe that Mr. Wanko may
24· ·than one of those things that might have occurred?      24· ·have called and said, "Don't forget we're still in
25· · · · · ·A.· ·If I was -- if I had to utter a number,    25· ·this business and we want to see deals if anything


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·comes across your desk," that sort of thing.            ·2· · · · · ·Q.· ·And I'm using your -- I don't know your
·3· · · · · ·Q.· ·When would you mostly have received that   ·3· ·business the way you do.· So I'm just using your
·4· ·type of a communication from Mr. Wanko?                 ·4· ·terms.
·5· · · · · ·A.· ·Quite some time ago, twelve months ago.    ·5· · · · · ·A.· ·It varies from client to client.
·6· ·It's a guess.                                           ·6· · · · · ·Q.· ·Could you give me a couple of examples,
·7· · · · · ·Q.· ·Okay.· Did anybody else from Alliance      ·7· ·please?· And I don't need the client names.· I just
·8· ·reach out to you during that period of time?            ·8· ·want to know the types of services --
·9· · · · · ·A.· ·I don't recall anybody, no.                ·9· · · · · ·A.· ·For a major bank we stand ready to step
10· · · · · ·Q.· ·Other than Mr. Kolla and Mr. Wanko?        10· ·into the administrative role for $28,000 per quarter.
11· · · · · ·A.· ·Correct.                                   11· · · · · ·Q.· ·Did you say 28?
12· · · · · ·Q.· ·What's your specific role at SLCS?         12· · · · · ·A.· ·$28,000 per quarter.
13· · · · · ·A.· ·I formed the firm.· I'm the managing       13· · · · · ·Q.· ·Thanks.· I'm getting older.· I'm having
14· ·director.                                               14· ·a hard time hearing.
15· · · · · ·Q.· ·What does that mean, to be a managing      15· · · · · ·A.· ·Me, too.
16· ·director?                                               16· · · · · ·Q.· ·Sorry about that.
17· · · · · ·A.· ·It's a title commonly used on Wall         17· · · · · · · · 28 per quarter.· Okay.· And any other
18· ·Street.· It means -- it connotes a senior position.     18· ·services where you stand ready to do something that
19· ·I'm an owner of the firm with my other three            19· ·you get paid for?
20· ·partners.                                               20· · · · · ·A.· ·Not currently, no.
21· · · · · ·Q.· ·Are you all equal shareholders or          21· · · · · ·Q.· ·Do you have services that you pitch
22· ·members?                                                22· ·where you stand ready and you do get paid for that?
23· · · · · ·A.· ·We are.                                    23· · · · · ·A.· ·No.
24· · · · · ·Q.· ·You said you had eight -- was it eight     24· · · · · ·Q.· ·What other services do you -- do you do
25· ·employees?                                              25· ·other than the ones you've mentioned so far?
                                                 Page 118                                                     Page 120
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·There are four partners and four           ·2· · · · · ·A.· ·I believe that covers it.
·3· ·employees or consultants.                               ·3· · · · · ·Q.· ·So that's the universe?
·4· · · · · ·Q.· ·What are the tasks that the four           ·4· · · · · ·A.· ·Yes.
·5· ·partners typically handle?                              ·5· · · · · ·Q.· ·So the post closing -- a lot of your --
·6· · · · · ·A.· ·Originating transactions, originating      ·6· ·sorry.· Let me back up.
·7· ·assignments for financial advisory.· In the case of     ·7· · · · · · · · A lot of your services relate to
·8· ·Mr. Belica, analyzing the substance of a proposed       ·8· ·closing -- originating and closing transactions,
·9· ·transaction.                                            ·9· ·correct?
10· · · · · ·Q.· ·Is that the sum total?                     10· · · · · ·A.· ·Correct.
11· · · · · ·A.· ·There are management responsibilities.     11· · · · · ·Q.· ·And advisory services related thereto?
12· ·We have ongoing services that are managed.              12· · · · · ·A.· ·Correct.
13· · · · · ·Q.· ·What are those services?                   13· · · · · ·Q.· ·And then of the post-closing services,
14· · · · · ·A.· ·We serve as backup administrator for       14· ·you do for major banks stand ready to serve as an
15· ·various asset-backed securities transactions.           15· ·administrator for asset-backed securities, correct?
16· · · · · ·Q.· ·What are the nature of those services?     16· · · · · ·A.· ·Correct.
17· · · · · ·A.· ·We stand ready to service -- to            17· · · · · ·Q.· ·And you get paid for that?
18· ·administer a bond issue in the event that the           18· · · · · ·A.· ·Yes.
19· ·administrative agent is no longer prepared to do        19· · · · · ·Q.· ·And nothing else you can recall that you
20· ·that.                                                   20· ·do on a post-closing basis?
21· · · · · ·Q.· ·Do you get paid for standing ready?        21· · · · · ·A.· ·Correct.
22· · · · · ·A.· ·Yes.                                       22· · · · · ·Q.· ·Okay.· Who would you consider as your
23· · · · · ·Q.· ·How much do you get paid for standing      23· ·competitors?
24· ·ready?                                                  24· · · · · ·A.· ·Our competitors would be advisory firms.
25· · · · · ·A.· ·It varies.                                 25· ·I said this morning that First Southwest is a

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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·financial advisory firm in Dallas which competes with   ·2· ·properties, correct?
·3· ·us.                                                     ·3· · · · · ·A.· ·Correct.
·4· · · · · ·Q.· ·Do you know of any others?                 ·4· · · · · ·Q.· ·Using your definition.
·5· · · · · ·A.· ·There's a firm in Albany, First Albany,    ·5· · · · · · · · Do you consider the introductions you
·6· ·I believe is still the name.                            ·6· ·make -- do you consider that you're the only one who
·7· · · · · ·Q.· ·Is that in New York?                       ·7· ·could make introductions to companies like Alliance?
·8· · · · · ·A.· ·Sorry.· Those people went to a small       ·8· · · · · ·A.· ·No.
·9· ·firm and they have an advisory assignment in            ·9· · · · · ·Q.· ·I know this may be difficult to answer,
10· ·Massachusetts.                                          10· ·but I'll ask it anyway.
11· · · · · ·Q.· ·Do you consider investment bankers to be   11· · · · · · · · During the period of time when you
12· ·competitors sometimes for the type of work you do?      12· ·started -- when did you start working with Alliance?
13· · · · · ·A.· ·No.                                        13· · · · · ·A.· ·I believe in the spring of 2010.
14· · · · · ·Q.· ·So there aren't any investment bankers     14· · · · · ·Q.· ·From that point until the fall of 2012,
15· ·who originate deals and get paid to close deals in      15· ·can you make an estimate of how much Alliance paid
16· ·your area of expertise?                                 16· ·you for your services, the pre-transaction and
17· · · · · ·A.· ·We are advisors.· The investment banks     17· ·transaction services?
18· ·are principals in underwriting transactions.            18· · · · · ·A.· ·Approximately $575,000.
19· · · · · ·Q.· ·Do the investment banks sometimes do       19· · · · · ·Q.· ·Did they pay you for any
20· ·some -- conduct some of the services that you           20· ·post-transaction services?
21· ·provide?                                                21· · · · · ·A.· ·The number I just gave you is the sum
22· · · · · ·A.· ·For many of our clients which are          22· ·total of what they paid us to date.· I don't -- I
23· ·municipal entities, we're a registered -- we're         23· ·can't recall something that might be characterized as
24· ·registered with the SEC and the MSRB.                   24· ·a post-transaction engagement.
25· · · · · ·Q.· ·Are you a registered investment advisor?   25· · · · · ·Q.· ·Okay.· You can't think of anything, any
                                                 Page 122                                                     Page 124
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·No.· We're a registered municipal          ·2· ·service you might have provided?
·3· ·advisor.· Investment banks cannot give advice to        ·3· · · · · ·A.· ·Post transaction?
·4· ·municipal entities and underwrite their securities.     ·4· · · · · ·Q.· ·Correct.
·5· ·And so as to municipal entities, the investment banks   ·5· · · · · ·A.· ·Nothing is occurring to me, no.
·6· ·are not our competition.                                ·6· · · · · ·Q.· ·Okay.· Thanks.
·7· · · · · · · · As to other entities, the investment       ·7· · · · · · · · What are your specific duties with --
·8· ·banks tend to not be in it for the advice, as opposed   ·8· ·focusing now just on the Alliance relationship as
·9· ·to the underwriting and the like.                       ·9· ·you've testified about, what are your specific duties
10· · · · · ·Q.· ·Are they ever in it for the fee to         10· ·in that relationship?
11· ·originate a deal and close a deal?                      11· · · · · ·A.· ·Are you talking about currently or
12· · · · · ·A.· ·They're always in it for a fee to          12· ·during the time frame that we're talking about?
13· ·originate, let's say, an underwriting, perhaps an M&A   13· · · · · ·Q.· ·Let's first consider spring of 2010
14· ·transaction.· In the M&A space we do directly compete   14· ·through the fall of 2012.
15· ·with investment banks.                                  15· · · · · ·A.· ·What is my personal?
16· · · · · ·Q.· ·What do you consider to be the M&A         16· · · · · ·Q.· ·Yes.· What did you do personally?
17· ·space?                                                  17· · · · · ·A.· ·Interface with Mr. Fenkell, Mr. Wanko,
18· · · · · ·A.· ·Where a client is either buying or         18· ·identifying goals of Alliance, targets for
19· ·selling a property.                                     19· ·acquisition, conversation with respect to particular
20· · · · · ·Q.· ·A property or a business?                  20· ·transactions, formulating the terms of a potential
21· · · · · ·A.· ·Could be either.                           21· ·engagement agreement, managing the process of
22· · · · · ·Q.· ·Or both?                                   22· ·creating a valuation for a target into transactions
23· · · · · ·A.· ·We would refer to a business as a          23· ·which closed, facilitating the execution and
24· ·property.                                               24· ·successfully closing it.
25· · · · · ·Q.· ·And you assisted Alliance in buying some   25· · · · · ·Q.· ·Anything else?

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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·I believe that's covers the substance of   ·2· ·the Alliance team.· There would be follow-up
·3· ·my role in the Alliance relationship.                   ·3· ·telephone calls about how Mr. Belica ran the cash
·4· · · · · ·Q.· ·Did you assist at all with the terms of    ·4· ·flows.· There would be conversation about how should
·5· ·the deals of the purchasing of the properties?          ·5· ·we stretch cash flows, and then Mr. Belica would redo
·6· · · · · ·A.· ·Yes.· That's what I mentioned in helping   ·6· ·the cash flows, given various stresses that we want
·7· ·execute the transaction.                                ·7· ·to put on the transaction.
·8· · · · · ·Q.· ·Okay.· I didn't understand that.           ·8· · · · · ·Q.· ·Other than that, Mr. Belica, yourself
·9· ·Thanks.                                                 ·9· ·and Mr. Weadick --
10· · · · · · · · Who else at your company had involvement   10· · · · · ·A.· ·Yes.
11· ·in the Alliance deals?                                  11· · · · · ·Q.· ·You've described everything the three of
12· · · · · ·A.· ·Mr. Weadick, my partner, and Mr. Belica,   12· ·you do, correct, with respect to the Alliance
13· ·my partner.                                             13· ·relationship?
14· · · · · ·Q.· ·Could you contrast what they did           14· · · · · ·A.· ·I believe so, yes.
15· ·relative to what you did for a moment?                  15· · · · · ·Q.· ·Now, you've got four other folks there?
16· · · · · ·A.· ·Mr. Weadick did things similar to me.      16· · · · · ·A.· ·Yes.
17· ·You could list those functions that I mentioned for     17· · · · · ·Q.· ·What have those folks done for Alliance
18· ·my own role as the same for Mr. Weadick.                18· ·during the relevant time period?
19· · · · · · · · Mr. Belica is different.· He has a very    19· · · · · ·A.· ·I can't think of a time that those
20· ·specialized knowledge of analyzing cash flows.· He is   20· ·people were involved on the Alliance matter.
21· ·the head of our analytics, if you will, and his role    21· · · · · ·Q.· ·Okay.· Those people, those four, what
22· ·would be to receive data about a transaction and make   22· ·other types of services do they provide for your
23· ·a prediction about the cash flows of that transaction   23· ·organization and for your clients, the clients of
24· ·to assist in helping come up to a valuation.            24· ·your organization?
25· · · · · ·Q.· ·Would you consider that to be due          25· · · · · ·A.· ·Two are involved in the back-up
                                                 Page 126                                                     Page 128
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·diligence that you assist Alliance with in preparing    ·2· ·servicing arrangements that we already discussed.
·3· ·to execute on a deal?                                   ·3· · · · · ·Q.· ·Is that with the big banks, the large
·4· · · · · ·A.· ·No.· That's not due diligence.· It's       ·4· ·banks?
·5· ·fundamental analysis of valuation.                      ·5· · · · · ·A.· ·Various types of clients.· I gave you an
·6· · · · · ·Q.· ·Okay.· Does that go into the fundamental   ·6· ·example as a big bank.· There are other clients which
·7· ·terms of the deal then?                                 ·7· ·are not big banks.· And two do rudimentary work in
·8· · · · · ·A.· ·The fundamental terms of the deal would    ·8· ·preparation for Mr. Belica to do his work.
·9· ·be more in my bailiwick.· Patrick would -- given the    ·9· · · · · ·Q.· ·Anything else?
10· ·fundamental terms of the deal, Patrick would -- Mr.     10· · · · · ·A.· ·No.
11· ·Belica would assess the cash flows that are likely to   11· · · · · ·Q.· ·That backup, other than the one --
12· ·develop given the portfolio of student loans, and       12· ·because we went into that one where you stood ready
13· ·would develop a cash flow stream that could then be     13· ·to do the backup servicing, correct?· Remember that
14· ·discounted.· We would jointly -- Mr. Belica and Mr.     14· ·testimony?
15· ·Weadick and myself would jointly come to an             15· · · · · ·A.· ·Yes.
16· ·appropriate discount rate, for example, to discount     16· · · · · ·Q.· ·What other types of backup servicing
17· ·the cash flows at.· We might -- Mr. Belica would also   17· ·agreements do those folks work on other than the
18· ·have an impact in assessing how a rating agency might   18· ·standing ready?
19· ·assess the transaction in order to predict the terms    19· · · · · ·A.· ·We -- when you do a bond issue, you have
20· ·that Alliance might, or whoever, might get when it      20· ·to prepare statistical information about that bond
21· ·came time to financing, let's say, a pool of loans.     21· ·issue for reporting to the rating agencies, and we do
22· · · · · ·Q.· ·So then how was that information           22· ·that work for several clients.
23· ·typically used by Alliance after Mr. Belica             23· · · · · ·Q.· ·Do you know how many?
24· ·accomplishes this analysis?                             24· · · · · ·A.· ·In total, I believe it's six clients.
25· · · · · ·A.· ·All of that analysis would be sent to      25· · · · · ·Q.· ·Did you ever do any of that work for


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·Alliance?                                               ·2· ·definition.· How does one go about doing that?
·3· · · · · ·A.· ·I don't believe so, no.                    ·3· · · · · ·A.· ·There's probably a number of ways to go
·4· · · · · ·Q.· ·What types of entities do you work with,   ·4· ·about doing that, looking up a list of, let's say,
·5· ·just summarizing -- again, to the extent -- I'm         ·5· ·issuers and going to meet them.
·6· ·trying not to duplicate.· I may duplicate a little      ·6· · · · · ·Q.· ·What other ways?
·7· ·bit, so bear with me.                                   ·7· · · · · ·A.· ·Attend conferences where they might be
·8· · · · · · · · So what types of entities do you           ·8· ·present.
·9· ·generally -- you and your team generally provide        ·9· · · · · ·Q.· ·What conferences typically are held in
10· ·services to?                                            10· ·this industry?
11· · · · · ·A.· ·The not-for-profit sector.· I would be     11· · · · · ·A.· ·There are several.· Education Finance
12· ·glad to describe what that is.                          12· ·Council, NCHER, Asset-Backed Securities conference.
13· · · · · · · · We have some clients involved in the       13· ·There's a student loan conference.· There's probably
14· ·insuring of bond issue, bond insurance companies.       14· ·a student loan conference held ten times per year.
15· · · · · · · · We have advised a number of for-profit     15· ·You can pretty much meet everybody you want to meet
16· ·student loan participants.                              16· ·by attending those ten conferences.
17· · · · · · · · We have 71 clients.· I'm trying to think   17· · · · · ·Q.· ·Is it a close universe of people?
18· ·of the names of those clients as I do this.             18· · · · · ·A.· ·Yes.
19· · · · · ·Q.· ·That's fine.· Thanks.                      19· · · · · ·Q.· ·How many people do you estimate?
20· · · · · · · · Anything else you want to add there?       20· · · · · ·A.· ·In the entire industry?
21· · · · · ·A.· ·No.                                        21· · · · · ·Q.· ·Yes.
22· · · · · ·Q.· ·What is -- you testified this morning      22· · · · · ·A.· ·Are you talking about executive level
23· ·about a student loan entity.· What is the definition    23· ·or?
24· ·of a student loan entity, you being the expert?         24· · · · · ·Q.· ·No.· The ones that go to these
25· · · · · ·A.· ·A student loan entity is an entity that    25· ·conferences.
                                                 Page 130                                                     Page 132
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·participates in the student loan industry.              ·2· · · · · ·A.· ·Okay.· 250.
·3· · · · · ·Q.· ·What is the student loan industry again?   ·3· · · · · ·Q.· ·Do you see the same folks at each
·4· ·What does that comprise of in a short nutshell?         ·4· ·conference?
·5· · · · · ·A.· ·The making of student loans to students.   ·5· · · · · ·A.· ·Pretty much.
·6· · · · · ·Q.· ·How many of those entities exist?· ·I      ·6· · · · · ·Q.· ·Have you seen -- you testified you know
·7· ·mean, you might not know exact, but...                  ·7· ·Mr. Sefcovic, correct?
·8· · · · · ·A.· ·Some that are in that industry make the    ·8· · · · · ·A.· ·Yes.
·9· ·loans.                                                  ·9· · · · · ·Q.· ·And you know of Lianne Sefcovic,
10· · · · · ·Q.· ·Yes.                                       10· ·correct?
11· · · · · ·A.· ·Some insure bonds that finance those       11· · · · · ·A.· ·Yes.
12· ·loans.· There's lots of different prongs for the        12· · · · · ·Q.· ·Have you seen them at these conferences?
13· ·industry.                                               13· · · · · ·A.· ·Yes.
14· · · · · ·Q.· ·Yup.                                       14· · · · · ·Q.· ·Have you seen presentations that Mr.
15· · · · · ·A.· ·There might be 200.                        15· ·Sefcovic has made, or have you witnessed
16· · · · · ·Q.· ·Okay.· Thanks.                             16· ·presentations he's made at these conferences?
17· · · · · · · · How do you go about -- I think you         17· · · · · ·A.· ·Yes.
18· ·testified that you said you got involved in this        18· · · · · ·Q.· ·And you said -- I think you've described
19· ·industry in the early '80s; is that correct?            19· ·him as being your attorney, you know, a couple of
20· · · · · ·A.· ·Yes.                                       20· ·times during your testimony.
21· · · · · ·Q.· ·1981?                                      21· · · · · ·A.· ·Many times -- oh.· I referred to him as
22· · · · · ·A.· ·Yes.                                       22· ·my counsel a couple times this morning in connection
23· · · · · ·Q.· ·How does one go about meeting people in    23· ·with many transactions.
24· ·the industry?· Now we'll call it the student loan       24· · · · · ·Q.· ·Did you come to hire him or did he
25· ·industry.· When I say "industry," I'm using your        25· ·approach you?· How did that work out the first time?


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·I believe that we were working for an      ·2· ·Sefcovic about the work product he gave you during
·3· ·Ohio based company and that Ohio based company          ·3· ·that time period?
·4· ·suggested that Squire Sanders be our counsel.           ·4· · · · · ·A.· ·No.
·5· · · · · ·Q.· ·Was there then a referral from that Ohio   ·5· · · · · ·Q.· ·So you talked about attending
·6· ·based company specifically to Mr. Sefcovic?             ·6· ·conferences, right?· To develop these contacts within
·7· · · · · ·A.· ·Yes.                                       ·7· ·your industry, correct?
·8· · · · · ·Q.· ·And do you recall anything about the       ·8· · · · · ·A.· ·Yes.
·9· ·first time you met Mr. Sefcovic?                        ·9· · · · · ·Q.· ·And did you --
10· · · · · ·A.· ·No.                                        10· · · · · ·A.· ·Well, if I could --
11· · · · · ·Q.· ·Do you remember when it was,               11· · · · · ·Q.· ·Yes, sure.
12· ·approximately?                                          12· · · · · ·A.· ·-- respond to that?
13· · · · · ·A.· ·It would have been in the early '90s.      13· · · · · ·Q.· ·I'm not trying to misstate what you
14· ·Let's call it 1993 or so.                               14· ·said.
15· · · · · ·Q.· ·Did he and his firm provide opinion        15· · · · · ·A.· ·Your question was how do you meet
16· ·letters to you or your clients?                         16· ·people?
17· · · · · ·A.· ·Opinion letters to my firm, Citigroup.     17· · · · · · · · My response was, well, you could call
18· · · · · ·Q.· ·Okay.· And to other entities that you      18· ·them up.· You could go meet them at their office or
19· ·worked at, Smith Barney?                                19· ·you could attend a conference where their presence is
20· · · · · ·A.· ·Same entity.· Smith Barney morphed into    20· ·available to you.
21· ·Citigroup.                                              21· · · · · ·Q.· ·Is that pretty standard fair in your
22· · · · · ·Q.· ·Okay.                                      22· ·industry?
23· · · · · ·A.· ·But underwriters' counsel would give       23· · · · · ·A.· ·If you're new to the industry, that's
24· ·opinion on various matters to the company that hired    24· ·what you would do to try to get yourself into the
25· ·them.                                                   25· ·industry.
                                                 Page 134                                                     Page 136
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·Did you review Mr. Sefcovic's work in      ·2· · · · · · · · The reason I'm carrying this
·3· ·that respect when he issued those opinion letters?      ·3· ·distinction, I've been in the industry since 1981,
·4· · · · · ·A.· ·We would typically have internal counsel   ·4· ·and you meet people by transacting with them.· It's a
·5· ·that would review the opinion.· I wouldn't typically    ·5· ·little bit of a different slant on --
·6· ·have overseen the subject matter of his opinions.       ·6· · · · · ·Q.· ·No problem.
·7· ·It's extremely -- the expertise is high, and I never    ·7· · · · · ·A.· ·-- something you were getting into.
·8· ·have held myself out as a securities lawyer or a        ·8· · · · · ·Q.· ·Would you associate yourself with
·9· ·lawyer of any kind.                                     ·9· ·someone within the industry who was recognized as an
10· · · · · ·Q.· ·Did you find Mr. Sefcovic to have the      10· ·expert?
11· ·necessary expertise to issue those types of opinion     11· · · · · ·A.· ·Please repeat that.
12· ·letters?                                                12· · · · · ·Q.· ·Would you associate yourself with
13· · · · · ·A.· ·Very much so, yes.                         13· ·someone within the industry who's recognized as an
14· · · · · ·Q.· ·And you worked with him how long, or do    14· ·expert, if you were trying to develop business in
15· ·you still work with him?                                15· ·that area?
16· · · · · ·A.· ·Many years.· We haven't worked together    16· · · · · ·A.· ·Sure.· You may.
17· ·for some time, but in rough numbers, 1993 to            17· · · · · ·Q.· ·Did you do that at one point?
18· ·2005-ish.                                               18· · · · · ·A.· ·No.· I don't think so.
19· · · · · ·Q.· ·How many deals would you have worked on?   19· · · · · ·Q.· ·Did you associate with people like Mr.
20· · · · · ·A.· ·Numerous.                                  20· ·Sefcovic who did the technical legal work on
21· · · · · ·Q.· ·What size transactions did you work on     21· ·transactions?
22· ·with him?                                               22· · · · · ·A.· ·I wouldn't say I associated with him.
23· · · · · ·A.· ·They might range from $100 million to a    23· ·He served as counsel to Citigroup in numerous ways,
24· ·billion dollars or more.                                24· ·but I wouldn't call it an association.
25· · · · · ·Q.· ·Did you ever express any concern to Mr.    25· · · · · ·Q.· ·I don't mean to say you were partners or


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·anything.· I'm just saying is it useful in your         ·2· ·issues.
·3· ·industry to have different forms of legal and other     ·3· · · · · · · · Is that responsive to your question?
·4· ·expertise that you associate yourself with?             ·4· · · · · ·Q.· ·Is that similar to or the same as a
·5· · · · · ·A.· ·Very much useful.· Mr. Sefcovic referred   ·5· ·student loan securitization --
·6· ·I would say -- I wouldn't say numerous, but certainly   ·6· · · · · ·A.· ·Yes.
·7· ·more than one situations that panned out into fine      ·7· · · · · ·Q.· ·-- for a student loan entity?
·8· ·transactions for me.· And when I say "me," I really     ·8· · · · · ·A.· ·Yes.
·9· ·mean by firm.                                           ·9· · · · · ·Q.· ·Using your definitions of the term
10· · · · · ·Q.· ·In terms of meeting people and really      10· ·"student loan entity."
11· ·getting yourself involved in your industry and          11· · · · · · · · Where did you typically -- where were
12· ·developing business, do you attend functions as well,   12· ·the clients located where you typically did that work
13· ·other than conferences?                                 13· ·in connection with Mr. Sefcovic?
14· · · · · ·A.· ·I can't think of any, but if you could     14· · · · · ·A.· ·Ohio, Texas, Maine.
15· ·make that more pointed, it might --                     15· · · · · ·Q.· ·And were those multiple transactions in
16· · · · · ·Q.· ·So, for example, could you host a          16· ·all of those locations?
17· ·dinner, for example?                                    17· · · · · ·A.· ·Yes.
18· · · · · ·A.· ·Sure.                                      18· · · · · ·Q.· ·Was Mr. Sefcovic your counsel of choice
19· · · · · ·Q.· ·Could you host a golf outing?              19· ·for those transactions?
20· · · · · ·A.· ·Yes.                                       20· · · · · ·A.· ·I think you mean as opposed to being
21· · · · · ·Q.· ·And other types of entertainment           21· ·forced on us by a client or something like that.
22· ·functions that might bring people who are interested    22· · · · · ·Q.· ·I'm not even going that far.· I'm just
23· ·in doing a deal with you to the table?                  23· ·saying would you typically use him or did you use a
24· · · · · ·A.· ·Yes.                                       24· ·bunch of other people?
25· · · · · ·Q.· ·You were engaged in -- you have been       25· · · · · ·A.· ·We used other firms as well, but Mr.
                                                 Page 138                                                     Page 140
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·engaged in those activities since 1981, correct?        ·2· ·Sefcovic did a lot of work for our firm.
·3· · · · · ·A.· ·Correct.                                   ·3· · · · · ·Q.· ·Did he do more work for your firm than
·4· · · · · ·Q.· ·So did you say -- I want to make sure I    ·4· ·other attorneys?
·5· ·understood this.· Citigroup morphed -- I'm sorry, I     ·5· · · · · ·A.· ·I believe so, yes.
·6· ·don't remember the way it changes.· But Citigroup       ·6· · · · · ·Q.· ·Did you introduce or refer Mr. Sefcovic
·7· ·morphed into Smith Barney or --                         ·7· ·to your other colleagues in your industry or clients
·8· · · · · ·A.· ·The other way around.                      ·8· ·of yours?
·9· · · · · ·Q.· ·The other way around.                      ·9· · · · · ·A.· ·I believe due to his prominence, the
10· · · · · ·A.· ·Smith Barney Harris Upham morphed into     10· ·whole industry knew him.· It's likely that my
11· ·Citigroup.                                              11· ·colleagues and I at Citigroup referred him to others.
12· · · · · ·Q.· ·Okay.· Would you consider Mr. Sefcovic a   12· ·And as you mentioned that, yes, my firm after leaving
13· ·business acquaintance?                                  13· ·Citigroup referred Mr. Sefcovic to an entity.
14· · · · · ·A.· ·Yes.                                       14· · · · · ·Q.· ·One entity or multiple ones?
15· · · · · ·Q.· ·Were you one of his clients at some        15· · · · · ·A.· ·Like your hearing, mine doesn't work
16· ·point?                                                  16· ·like it used to be.· But one in particular in
17· · · · · ·A.· ·My firm was.                               17· ·Arizona, we referred Mr. Sefcovic to a bond insurance
18· · · · · ·Q.· ·Do you consider him a friend?              18· ·company that was our client.· So I would say on
19· · · · · ·A.· ·Yes.                                       19· ·numerous occasions or certainly more than two over a
20· · · · · ·Q.· ·Did you have an occasion to use Mr.        20· ·fifteen-year period, we either referred Mr. Sefcovic
21· ·Sefcovic's services for student loan securitizations    21· ·or said nice things about him to third-party clients.
22· ·for student loan entities that you talked about         22· · · · · ·Q.· ·Did Mr. Sefcovic make introductions of
23· ·earlier?                                                23· ·you and your firm and the folks in your group to
24· · · · · ·A.· ·My firm used him as underwriters'          24· ·other student loan entities or potential business
25· ·counsel in connection with asset-backed securities      25· ·opportunities?


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·Alliance is certainly a prime example of   ·2· ·transactions that my firm at Citigroup executed.· And
·3· ·one, and I believe that there -- I could create a       ·3· ·I would say his fee was neighborhood of 100,000 to
·4· ·list of several referrals that he made that may or      ·4· ·$150,000, maybe approaching $200,000 on the larger
·5· ·may not have led to business.                           ·5· ·ones, maybe 150,000 times 15.
·6· · · · · ·Q.· ·Do you remember any of the names of        ·6· · · · · ·Q.· ·How about the other way around?· When
·7· ·those entities?· You don't have to, but I'm just        ·7· ·your entities -- when you were involved at Citigroup
·8· ·saying.                                                 ·8· ·or Citibank and Smith Barney, how much in the way of
·9· · · · · ·A.· ·None are coming immediately to mind.       ·9· ·revenues did your firm generate from those
10· · · · · ·Q.· ·But you were successful in landing some    10· ·transactions that occurred?
11· ·business as a result of including the Alliance          11· · · · · ·A.· ·As I testified to a minute ago, I can't
12· ·business as a result --                                 12· ·think of any crisp assignments that were introduced.
13· · · · · ·A.· ·Well, Alliance would be a prime example.   13· ·My gut instincts is that Mr. Sefcovic was important
14· ·I believe, in the sum total of my firm's relationship   14· ·in getting us some business.· I just can't remember
15· ·with Mr. Sefcovic, we probably referred more business   15· ·any particular.· I'm sure he's sitting thinking,
16· ·to him than him to us.· But he certainly had us in      16· ·"Paul, come on.· Don't you remember?"· But I'm sorry,
17· ·mind -- top of mind when he thought about introducing   17· ·I don't have a crisp recollection.
18· ·an investment banking firm or an advisor.               18· · · · · ·Q.· ·I'm not trying to push you there, but
19· · · · · ·Q.· ·Do you have any idea how much in the way   19· ·okay, so now let's say it's not as a result of his
20· ·of revenues your firm generated -- business and/or      20· ·introduction, but the two of you are working
21· ·revenues that your firm generated from the              21· ·together, you at Citigroup or Smith Barney and him at
22· ·relationship with Mr. Sefcovic?                         22· ·Squire and you're doing a deal and there's 15 of
23· · · · · ·A.· ·And when you say my firm, are we talking   23· ·those transactions.· What kind of level of revenues
24· ·about Student Loan Capital Strategies now or --         24· ·are generated in those types of transactions for a
25· · · · · ·Q.· ·Let's break it down.· So Student Loan      25· ·group like Citigroup?
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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·Capital Strategies first and then back it up, if we     ·2· · · · · ·A.· ·For the underwriter?
·3· ·could.                                                  ·3· · · · · ·Q.· ·Yes.
·4· · · · · ·A.· ·Okay.· For Student Loan Capital            ·4· · · · · ·A.· ·Order of magnitude, $15 million.
·5· ·Strategies, it's the Alliance matter.                   ·5· · · · · ·Q.· ·Per deal?
·6· · · · · ·Q.· ·Which is the roughly 5 --                  ·6· · · · · ·A.· ·No, no.· Total.
·7· · · · · ·A.· ·$575,000.                                  ·7· · · · · ·Q.· ·15 million?
·8· · · · · ·Q.· ·Any others you can think of there?         ·8· · · · · ·A.· ·I'm multiplying 15 transactions times a
·9· · · · · ·A.· ·None are coming to mind.                   ·9· ·million dollars, as extreme -- extremely rough, just
10· · · · · ·Q.· ·How about backing up now with the other    10· ·to answer your question.
11· ·entities that you were involved in, Citigroup, Smith    11· · · · · ·Q.· ·Do you make any money after the deal
12· ·Barney, et cetera?· Do you want to break that down      12· ·closes?
13· ·for the record?                                         13· · · · · ·A.· ·Many, many of those transactions, almost
14· · · · · ·A.· ·This would have occurred ten years ago     14· ·most of those transactions had a type of structure
15· ·and longer, and I just don't have any crisp examples    15· ·called auction rate securities where the firm would
16· ·that are coming immediately to mind.                    16· ·continue to act as broker-dealer.· I'll explain what
17· · · · · ·Q.· ·How about the revenues that were           17· ·that means if you care.· But there would be revenues
18· ·generated by the end result of the work that was        18· ·that would last indefinitely.
19· ·accomplished where Mr. Sefcovic was underwriters'       19· · · · · ·Q.· ·And that would be a revenue stream that
20· ·counsel?                                                20· ·would go to Citigroup or Smith Barney, for example --
21· · · · · ·A.· ·Do you mean regardless of who introduced   21· · · · · ·A.· ·Correct.
22· ·who to that business?                                   22· · · · · ·Q.· ·-- in connection with the underwriting.
23· · · · · ·Q.· ·Yes, that work.                            23· ·So there's a fee at the closing and then there's an
24· · · · · ·A.· ·Mr. Sefcovic probably served as            24· ·ongoing fee?
25· ·underwriters' counsel in connection with 15             25· · · · · ·A.· ·Correct.


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·Or revenue stream?                         ·2· ·Sefcovic and Mrs. Sefcovic were married, I may play
·3· · · · · ·A.· ·Correct.                                   ·3· ·golf with them once or twice or three times during
·4· · · · · ·Q.· ·Was that substantial?                      ·4· ·that week, if that's responsive to your question.
·5· · · · · ·A.· ·Very substantial.                          ·5· · · · · ·Q.· ·Over a six-week period of time?
·6· · · · · ·Q.· ·Can you estimate the kind of magnitude     ·6· · · · · ·A.· ·I would go out for a week.· We might
·7· ·that -- what does "very substantial" mean per deal?     ·7· ·play golf three times.· About a week, four weeks
·8· · · · · ·A.· ·Well, per deal per year it would           ·8· ·later we might play golf three times again.
·9· ·typically be around 25 basis points times the amount    ·9· · · · · ·Q.· ·Who else -- other than Mr. and Mrs.
10· ·of debt involved, one quarter of one percent.· But as   10· ·Sefcovic, who else would join you periodically for
11· ·you did numerous transactions and continued to get      11· ·those golf outings?
12· ·annual fees, it mounted up significantly.               12· · · · · ·A.· ·A name that came up this morning, Mr.
13· · · · · · · · VIDEOGRAPHER:· ·Five minutes left on       13· ·Cimino, also in our business, also a member of our
14· ·tape, counsel.                                          14· ·golf club, might join us.
15· · · · · · · · MR. JOHANSON:· ·Thanks.                    15· · · · · ·Q.· ·Is Mr. Cimino in the student loan
16· · · · · ·A.· ·It might be -- it might approach $50       16· ·business?
17· ·million.                                                17· · · · · ·A.· ·Yes.
18· · · · · ·Q.· ·Per deal?                                  18· · · · · ·Q.· ·Or student loan industry.
19· · · · · ·A.· ·No.· In total.                             19· · · · · · · · Does he work with a student loan entity
20· · · · · ·Q.· ·For 15 or for one?                         20· ·or is he on the financing side?
21· · · · · ·A.· ·For all 15.                                21· · · · · ·A.· ·He's very much like me.
22· · · · · ·Q.· ·Okay.                                      22· · · · · ·Q.· ·Did he work for you in the past?
23· · · · · ·A.· ·If your question is how much did you       23· · · · · ·A.· ·He did.
24· ·make in transactions where Mr. Sefcovic served as       24· · · · · ·Q.· ·When did that cease, that relationship?
25· ·your underwriters' counsel, the order of magnitude is   25· · · · · ·A.· ·2000 and -- 2002 maybe.· I don't have a
                                                 Page 146                                                     Page 148
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·$50 million.                                            ·2· ·crisp recollection on that.
·3· · · · · ·Q.· ·All told or one year?                      ·3· · · · · ·Q.· ·Do you remember when you met Mrs.
·4· · · · · ·A.· ·All told.                                  ·4· ·Sefcovic?
·5· · · · · ·Q.· ·Okay.· Who introduced you to Mrs.          ·5· · · · · ·A.· ·Date wise?
·6· ·Sefcovic, Mrs. Lianne Sefcovic?                         ·6· · · · · ·Q.· ·Yes.· Year wise.
·7· · · · · ·A.· ·I'm pretty sure it would have been Mr.     ·7· · · · · ·A.· ·No.· I don't.
·8· ·Sefcovic.                                               ·8· · · · · ·Q.· ·Did you -- you attended dinner meetings
·9· · · · · ·Q.· ·Did you have any -- and I'm not            ·9· ·at their home, correct?
10· ·saying -- this might sound strange, but what was your   10· · · · · ·A.· ·Yes.
11· ·relationship with Mrs. Sefcovic?                        11· · · · · ·Q.· ·You testified earlier?
12· · · · · ·A.· ·Mrs. Sefcovic?                             12· · · · · ·A.· ·Yes.
13· · · · · ·Q.· ·Yes.                                       13· · · · · ·Q.· ·Did other people in the student loan
14· · · · · ·A.· ·My wife and I had, I would say, numerous   14· ·industry attend those meetings?
15· ·dinners and the like with the Sefcovics.· And Mr.       15· · · · · ·A.· ·Sometimes they did.· Sometimes it would
16· ·Sefcovic and Mrs. Sefcovic and I often played golf.     16· ·be the four of us.
17· · · · · ·Q.· ·Did you -- have you been involved in any   17· · · · · ·Q.· ·"Four of us" being your wife, you, the
18· ·business transactions with Mrs. Sefcovic?               18· ·Sefcovics?
19· · · · · ·A.· ·No.                                        19· · · · · ·A.· ·Yes.· And I likely attended dinner at
20· · · · · ·Q.· ·Did you socialize with the Sefcovics?      20· ·the Sefcovics by myself as well, maybe after golf and
21· · · · · ·A.· ·Yes.                                       21· ·the like.
22· · · · · ·Q.· ·How often?                                 22· · · · · ·Q.· ·And with other people in the student
23· · · · · ·A.· ·Well, they live in Phoenix.· I spend a     23· ·loan industry?
24· ·week here and there, maybe a total of six weeks in      24· · · · · ·A.· ·Correct.
25· ·the year in Phoenix.· And over the years since Mr.      25· · · · · · · · VIDEOGRAPHER:· ·Down to about a minute,


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·counsel.                                                ·2· ·involving guaranteeing student loans and servicing
·3· · · · · · · · MR. JOHANSON:· ·Want to take a break and   ·3· ·student loans.
·4· ·change it?                                              ·4· · · · · ·Q.· ·Did Alliance do work with him or did --
·5· · · · · · · · VIDEOGRAPHER:· ·The time now is 2:35       ·5· · · · · ·A.· ·I believe that Alliance had them as a
·6· ·p.m.· This marks the end of tape number 3.              ·6· ·target in many ways, but there was a significant
·7· · · · · · · · Going off the record.                      ·7· ·relationship between Great Lakes and Northstar
·8· · · · · · · · (Recess.)                                  ·8· ·personnel like Taige Thornton, and so Mr. George was
·9· · · · · · · · VIDEOGRAPHER:· ·The time now is 2:45       ·9· ·an associate of Taige and also someone that I knew
10· ·p.m.· This marks the beginning of tape number 4.        10· ·of, done business with and played golf with on
11· · · · · · · · We're back on the record.                  11· ·numerous occasions over 10 to 15 years.
12· · · · · ·Q.· ·Mr. Sheldon, did you stay at the           12· · · · · ·Q.· ·You said that was a significant
13· ·Sefcovics' home in Arizona at any point?                13· ·relationship, I think you said, about Mr. George and
14· · · · · ·A.· ·I think I spent a night there, yes,        14· ·Great Lakes?
15· ·sometime ago, not the current home but the previous     15· · · · · ·A.· ·I believe so, yes.· I don't have a crisp
16· ·home.· I believe that my wife and I stayed there, but   16· ·understanding of the relationship, but I believe that
17· ·I don't have a crisp recollection of that.              17· ·perhaps Northstar personnel worked for Great Lakes
18· · · · · ·Q.· ·Did your wife stay at their home apart     18· ·over the course of their career.
19· ·from you ever?                                          19· · · · · ·Q.· ·And that could have generated
20· · · · · ·A.· ·I can't recall an instance, no.            20· ·substantial revenues for your firm, for Alliance or
21· · · · · ·Q.· ·And you mentioned a golf outing.· What     21· ·others, correct?
22· ·was it called?· The Firestone golf outing?              22· · · · · ·A.· ·Are we talking about Mr. George?
23· · · · · ·A.· ·Yes.                                       23· · · · · ·Q.· ·Mr. George and his company, Great Lakes.
24· · · · · ·Q.· ·There were student loan entities and/or    24· · · · · ·A.· ·Generally the future of -- there could
25· ·potential clients at that golf outing, correct?         25· ·have been, still could be significant business
                                                 Page 150                                                     Page 152
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·The Firestone outing, of which there       ·2· ·relations between our firm and Great Lakes, yes.
·3· ·were several over my relationship with Mr. Sefcovic,    ·3· · · · · ·Q.· ·Similar with Alliance Holdings and Great
·4· ·would have been a very controlled and small group,      ·4· ·Lakes?
·5· ·usually existing clients.· That's an expensive outing   ·5· · · · · ·A.· ·No, not similar with Alliance Holdings.
·6· ·and it's not something that you would do for just any   ·6· ·Other types of business.
·7· ·old person in the industry that you hope to do          ·7· · · · · ·Q.· ·What types of business?
·8· ·business with some day.· A few exceptions to that,      ·8· · · · · ·A.· ·Advising them in an acquisition or
·9· ·but...                                                  ·9· ·divestiture, not with the same sort of business plan
10· · · · · ·Q.· ·At this outing, did you discuss the        10· ·as Alliance.
11· ·student loan industry?                                  11· · · · · ·Q.· ·But Alliance -- is it fair to say that
12· · · · · ·A.· ·Of course.                                 12· ·Alliance would have an interest in generating a good
13· · · · · ·Q.· ·And different strategies for               13· ·relationship with Great Lakes, as well your entity?
14· ·accomplishing transactions?                             14· · · · · ·A.· ·Sure.
15· · · · · ·A.· ·Yes.                                       15· · · · · ·Q.· ·And that's for profit reasons and
16· · · · · ·Q.· ·Et cetera?                                 16· ·revenue reasons?
17· · · · · ·A.· ·Yes.                                       17· · · · · ·A.· ·Yes.
18· · · · · ·Q.· ·Anything else?· I'm talking about from a   18· · · · · ·Q.· ·And that type of a relationship was
19· ·business perspective.                                   19· ·fostered at places like the Firestone golf outings
20· · · · · ·A.· ·No.· In common would be the student loan   20· ·periodically?
21· ·industry, so that would be the subject of dinner and    21· · · · · ·A.· ·Among other venues, yes.
22· ·breakfast and tea time conversation.                    22· · · · · ·Q.· ·And dinners, meetings, conferences?
23· · · · · ·Q.· ·Who is Dick George from Great Lakes?       23· · · · · ·A.· ·All of that.
24· · · · · ·A.· ·Dick George is the CEO of a significant    24· · · · · ·Q.· ·And Mr.-- would you typically see Mr.
25· ·student loan enterprise, Madison Wisconsin, primarily   25· ·and Mrs. Sefcovic at these type of events?


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·Mrs. Sefcovic attended many events with    ·2· · · · · ·A.· ·I met Barbie once.· We held a seminar of
·3· ·Mr. Sefcovic, yes.                                      ·3· ·sorts to introduce Alliance and their people to
·4· · · · · ·Q.· ·And you know -- I'm not going to try to    ·4· ·student loans.· I think we called it Student Loans
·5· ·go over -- but you know Mr. Fenkell, correct?           ·5· ·101.
·6· · · · · ·A.· ·Yes.                                       ·6· · · · · ·Q.· ·Do you recall when that was?
·7· · · · · ·Q.· ·Briefly again, how did you get to know     ·7· · · · · ·A.· ·It was held at Mr. Sefcovic's office in
·8· ·him initially?                                          ·8· ·New York at Rockefeller Center.· It was early on in
·9· · · · · ·A.· ·I knew of him by talking to Mr. Sefcovic   ·9· ·the process, but it wasn't at the beginning of our
10· ·over the years because Mr. Sefcovic worked with him     10· ·relationship.· If you made me give you a date, I
11· ·in a space other than the student loan space and so     11· ·would say it was in the spring of 2011.
12· ·we didn't have reason to have a good knowledge of       12· · · · · ·Q.· ·And prior to that point were you aware
13· ·what Mr. Sefcovic and Mr. Fenkell did together.· But    13· ·of any knowledge that Mrs. Spear had about the
14· ·generally speaking, I knew Mr. Sefcovic to serve Mr.    14· ·student loan industry?
15· ·Fenkell as counsel, and my understanding was it was a   15· · · · · ·A.· ·No.· Mrs. Spear, as I recall, was in the
16· ·robust role serving Mr. Fenkell.                        16· ·human relations function and she came to that meeting
17· · · · · ·Q.· ·Do you know of any other attorneys at      17· ·for, I suppose, general information.
18· ·Squire Sanders who were involved in that role?          18· · · · · ·Q.· ·Did you work with her at all after that
19· · · · · ·A.· ·Outside of the student loan --             19· ·meeting?
20· · · · · ·Q.· ·Yes, yes.                                  20· · · · · ·A.· ·No.· I don't recall.· My sense is that
21· · · · · · · · Okay.· I'm sorry.                          21· ·Alliance was a very small firm, and she might have
22· · · · · ·A.· ·I believe --                               22· ·been helpful locating Mr. Fenkell or the like, but
23· · · · · ·Q.· ·I misunderstood your question.· So you     23· ·not in the substance of the business plan.
24· ·were focusing on Mr. Sefcovic and Mr. Fenkell's         24· · · · · ·Q.· ·Were you aware of any knowledge she had
25· ·relationship in the student loan industry?              25· ·about the student loan industry other than what you
                                                 Page 154                                                     Page 156
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·No.· I was getting to -- the substance     ·2· ·taught her on that one occasion?
·3· ·of your question is how did I get to know Mr.           ·3· · · · · ·A.· ·I wouldn't -- I have no sort of basis of
·4· ·Fenkell.                                                ·4· ·making a comment one way or the other there.
·5· · · · · ·Q.· ·Yes.                                       ·5· · · · · ·Q.· ·But you didn't interact with her on --
·6· · · · · ·A.· ·I had a vague understanding of him         ·6· · · · · ·A.· ·No.
·7· ·through Mr. Sefcovic because Mr. Sefcovic worked        ·7· · · · · ·Q.· ·-- the student loan industry?
·8· ·closely with Mr. Fenkell.                               ·8· · · · · ·A.· ·No.
·9· · · · · · · · There came a time after I left Citigroup   ·9· · · · · ·Q.· ·Correct?
10· ·and joined Student Loan Capital Strategies that Mr.     10· · · · · ·A.· ·Correct.
11· ·Sefcovic made formal introductions to Mr. Fenkell.      11· · · · · ·Q.· ·Do you know Mr. Wanko?
12· ·We may have even seen an e-mail on that subject.· And   12· · · · · ·A.· ·I do.
13· ·the thought of Student Loan Capital Strategies          13· · · · · ·Q.· ·Kenneth J. Wanko?
14· ·helping Mr. Fenkell with his business plan to make      14· · · · · ·A.· ·Yes, I do.
15· ·investments in the student loan industry became a       15· · · · · ·Q.· ·How do you know him?
16· ·major client for us.                                    16· · · · · ·A.· ·He was introduced to me as part of the
17· · · · · ·Q.· ·Do you recall the reputation of Alliance   17· ·working group at Alliance.· He worked for Alliance at
18· ·in the student loan industry at the time that you       18· ·the time.
19· ·first met Mr. Fenkell?                                  19· · · · · ·Q.· ·When you became familiar with Alliance,
20· · · · · ·A.· ·I don't think that they had any            20· ·were you aware of any reputation that Mr. Wanko would
21· ·reputation in the student loan industry.· The concept   21· ·have had for student loan business or expertise at
22· ·of getting in the student loan industry, as I           22· ·that time?
23· ·understand it was pretty fresh when I made the scene.   23· · · · · ·A.· ·No knowledge.
24· ·When I say "I," I mean our firm.                        24· · · · · ·Q.· ·No knowledge?
25· · · · · ·Q.· ·Do you know Barbie Spear?                  25· · · · · ·A.· ·I have no knowledge of his knowledge of


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·student loans.                                          ·2· ·partnership between Mr. Fenkell and Mr. Wanko.
·3· · · · · ·Q.· ·Did he attend that educational session     ·3· · · · · ·Q.· ·You had a number of opportunities to
·4· ·that you presented?                                     ·4· ·observe their interactions during that two-year
·5· · · · · ·A.· ·I believe he did.· I'm not certain he      ·5· ·period of time?
·6· ·did, but I believe he did.                              ·6· · · · · ·A.· ·Yes.
·7· · · · · ·Q.· ·Do you remember ever talking with him      ·7· · · · · ·Q.· ·You mentioned the -- I may go back on a
·8· ·about the student loan business?                        ·8· ·couple of these.· Bear with me.· I've got the
·9· · · · · ·A.· ·We had numerous telephone conversations    ·9· ·agreements, and I know that Mr. Golumbic had you go
10· ·about all these transactions.                           10· ·through some agreements.· So bear with me.· We may
11· · · · · ·Q.· ·About all which transactions?              11· ·talk about them and then come back to the actual
12· · · · · ·A.· ·Well, the transactions that were the       12· ·agreements.
13· ·subject of the engagement agreements that we went       13· · · · · ·A.· ·Okay.
14· ·through this morning.                                   14· · · · · ·Q.· ·Let's refer to the Northstar agreement
15· · · · · ·Q.· ·And what types of -- what types of         15· ·first.· Okay?
16· ·things were you aware of that Mr. Wanko did in          16· · · · · ·A.· ·When you say "the agreement"?
17· ·connection with the student loan business while you     17· · · · · ·Q.· ·Did you have an agreement -- your entity
18· ·were working with Alliance?                             18· ·have an agreement with --
19· · · · · ·A.· ·My best recollection is that Mr. Wanko     19· · · · · ·A.· ·The engagement agreement.
20· ·worked for Houlihan Lokey, an investment banking        20· · · · · ·Q.· ·Yes.
21· ·firm, and had -- and has an investment banking          21· · · · · ·A.· ·The engagement was between us and
22· ·background, and he was astute at pulling out "Well,     22· ·Alliance.
23· ·how did you come to this valuation?· And what about     23· · · · · ·Q.· ·Yes.
24· ·that?· Is this a risk?· Is that a risk?"· Et cetera.    24· · · · · ·A.· ·Yes.
25· · · · · ·Q.· ·Was it a specific expertise that he had    25· · · · · ·Q.· ·Correct.
                                                 Page 158                                                     Page 160
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·in valuations or in student loan entity valuations?     ·2· · · · · ·A.· ·And I think we read it this morning.
·3· · · · · ·A.· ·I would say a general expertise in         ·3· · · · · ·Q.· ·I'm just talking about using
·4· ·investment banking and how you get to a valuation       ·4· ·Northstar -- not that you had an agreement with
·5· ·which is sort of common to all.· Discounting cash       ·5· ·Northstar, but I'm referring to the Northstar deal
·6· ·flow and how that cash flow may vary as sort of the     ·6· ·and an agreement that your firm and you had with
·7· ·nucleus of valuation.                                   ·7· ·Alliance.
·8· · · · · ·Q.· ·How did you come to work -- how much       ·8· · · · · ·A.· ·A copy of it is right here.
·9· ·work did you do with Mr. Wanko, just approximately      ·9· · · · · · · · (Indicating.)
10· ·during that period of time, 2010 through the fall of    10· · · · · ·Q.· ·So I'm not going to refer to the
11· ·2012?                                                   11· ·agreement right now.· I'm just looking for your
12· · · · · ·A.· ·Well, my sense is that he was either       12· ·memory of it right now.· It's not a memory contest.
13· ·involved directly, for example, on a phone call or      13· ·I'm just looking for your information.
14· ·indirectly, for example, was briefed on the phone       14· · · · · ·A.· ·Yes.
15· ·call and was involved in the general thrust of the      15· · · · · ·Q.· ·Do you recall what the services that
16· ·business plan as a sort of full participant, is my      16· ·SLCS was going to provide in connection with the
17· ·recollection.                                           17· ·Northstar deal?
18· · · · · ·Q.· ·Did Mr. Fenkell ask you to work with Mr.   18· · · · · ·A.· ·Yes.· By the time the engagement
19· ·Wanko or did it come about some other way?              19· ·agreement was signed, we had already identified the
20· · · · · ·A.· ·Well, it was clearly through Mr. Fenkell   20· ·target and in broad brush helped Alliance think
21· ·that Mr. Wanko was involved.· There may be a fee        21· ·through the structure of the transaction.· I believe
22· ·discussion.· Mr. Fenkell would say, "Let me see what    22· ·that the engagement agreement was signed -- I mean,
23· ·Mr. Wanko would say about that?"· Sometimes Mr.         23· ·we can refer to it.· It says, you know, on it, but I
24· ·Fenkell would defer the fee conversation to Mr.         24· ·believe it says that a transaction has been
25· ·Wanko.· In general, I would call it a very strong       25· ·identified.· There may be a letter of intent, and the


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·engagement spelled out the fee that we would get both   ·2· ·transaction thinks it's going to be worth?· All of
·3· ·now and if it closed.                                   ·3· ·these things find their way into Mr. Belica's line of
·4· · · · · ·Q.· ·And so in addition to identifying the      ·4· ·work.
·5· ·target, working with Alliance on the structure, what    ·5· · · · · ·Q.· ·Sounds like a valuable employee --
·6· ·other things just off your memory did you do in         ·6· ·partner.
·7· ·connection with the -- by "you" again, I'm referring    ·7· · · · · ·A.· ·He is a key player, yes.
·8· ·to SLCS.                                                ·8· · · · · ·Q.· ·So we've got ID the targets, which you
·9· · · · · ·A.· ·The biggest value add for almost all       ·9· ·do through all the contacts and the experience and
10· ·these transactions is when Mr. Belica would obtain      10· ·the touches of people through conferences, functions,
11· ·the tape.                                               11· ·et cetera, that we talked about, correct?
12· · · · · · · · Do you remember what that means?           12· · · · · ·A.· ·Correct.
13· · · · · ·Q.· ·Sorry, I don't.                            13· · · · · ·Q.· ·And then you've got the structuring of a
14· · · · · ·A.· ·So an electronic transmission of all the   14· ·particular transaction?
15· ·details of each student loan in a particular thrust.    15· · · · · ·A.· ·Yes.
16· · · · · ·Q.· ·Okay.                                      16· · · · · ·Q.· ·Providing advice and counsel in that
17· · · · · ·A.· ·So the biggest value add of our firm to    17· ·respect.
18· ·this client, to most of our clients, is receiving       18· · · · · · · · And then the biggest portion of your
19· ·that information and using knowledge that we have --    19· ·services is that analytical side that Mr. Belica is
20· ·proprietary knowledge that we have with respect to      20· ·an expert in.
21· ·how student loans act over their life, calculate the    21· · · · · ·A.· ·I believe that's our biggest value add,
22· ·portfolio's characteristics over the next 20 years,     22· ·yes.
23· ·let's say, and from all that produce a net cash flow    23· · · · · ·Q.· ·Can you put a percentage of your
24· ·every year what that portfolio is likely to spin off,   24· ·services, what percentage of each one of those
25· ·and then discount that cash flow at a discount rate     25· ·batches is?
                                                 Page 162                                                     Page 164
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·which we feel is appropriate given the level of risk    ·2· · · · · ·A.· ·Percentage of our value add to a client?
·3· ·of that particular transaction.                         ·3· · · · · ·Q.· ·Or however you want to do it.
·4· · · · · · · · That's base case.                          ·4· ·Percentage of --
·5· · · · · ·Q.· ·Okay.                                      ·5· · · · · ·A.· ·I mean, there's time spent.
·6· · · · · ·A.· ·Going from base case, we help a client     ·6· · · · · ·Q.· ·Yes.
·7· ·like Alliance try to think through, well, what could    ·7· · · · · ·A.· ·And there's sort of value add.
·8· ·happen to that base case?· What risks could come to     ·8· · · · · ·Q.· ·So do it on time spent and then value
·9· ·that portfolio of student loans that would diminish     ·9· ·add, if you could.· I know you know what I'm saying.
10· ·the cash flow?· What good fortune could that            10· ·You're a smart man.
11· ·portfolio have happen to it that would enhance its      11· · · · · ·A.· ·I would say that if you added up the
12· ·cash flow?· If rating agencies ever get involved in     12· ·total hours that Mr. Weadick, Mr. Sheldon and Mr.
13· ·the situation, what are they likely to find as risks    13· ·Belica spent on a particular transaction, that Mr.
14· ·and how might their analysis affect the valuations      14· ·Belica's time, if he had a clock and he could start
15· ·that we're talking about here?                          15· ·it and stop it, would be 60 to 70 percent of the
16· · · · · · · · And so Mr. Belica would be the nucleus     16· ·hours worked.
17· ·of that.· I'm going to say that of the 71 clients       17· · · · · ·Q.· ·Great.
18· ·that our firm has had the privilege to help, Mr.        18· · · · · ·A.· ·And I would say that value add to the
19· ·Belica has been in the middle of a role like that for   19· ·client is probably a similar ratio.
20· ·50 of them.· The reason that's important that I bring   20· · · · · ·Q.· ·Okay.· And the rest of what you do makes
21· ·it up today is that it's a highly specialized field     21· ·up that ID'ing the target and structuring and advice?
22· ·of endeavor to try to figure out what the portfolio     22· · · · · ·A.· ·That's right.· So if I were negotiating
23· ·is worth.· What's it worth to the client?· What's it    23· ·for my bonus at my firm, I would point out that if
24· ·worth after the rating agencies touch it?· What does    24· ·you can't identify a target, there's nothing for Mr.
25· ·the competitor who might be competing with us on this   25· ·Belica to work on.


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·Okay.                                      ·2· · · · · ·A.· ·For each one approximately 125,000.
·3· · · · · ·A.· ·So that's how we bring value.              ·3· · · · · ·Q.· ·Other than those two Panhandle Plains
·4· · · · · ·Q.· ·Anything else that you recall doing in     ·4· ·and then Northstar, were there other similar
·5· ·connection with Northstar, services provided?           ·5· ·transactions you get paid for during that period of
·6· · · · · ·A.· ·Any M&A advisor plays a role of trying     ·6· ·time from 2010 through the fall of 2012?
·7· ·to assess what the target is willing to do and learns   ·7· · · · · ·A.· ·Those were two that closed.· I'm not
·8· ·the goals and objectives of the target, however the     ·8· ·sure whether you're asking were there others that
·9· ·advisor might be able to do that, and then gives the    ·9· ·closed or were there others where we performed
10· ·client, in this case Alliance, a feel for what's        10· ·services.
11· ·going to be possible to structure the valuation, who    11· · · · · ·Q.· ·First of all, were there others that
12· ·might they be talking about as a competitor, things     12· ·closed?
13· ·of this nature.                                         13· · · · · ·A.· ·I don't think· so.· I think those were
14· · · · · ·Q.· ·Does that describe the universe again      14· ·the two.
15· ·with respect to --                                      15· · · · · ·Q.· ·And were there others that you provided
16· · · · · ·A.· ·I think so.· That ought to cover it.       16· ·services to Alliance in connection with?
17· · · · · ·Q.· ·You did enter into that agreement with     17· · · · · ·A.· ·Yes.
18· ·Alliance to handle the services you just described      18· · · · · ·Q.· ·Did the services on those others differ
19· ·with respect to the Northstar acquisition, correct?     19· ·at all relative to the services we just talked about
20· · · · · ·A.· ·Yes.                                       20· ·for Northstar and Panhandle Plains?
21· · · · · ·Q.· ·And was the -- you mentioned the           21· · · · · ·A.· ·In broad brush, no.
22· ·Panhandle Plains transaction again this morning?        22· · · · · ·Q.· ·Did you -- again, when I use "you," I'm
23· · · · · ·A.· ·Yes.                                       23· ·talking about you, your partners and your LLC, SLCS,
24· · · · · ·Q.· ·Was that a similar transaction as the      24· ·for purposes of these questions.
25· ·Northstar, or how did it differ?                        25· · · · · · · · Did you make introduction on behalf of
                                                 Page 166                                                     Page 168
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·It was similar.                            ·2· ·Alliance to student loan origination companies?
·3· · · · · ·Q.· ·Were the services similar?                 ·3· · · · · ·A.· ·Student loan origination companies?
·4· · · · · ·A.· ·Our services?                              ·4· · · · · ·Q.· ·Yes.
·5· · · · · ·Q.· ·Yes.                                       ·5· · · · · ·A.· ·Well --
·6· · · · · ·A.· ·Yes.                                       ·6· · · · · ·Q.· ·Maybe you could describe --
·7· · · · · ·Q.· ·Was there anything different -- I'm        ·7· · · · · ·A.· ·They're all student loan origination
·8· ·trying to cut this short because I'm trying to move     ·8· ·companies.· They all either originate or acquire
·9· ·it forward for you and get you out of here today.       ·9· ·portfolios of students loans.
10· · · · · · · · Were there any -- your analysis of the     10· · · · · ·Q.· ·That's a better way of saying what I
11· ·services provided, does it differ at all in             11· ·just asked.
12· ·connection with Panhandle Plains relative to            12· · · · · ·A.· ·I believe all of the entities that we
13· ·Northstar?                                              13· ·just talked about this morning and that we served
14· · · · · ·A.· ·My recollection is that it was very        14· ·Alliance on are all companies that either originated
15· ·similar.                                                15· ·or acquired a pool of student loans.
16· · · · · ·Q.· ·Was the pricing of your services the       16· · · · · ·Q.· ·I said it with the adjective after
17· ·same on both Northstar and Panhandle Plains pricing     17· ·instead of before, and you did a much better job of
18· ·to Alliance?                                            18· ·clarifying the record.· Thank you.
19· · · · · ·A.· ·It would be a guess.· We could determine   19· · · · · · · · So you have done that, correct?· That's
20· ·that by looking at some papers right here in front of   20· ·one of the things you did for Alliance during the
21· ·me, but my guess is that they were similar.             21· ·relevant time period?
22· · · · · ·Q.· ·What was the approximate economic          22· · · · · ·A.· ·Introduced them to those companies?
23· ·payment to -- we'll go back to the agreements before    23· · · · · ·Q.· ·Yes.
24· ·we finish here, but just an approximately.· I'm not     24· · · · · ·A.· ·Yes.
25· ·trying to trick you up here.· Just an approximate.      25· · · · · ·Q.· ·And out of all of the -- do you have any

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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·idea of how many introductions you might have made      ·2· ·student loan servicers to Alliance during the
·3· ·during that period of time?· I know there was a list    ·3· ·relevant time frame?
·4· ·that Mr. Golumbic showed you.· Again, it's not a        ·4· · · · · ·A.· ·No.· Servicing was not an entity -- was
·5· ·memory contest.· I'm just looking for a rough.          ·5· ·not a segment of the student loan business that
·6· · · · · ·A.· ·I'm going to say fifteen or so, fifteen    ·6· ·Alliance was interested to pursue.
·7· ·give or take three or four.                             ·7· · · · · ·Q.· ·By the way, going back a step, Alliance
·8· · · · · ·Q.· ·And that's during that two-year period     ·8· ·wasn't a student loan origination company, correct,
·9· ·of time?                                                ·9· ·or was it?
10· · · · · ·A.· ·Yes.                                       10· · · · · ·A.· ·I don't think that it was, no.
11· · · · · ·Q.· ·Were there -- was Mr. Sefcovic familiar    11· · · · · ·Q.· ·And it wasn't a student loan provider?
12· ·with those companies, those fifteen or so companies     12· · · · · ·A.· ·I don't believe it was, no.
13· ·that you introduced Alliance to?                        13· · · · · ·Q.· ·It didn't have those capabilities,
14· · · · · ·A.· ·I'm thinking through the names in my       14· ·correct?
15· ·head, but I would say that Mr. Sefcovic was familiar    15· · · · · ·A.· ·That's my understanding.
16· ·with -- with most.· I don't really know whether Mr.     16· · · · · ·Q.· ·Did Alliance have in-house capabilities
17· ·Sefcovic knew Northstar or not, but being a             17· ·to be a student loan servicer?
18· ·participant in my business, in my industry for so       18· · · · · ·A.· ·Not to my knowledge.
19· ·many years, I would guess that Mr. Sefcovic knew most   19· · · · · ·Q.· ·Would Alliance have had to contract with
20· ·if not all of those entities.                           20· ·somebody else to provide those types of services?
21· · · · · ·Q.· ·And he would have that knowledge           21· · · · · ·A.· ·If it owned student loans?
22· ·independent of your knowledge, correct?                 22· · · · · ·Q.· ·Yes.
23· · · · · ·A.· ·Yes.                                       23· · · · · ·A.· ·If Alliance owned student loans, I
24· · · · · ·Q.· ·Is there a separate term known as a        24· ·believe it's correct to say that they would contract
25· ·"student loan provider" or is that the same as a        25· ·with a student loan servicer to bill and collect on
                                                 Page 170                                                     Page 172
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·student loan --                                         ·2· ·the loans.
·3· · · · · ·A.· ·I would say that's the same as student     ·3· · · · · ·Q.· ·Have you heard of a concept -- and
·4· ·loan originator.                                        ·4· ·again, I'm sorry, I'm not the expert that you are. I
·5· · · · · ·Q.· ·Okay.· Is there a concept of a student     ·5· ·have an expertise, but this is not the one.
·6· ·loan service and subservice company?                    ·6· · · · · · · · Subservice companies, does that differ
·7· · · · · ·A.· ·Yes.                                       ·7· ·at all from a student loan servicer?
·8· · · · · ·Q.· ·Could you describe that for the record?    ·8· · · · · ·A.· ·Well, correct me if this is what you're
·9· · · · · ·A.· ·A student loan servicer would be a term    ·9· ·asking about, but there's a term of art known as a
10· ·of art used to describe a company that bills and        10· ·"master servicer,"· that is basically administrative
11· ·collects on student loans, the company that you write   11· ·agent.· A subservicer might be used to describe an
12· ·your monthly check to if you have a student loan.       12· ·arrangement between an entity that is the "servicer,"
13· · · · · ·Q.· ·Like the way I finished doing that many,   13· ·in quotations, which doesn't have the capability to
14· ·many years ago?                                         14· ·service loans unless enters into a subservicing
15· · · · · ·A.· ·Sallie Mae would be an example of the      15· ·agreement.· I believe that's how you're -- that's the
16· ·largest student loan servicer.· Great Lakes is an       16· ·type of entity that you're asking about.
17· ·example of another very large servicer.· So it's the    17· · · · · ·Q.· ·That's referring back to the student
18· ·company that bills and collects a student loan.· And    18· ·loan servicer who then hires somebody else to assist
19· ·also in the case of the government guaranteed student   19· ·it in providing the services of billing and
20· ·loan program loans, processes the guarantee if the      20· ·collecting?· Or not?
21· ·loan become delinquent and later defaults.              21· · · · · ·A.· ·Yes.· If I could use an example?
22· · · · · ·Q.· ·Okay.· Is that -- did you make -- first    22· · · · · ·Q.· ·Yes.· That would be good.
23· ·of all did SLCS provide any of those services?          23· · · · · ·A.· ·If Alliance owned a pool of student
24· · · · · ·A.· ·No.                                        24· ·loans and was going to service the loans using the
25· · · · · ·Q.· ·Did you make introductions to any          25· ·Alliance servicing company that -- I forget the name


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·of the servicing company that Mr. Wanko was president   ·2· ·subservice services?
·3· ·of.· That entity might have been the servicer of the    ·3· · · · · ·A.· ·That's the same question.
·4· ·pool of loans, and then that entity might have          ·4· · · · · ·Q.· ·Okay.
·5· ·entered into a subservicing contract with Sallie Mae.   ·5· · · · · ·A.· ·We never were a servicer or subservicer
·6· ·So Sallie Mae would be the actual entity billing and    ·6· ·where we billed and collected on student loans.
·7· ·collecting on those student loans.· And the Alliance    ·7· · · · · ·Q.· ·And you certainly didn't do that for
·8· ·student loan management company, whatever the name      ·8· ·Alliance?
·9· ·is, might be labeled as the servicer, but they          ·9· · · · · ·A.· ·Correct.
10· ·actually outsource the actual servicing mechanics.      10· · · · · ·Q.· ·Did you ever provide that administrative
11· · · · · ·Q.· ·How big is the universe of outsourcing     11· ·function that you just described?
12· ·of entities that could do that work?                    12· · · · · ·A.· ·Yes.
13· · · · · ·A.· ·Entities that are servicers and            13· · · · · ·Q.· ·For Alliance?
14· ·outsource the actual function?                          14· · · · · ·A.· ·No, not for Alliance, no.
15· · · · · ·Q.· ·That and the other way around.· Who are    15· · · · · ·Q.· ·How much would you charge for that
16· ·the companies that they outsource their work to?        16· ·administrative function?
17· · · · · ·A.· ·For various historic reasons, there are    17· · · · · ·A.· ·You asked this question earlier, and I
18· ·numerous, I would say, dozens or -- dozen or dozens     18· ·said that we provide that service for a major bank.
19· ·of entities that are the servicing entity.              19· · · · · ·Q.· ·Oh, is that that one where you're
20· · · · · ·Q.· ·Okay.                                      20· ·standing by ready to --
21· · · · · ·A.· ·Servicing is an economies of scale         21· · · · · ·A.· ·Well, that is an actual servicing -- an
22· ·business, and so most of them would subcontract         22· ·actual -- we do the work.· Then there are other
23· ·servicing to one of eight or nine large servicers.      23· ·contracts where we stand by.
24· ·So to answer your question on subservicers, there's     24· · · · · ·Q.· ·Of these that we've just been talking
25· ·less than a dozen who service with economies of         25· ·about now, these services, are there any other
                                                 Page 174                                                     Page 176
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·scale, and there's probably six today that meet that    ·2· ·standby services that you could provide that you get
·3· ·description.                                            ·3· ·paid for, or an entity that gets paid for without
·4· · · · · ·Q.· ·You mentioned the term "master             ·4· ·doing --
·5· ·servicer."· How does that relate to these subservice    ·5· · · · · ·A.· ·No.
·6· ·companies, the eight or nine large ones?                ·6· · · · · ·Q.· ·Are you aware of any in-house
·7· · · · · ·A.· ·A master servicer is a term of art.· It    ·7· ·capabilities that Alliance had to be a student loan
·8· ·refers to mostly to the administrative aspects of a     ·8· ·servicer?
·9· ·business and sort of connotes the existence of a        ·9· · · · · ·A.· ·You're asking that they advise as a
10· ·servicer.                                               10· ·servicer as opposed to master servicer?
11· · · · · · · · In the world of asset-backed securities    11· · · · · ·Q.· ·Yes, correct.
12· ·where a LLC is developed for the sole purpose of        12· · · · · ·A.· ·Yes.· I'm not aware of any thought that
13· ·owning a pool of loans, that LLC will contract with a   13· ·Alliance would become a servicer.
14· ·master servicer which is usually a related entity of    14· · · · · ·Q.· ·Did they have any capabilities that you
15· ·some sort.· And that master servicer will do the        15· ·were aware of during the period of time in question?
16· ·administrative work, attendant to owning a pool of      16· · · · · ·A.· ·To be a servicer?
17· ·student loans, and they will subcontract to a large     17· · · · · ·Q.· ·Yes.
18· ·subservicer or a servicing company to do the actual     18· · · · · ·A.· ·No.
19· ·billing and collecting on student loans.                19· · · · · ·Q.· ·Did they have any capabilities to
20· · · · · ·Q.· ·Now, these services that you've just       20· ·provide the administrative functions that you just
21· ·been describing within the last few minutes, you said   21· ·talked about?
22· ·-- your entity didn't do student loan servicing,        22· · · · · ·A.· ·They bought administrative companies.
23· ·correct?· You weren't a student loan servicer?          23· ·There were conversations about well, what if those
24· · · · · ·A.· ·Correct.                                   24· ·people all leave?· ·These companies, Northstar,
25· · · · · ·Q.· ·Were you ever -- did you ever provide      25· ·Panhandle were run by a handful of people.· What if


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·all those people leave?                                 ·2· · · · · ·Q.· ·Did any of those ever come to fruition?
·3· · · · · · · · We discussed with Alliance that we         ·3· · · · · ·A.· ·No.· It wasn't a major endeavor and
·4· ·provide those services on a backup basis and actually   ·4· ·nothing ever did pan out.
·5· ·provide them.· And if that were to be the case, you     ·5· · · · · ·Q.· ·Anything there pan out related to the
·6· ·have an option, you have an option to outsource those   ·6· ·student loan industry at all?
·7· ·to us.                                                  ·7· · · · · ·A.· ·Where a venture capital firm would buy
·8· · · · · ·Q.· ·To SL --                                   ·8· ·equity in an early stage?· Yes.
·9· · · · · ·A.· ·To SLCS.                                   ·9· · · · · ·Q.· ·As related to Alliance?
10· · · · · ·Q.· ·-- CS.                                     10· · · · · ·A.· ·No.
11· · · · · · · · Did you ever engage in -- you didn't       11· · · · · ·Q.· ·Again, is that venture capital or hedge
12· ·engage in those actual services for Alliance?           12· ·fund type of approach of business, was that something
13· · · · · ·A.· ·No.· I felt they were trying to check      13· ·that Alliance had capabilities to engage in?
14· ·the box on well, what is our risk?· And one risk        14· · · · · ·A.· ·Well, Alliance was looking to make
15· ·would be if the entity were buying, the people all      15· ·investments in late stage, highly secure financing of
16· ·left, what would we do?· And one solution would be      16· ·equity.· I was not aware of sort of higher risk,
17· ·contract with Student Loan Capital Strategies to have   17· ·early stage business plans.· But I'm not privy to
18· ·the actual service.                                     18· ·everything that Alliance did.· That's for sure.
19· · · · · ·Q.· ·But you actually didn't do that and get    19· · · · · ·Q.· ·Putting aside Mr. Fenkell, was there
20· ·paid for that during that period of time?               20· ·anybody in-house at Alliance that had that
21· · · · · ·A.· ·That's correct.                            21· ·capability, if there was the funding?
22· · · · · ·Q.· ·But you were a backup in case they         22· · · · · ·A.· ·Capability?
23· ·needed you?                                             23· · · · · ·Q.· ·To operate an early stage hedge fund or
24· · · · · ·A.· ·We had expertise and personnel available   24· ·venture capital fund?
25· ·to help them with that.                                 25· · · · · ·A.· ·Well, you're asking sort of for an
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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·That was expertise that Alliance didn't    ·2· ·opinion, I think.· I would say the answer is yes. I
·3· ·have in-house?                                          ·3· ·would say that Alliance did have the capability to
·4· · · · · ·A.· ·Correct.                                   ·4· ·assess the risks and rewards of an early stage
·5· · · · · ·Q.· ·Did you ever provide any venture capital   ·5· ·company, but to my knowledge that was not their
·6· ·services to Alliance?                                   ·6· ·business plan.
·7· · · · · ·A.· ·We certainly never provided or talked      ·7· · · · · ·Q.· ·And that answer -- again, I excluded Mr.
·8· ·about providing our money to Alliance, if that's your   ·8· ·Fenkell from that answer.· So you think there was
·9· ·question.                                               ·9· ·somebody else at Alliance that had that?
10· · · · · ·Q.· ·Is that what you considered to be a        10· · · · · ·A.· ·My general knowledge is that Mr. Wanko
11· ·venture capital service or firm?                        11· ·had a rich investment banking career which would have
12· · · · · ·A.· ·A venture capital firm would typically     12· ·been useful to Alliance in entering that segment of
13· ·be buying equity in an early stage startup.             13· ·the market, but that's pretty off subject.· I'm not
14· · · · · ·Q.· ·And you didn't do that?                    14· ·aware of any of that sort of business plan.
15· · · · · ·A.· ·We didn't do anything like that, no.       15· · · · · ·Q.· ·As part of Alliance's business plan
16· · · · · ·Q.· ·Did you do that with any of Alliance's     16· ·during the two-year period of time that you worked --
17· ·entities that they purchased?                           17· · · · · ·A.· ·Right.
18· · · · · ·A.· ·We are not principals in any way like      18· · · · · ·Q.· ·Have you ever heard of the concept of
19· ·that.                                                   19· ·Student Loan Default Aversion Services?· Have you
20· · · · · ·Q.· ·Are you aware of Alliance doing anything   20· ·heard of that?
21· ·of that nature?                                         21· · · · · ·A.· ·Yes.
22· · · · · ·A.· ·Yes.· Your question trips my memory that   22· · · · · ·Q.· ·Would you describe that for the record?
23· ·we thought through and introduced Alliance to several   23· · · · · ·A.· ·Student Loan Default Aversion Services
24· ·venture capital firms and had meetings with them        24· ·relate to when we're talking about the government's
25· ·trying to raise some venture capital financing.         25· ·guaranteed student loan program known as FFELP.· It


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·relates to a call center type of service giving         ·2· ·Panhandle Plains did?
·3· ·borrowers who are in trouble and delinquent on their    ·3· · · · · ·A.· ·I'm not aware of any.
·4· ·accounts ways to escape that delinquency by obtaining   ·4· · · · · ·Q.· ·Have you ever already -- help me here.
·5· ·a deferment or a forbearance under various programs     ·5· ·Have you already testified about master servicing
·6· ·of FFELP.· Maybe students aren't aware of these         ·6· ·companies, student loan master servicing companies?
·7· ·forbearance and deferment programs and so there's a     ·7· ·Is that that administrative function?
·8· ·default aversion group would relay to the student       ·8· · · · · ·A.· ·That's the administrative function.· The
·9· ·caller, "Hey, you're unemployed?· Well, there's a       ·9· ·term of art is "master servicer."
10· ·deferment for unemployment."· I think of default        10· · · · · ·Q.· ·Are there student loan guarantors out in
11· ·aversion services in connection with FFELP, pointing    11· ·the student loan industry?
12· ·out government programs to escape your trouble.         12· · · · · ·A.· ·There are student loan guarantors.
13· · · · · · · · I don't have a good crisp story about      13· · · · · ·Q.· ·Could you describe them for the record?
14· ·so-called private student loan program which is         14· · · · · ·A.· ·Most are involved in the government's
15· ·composed of non-guaranteed loans, but there are         15· ·guaranteed student loan program, so called FFELP.
16· ·probably default aversion consulting companies who      16· ·And Great Lakes is an example of a large one.· Those
17· ·will tell the student, "Stop buying Starbucks coffee    17· ·loan -- those entities by and large administrator the
18· ·and start paying your student loan."                    18· ·federal government's guarantee of the subject loan.
19· · · · · ·Q.· ·Let's use that term just because I've      19· · · · · ·Q.· ·How many of those are there out there of
20· ·used it and you've described it.· Is that the kind of   20· ·those types of entities like Great Lakes?
21· ·service that your entity provided in the student loan   21· · · · · ·A.· ·I'll say that there are 20 left.
22· ·industry?                                               22· · · · · ·Q.· ·Is there a high barrier to entry there
23· · · · · ·A.· ·No.                                        23· ·in that business?
24· · · · · ·Q.· ·Is that the type of service that           24· · · · · ·A.· ·Yes.· All of the existing guarantors
25· ·Alliance Holdings provided in the student loan          25· ·have existed since the federal government started
                                                 Page 182                                                     Page 184
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·industry?                                               ·2· ·their -- this program in around 1980, and the total
·3· · · · · ·A.· ·Well, Alliance Holdings purchased          ·3· ·was probably approximately 40 to 45.· Basically each
·4· ·Panhandle Plains Servicing Center and they had a        ·4· ·state had one.· And there's been consolidation in
·5· ·pretty good platform.· I'm not sure if that was         ·5· ·that industry.
·6· ·housed in the property that Alliance bought or not,     ·6· · · · · ·Q.· ·And your company, SLCS didn't provide
·7· ·but that entity currently has a default aversion        ·7· ·those types of services, did it?
·8· ·product.· So if it was in the property that Alliance    ·8· · · · · ·A.· ·We did not provide the student loan
·9· ·purchased, then yes, Alliance was in that business.     ·9· ·guarantee services, no.
10· · · · · ·Q.· ·But they weren't in it directly with the   10· · · · · ·Q.· ·Did you just make referrals to
11· ·people at Alliance.· They were in it through            11· ·companies -- or not just.· Did you make referrals to
12· ·purchasing Panhandle Plains?                            12· ·those companies?· Do you make referrals to those
13· · · · · ·A.· ·I think that's the case.· I'm no expert    13· ·companies?
14· ·on all things Alliance, but that's my understanding.    14· · · · · ·A.· ·No.· Referrals -- did we help owners of
15· · · · · ·Q.· ·Do you know how long Alliance held         15· ·student loans with who might guarantee them?
16· ·Panhandle Plains?                                       16· · · · · ·Q.· ·Yes.
17· · · · · ·A.· ·Approximately a year.                      17· · · · · ·A.· ·No.
18· · · · · ·Q.· ·When did they -- do you recall when they   18· · · · · ·Q.· ·Do you know if that's a function that
19· ·sold it?                                                19· ·Alliance had the capability in-house to do?
20· · · · · ·A.· ·Approximately a year ago.                  20· · · · · ·A.· ·It's a non-sequitur.
21· · · · · ·Q.· ·So in terms of now just focusing on        21· · · · · ·Q.· ·Explain.
22· ·Alliance Holdings, the parent entity, was there         22· · · · · ·A.· ·When you buy a portfolio of student
23· ·anybody within Alliance Holdings of the staff there,    23· ·loans, they're already guaranteed.
24· ·the small staff that you talked about that had the      24· · · · · ·Q.· ·Thanks.
25· ·capabilities to handle those type of services that      25· · · · · · · · Are you familiar with the concept of a


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·student loan consulting company?                        ·2· ·the student loans, and they typically get paid
·3· · · · · ·A.· ·Of a student loan consulting company?      ·3· ·through the so-called waterfall in the indenture,
·4· · · · · ·Q.· ·What would you describe as a student       ·4· ·which specifies that when you get monthly revenue in,
·5· ·loan consulting company?                                ·5· ·here's how you divvy it up.· Where you fall in that
·6· · · · · ·A.· ·Student Loan Capital Strategies is an      ·6· ·waterfall is important as to how secure the payment
·7· ·example of a student loan consulting company.           ·7· ·is.
·8· · · · · ·Q.· ·How many of those are you aware of out     ·8· · · · · ·Q.· ·Can you describe the general ranges of
·9· ·there again?                                            ·9· ·payment in that waterfall as the security is -- go
10· · · · · ·A.· ·Very few.                                  10· ·from the most secure to the least secure.
11· · · · · ·Q.· ·Is it less than ten?                       11· · · · · ·A.· ·So typically it's the trustee.· Then
12· · · · · ·A.· ·Well, I'm not aware of any companies the   12· ·it's probably the servicer, the actual billing and
13· ·sole purpose of which is student loan consulting.       13· ·collection guy.· But servicing might take a back seat
14· ·There are student loan consultants, usually one and     14· ·to the payment of interest and principal.· But in
15· ·two-man shops at bigger firms, and I've used First      15· ·general, those would be the top categories, trustee,
16· ·Southwest as an example.· There's another example       16· ·servicer, interest and principal.
17· ·that I still can't remember the name, the example of    17· · · · · ·Q.· ·What are the --
18· ·a larger firm that has a student loan division with     18· · · · · ·A.· ·The master servicer, the administrative
19· ·one or two people in it.                                19· ·agent would typically fall somewhere below those
20· · · · · ·Q.· ·How many of those exist where the people   20· ·guys.
21· ·are in --                                               21· · · · · ·Q.· ·And what kind of economics are available
22· · · · · ·A.· ·Probably just those two that I just        22· ·for that master servicer?
23· ·described.· For the benefit of the doubt, I'll say      23· · · · · ·A.· ·That is sometimes a point of
24· ·less than five.                                         24· ·negotiation.· Many times the owner of a trust would
25· · · · · ·Q.· ·Is your business contracting or            25· ·try to siphon cash through the administrative service
                                                 Page 186                                                     Page 188
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·expanding?· I shouldn't say -- I don't want to          ·2· ·portion, and so the amount they take out for the
·3· ·personalize it.· Your industry.                         ·3· ·master servicer might exceed the actual compensation
·4· · · · · ·A.· ·Our industry is contracting.               ·4· ·for master servicer functions, but if you want to ask
·5· · · · · · · · MR. GOLUMBIC:· ·Can we take a two-minute   ·5· ·me how much would be paid for master servicer
·6· ·break?· Would that be okay?                             ·6· ·functions, it's a number like ten to fifteen basis
·7· · · · · · · · VIDEOGRAPHER:· ·The time is now 3:35       ·7· ·points, one-tenth of one percent per year times the
·8· ·p.m.                                                    ·8· ·size of the student loan pool.
·9· · · · · · · · Going off the record.                      ·9· · · · · ·Q.· ·And on a typical deal -- is there a
10· · · · · · · · (Recess.)                                  10· ·typical deal or is there not?
11· · · · · · · · VIDEOGRAPHER:· ·The time now is 3:43       11· · · · · ·A.· ·There's no typical deal.
12· ·p.m.· This marks the beginning of tape number 5.        12· · · · · ·Q.· ·Can you describe the magnitude of that
13· · · · · · · · We're back on the record.                  13· ·fee, the ten to fifteen -- is it ten to fifteen basis
14· · · · · ·Q.· ·We're marching along here, Mr. Sheldon.    14· ·points?
15· ·Thank you for your patience.                            15· · · · · ·A.· ·Yes.
16· · · · · · · · A few other questions on that area of      16· · · · · ·Q.· ·Can you describe that on just a
17· ·services here, if I could.                              17· ·theoretical deal that you have closed and a master
18· · · · · · · · The master servicing or administrative     18· ·servicer has gotten paid on?
19· ·function concept that you testified about, what does    19· · · · · ·A.· ·Do you mean make -- get an example?
20· ·a master servicer or administrator make?· How do they   20· · · · · ·Q.· ·Yes.· Because I don't want it to be -- I
21· ·get paid?                                               21· ·assume that there is not -- you don't have a million
22· · · · · ·A.· ·Well, you've asked two questions there.    22· ·dollars worth of loans.· You typically have a lot
23· · · · · ·Q.· ·Okay.· Split them up and teach me.         23· ·more loans that are --
24· · · · · · · · Thank you.                                 24· · · · · ·A.· ·100 million to a billion dollars worth
25· · · · · ·A.· ·They get paid from the entity that owns    25· ·of loans.


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·Yes.· So I'm trying to get the magnitude   ·2· · · · · · · · That's off the top of my head, and
·3· ·of the size of the --                                   ·3· ·helping you to create an example here, I think.
·4· · · · · ·A.· ·The dollar amount?                         ·4· · · · · ·Q.· ·That's perfect.· Thank you.
·5· · · · · ·Q.· ·Yes.                                       ·5· · · · · · · · And then could you do the same as it
·6· · · · · ·A.· ·If it's a $100 million transaction, one    ·6· ·relates to Northstar?
·7· ·percent would be $1 million.· A tenth of one percent    ·7· · · · · ·A.· ·I believe approximately the same size
·8· ·would be $100,000.· So if you did a $100 million        ·8· ·and approximately the same fee, but that's a little
·9· ·transaction, the master servicer might make in the      ·9· ·bit of guess work there and maybe not so reliable for
10· ·neighborhood of $100,000 a year.                        10· ·whatever purpose you have here.
11· · · · · ·Q.· ·And is a $100 million transaction, is      11· · · · · ·Q.· ·But it's guess work by somebody who has
12· ·that...                                                 12· ·33 years experience in the industry, correct?
13· · · · · ·A.· ·That's on the low side.                    13· · · · · ·A.· ·Yes.
14· · · · · ·Q.· ·What's on the high side?                   14· · · · · ·Q.· ·So it's not by some huge fraction of
15· · · · · ·A.· ·$2 billion.                                15· ·error.· It's just an approximate.
16· · · · · ·Q.· ·And that would just -- would that go       16· · · · · ·A.· ·That's the neighborhood, yes.
17· ·symmetrical, so it would be twenty times what you       17· · · · · ·Q.· ·We can look at the actual document to
18· ·just described?                                         18· ·get the --
19· · · · · ·A.· ·Well, no.· It wouldn't be symmetrical at   19· · · · · ·A.· ·That's correct.· I was just going to
20· ·all.· And for a huge transaction that fee might be      20· ·point out that you could get that in dollars and
21· ·four or five basis points, and for a $50 million        21· ·sense.· Patrick Belica would have laid that out in
22· ·transaction it might be 25 basis points.                22· ·spades.
23· · · · · ·Q.· ·Thanks.                                    23· · · · · ·Q.· ·Your expert at your company?
24· · · · · · · · I don't know if you testified to this or   24· · · · · ·A.· ·Right.
25· ·not.· But was Panhandle a loan servicer, student loan   25· · · · · ·Q.· ·Was Great Lakes a student loan guarantor
                                                 Page 190                                                     Page 192
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·servicer?                                               ·2· ·or is it?
·3· · · · · ·A.· ·Panhandle used to be a loan servicer,      ·3· · · · · ·A.· ·Was and is.
·4· ·but has subcontracted that now to another company.      ·4· · · · · ·Q.· ·Is it a student loan servicer?
·5· · · · · ·Q.· ·When Alliance bought Panhandle, were       ·5· · · · · ·A.· ·Was and is.
·6· ·they a loan servicer?                                   ·6· · · · · ·Q.· ·And you were attempting to get a deal
·7· · · · · ·A.· ·No.                                        ·7· ·going between Alliance and Great Lakes or not?
·8· · · · · ·Q.· ·At any time?                               ·8· · · · · ·A.· ·No.· If you're referring to Mr. George's
·9· · · · · ·A.· ·No.                                        ·9· ·attendance at the golf outing?
10· · · · · ·Q.· ·Do you recall what the actual master       10· · · · · ·Q.· ·Yes.
11· ·servicing fee was for the Panhandle deal?               11· · · · · ·A.· ·He's a golfer we've entertained in many
12· · · · · ·A.· ·Off the top of my head, I don't know.      12· ·venues.· He is a protege of Mr. Thornton, and there
13· · · · · ·Q.· ·Do you recall how much the -- what the     13· ·was a --
14· ·size of that deal was off the top of your head?         14· · · · · ·Q.· ·Excuse me for a second.
15· · · · · ·A.· ·Well, if you're talking about -- I think   15· · · · · · · · Thornton is where?
16· ·what you're asking about is the underlying trusts       16· · · · · ·A.· ·Mr. Thornton was the CEO of the
17· ·that pay the entity that Alliance bought master         17· ·Northstar entity that Alliance bought.
18· ·servicing leads.· And those underlying trusts had in    18· · · · · ·Q.· ·That's what I thought.
19· ·the neighborhood of $1.2 billion of loans and --        19· · · · · ·A.· ·And there was always a sense that maybe
20· · · · · ·Q.· ·For which one now?                         20· ·Alliance could do something with Great Lakes, but
21· · · · · ·A.· ·For Panhandle.· That was the example you   21· ·there was no, as I recall, no concrete plan.
22· ·were using.                                             22· · · · · ·Q.· ·But they did have loan servicing,
23· · · · · ·Q.· ·Okay.                                      23· ·student loan servicing capabilities?
24· · · · · ·A.· ·And probably had a master servicing fee    24· · · · · ·A.· ·They were a student loan servicer, yes.
25· ·in the neighborhood of 25 basis points.                 25· · · · · ·Q.· ·And they were a guarantor of loans?

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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·They were and they are.                    ·2· · · · · ·Q.· ·I'm not being rude by saying no.
·3· · · · · ·Q.· ·Do you know -- what would it surprise      ·3· · · · · ·A.· ·That's fine.· It was after that.· It was
·4· ·you if you found out that Alliance actually made a      ·4· ·after that.
·5· ·run at buying Great Lakes?                              ·5· · · · · ·Q.· ·Okay.
·6· · · · · ·A.· ·It wouldn't surprise me if they did,       ·6· · · · · ·A.· ·I would say that lawsuit became public
·7· ·although I don't have any knowledge that they did.      ·7· ·knowledge and the meeting was several months after
·8· · · · · ·Q.· ·Do you know a company by the name of       ·8· ·that.· So if you could put that together, that's
·9· ·ACS?                                                    ·9· ·about when the meeting was.
10· · · · · ·A.· ·Yes.                                       10· · · · · ·Q.· ·Does the name Tejal K. Mehta ring a
11· · · · · ·Q.· ·Who is that owned by?                      11· ·bell?· T-E-J-A-L, K., M-E-H-T-A.
12· · · · · ·A.· ·Xerox.                                     12· · · · · ·A.· ·Tejal Mehta?
13· · · · · ·Q.· ·How is that entity involved in the         13· · · · · ·Q.· ·Yes.· Does that ring a bell?
14· ·student loan industry?                                  14· · · · · ·A.· ·No.
15· · · · · ·A.· ·They are a large servicer of student       15· · · · · ·Q.· ·And Hank Hockemier -- Hockemier, does
16· ·loans, and they are a partner of ours in our master     16· ·that ring a bell?
17· ·servicing business.                                     17· · · · · ·A.· ·No.
18· · · · · ·Q.· ·Did you ever refer them in any way,        18· · · · · ·Q.· ·How about John Roberts of Deloitte
19· ·shape or form to Alliance?                              19· ·Touche?
20· · · · · ·A.· ·Refer them to Alliance?                    20· · · · · ·A.· ·No.
21· · · · · ·Q.· ·Yes.· Or were they involved in any way,    21· · · · · ·Q.· ·Okay.· Do you recall if Mr. -- do you
22· ·shape or form with the Alliance student loan            22· ·recall Mr. Sefcovic setting up meetings with a number
23· ·business?                                               23· ·of banks and yourself and Alliance at any time during
24· · · · · ·A.· ·I feel -- I feel comfortable in saying     24· ·your relationship with Alliance, during the relevant
25· ·that we've discussed with ACS what we do for            25· ·time frame, 2010 to fall of 2012?
                                                 Page 194                                                     Page 196
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·Alliance.· Off the top of my head I can't think of      ·2· · · · · ·A.· ·No.
·3· ·how those two might work together, although being a     ·3· · · · · ·Q.· ·Would you doubt that Mr. Sefcovic has
·4· ·major student loan enterprise they might have found a   ·4· ·substantial contacts in the banking industry
·5· ·way.                                                    ·5· ·throughout the United States?
·6· · · · · · · · If you could ask me a more pointed         ·6· · · · · ·A.· ·I don't doubt that, no.
·7· ·question, I might be able to give you a better          ·7· · · · · ·Q.· ·Would it surprise you if Mr. Sefcovic
·8· ·answer.                                                 ·8· ·set up meetings between Alliance and various banking
·9· · · · · ·Q.· ·I'm going to leave it at that right now.   ·9· ·institutions throughout the United States?
10· · · · · ·A.· ·Okay.                                      10· · · · · ·A.· ·That would not surprise me.
11· · · · · ·Q.· ·Thanks.                                    11· · · · · ·Q.· ·Would it surprise you if you attended
12· · · · · · · · Bear with me.· You mentioned a meeting     12· ·any of those meetings?
13· ·you had with Alliance's attorneys?                      13· · · · · ·A.· ·That would surprise me a little bit, but
14· · · · · ·A.· ·Correct.                                   14· ·none are coming to mind.
15· · · · · ·Q.· ·Post working with Alliance?                15· · · · · ·Q.· ·Do you recall any golf outings involving
16· · · · · ·A.· ·Yes.· Yes.                                 16· ·the Montana company?· I think the word was Montana,
17· · · · · ·Q.· ·And you recall that was about six months   17· ·and it's Jim Stipich.· Is that the correct
18· ·ago you said?                                           18· ·pronunciation?
19· · · · · ·A.· ·Yes.                                       19· · · · · ·A.· ·Yes.· Well, I entertained Mr. Stipich
20· · · · · ·Q.· ·Could it have been in 2013?· Could it      20· ·and his wife at Desert Mountain.· It's possible Mr.
21· ·have been that long ago?                                21· ·Sefcovic played with us.
22· · · · · ·A.· ·Well, it could have been.· It was after    22· · · · · ·Q.· ·You wouldn't be surprised if that
23· ·the lawsuit, Barbie Spear v. these various people and   23· ·happened, would you?
24· ·entities.· When was that lawsuit, if I could ask you    24· · · · · ·A.· ·That would not surprise me.
25· ·that question?                                          25· · · · · ·Q.· ·Would you be surprised if Mr. Sefcovic


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·had independent relationships with companies like       ·2· ·business periodically, correct?
·3· ·Access and NelNet independent of your entity?           ·3· · · · · ·A.· ·We would, yes.
·4· · · · · ·A.· ·That would not surprise me.                ·4· · · · · ·Q.· ·And this -- by that I mean the student
·5· · · · · ·Q.· ·And you testified that Mr. Sefcovic, he    ·5· ·loan business.
·6· ·was counsel to Brazos.· Is that one of the ones you     ·6· · · · · ·A.· ·Yes.
·7· ·mentioned?                                              ·7· · · · · ·Q.· ·All three of you were involved in the
·8· · · · · ·A.· ·Yes.                                       ·8· ·same business in some way, shape or form?
·9· · · · · ·Q.· ·And he had a pretty substantial            ·9· · · · · ·A.· ·Yes.
10· ·relationship with Brazos?                               10· · · · · ·Q.· ·You said you didn't recall who SLMRS
11· · · · · ·A.· ·He did, yes.                               11· ·was.· Or what did you testify about SLMRS?
12· · · · · ·Q.· ·Independent of your relationship with      12· · · · · ·A.· ·That I didn't know who they are.
13· ·Brazos?                                                 13· · · · · ·Q.· ·You talked about a meeting -- a dinner
14· · · · · ·A.· ·Yes.                                       14· ·at Phoenix in February 2010.· Do you remember that?
15· · · · · ·Q.· ·Do you recall any independent              15· · · · · ·A.· ·Are we talking here about the dinner at
16· ·relationships that Mr. Fenkell might have had with --   16· ·the Sefcovics' house?
17· ·is it Hupalo, is that how you pronounce that?           17· · · · · ·Q.· ·Yes.
18· · · · · ·A.· ·Hupalo.                                    18· · · · · ·A.· ·Yes.
19· · · · · ·Q.· ·Who is Hupalo again?                       19· · · · · ·Q.· ·Would it surprise you if that predated
20· · · · · ·A.· ·Mr. Hupalo worked with me at Smith         20· ·the formation of SLMRS and the contract between SLMRS
21· ·Barney, went on to other investment banking jobs,       21· ·and Alliance?
22· ·went on to other jobs and found himself at Deutsche     22· · · · · ·A.· ·I don't have any basis to answer that
23· ·Bank where I introduced him to Mr. Fenkell, which       23· ·question.· I don't know SLMRS at all.
24· ·later turned out to be a financing source.              24· · · · · ·Q.· ·You testified about a Seattle dinner or
25· · · · · ·Q.· ·Are you aware of any independent           25· ·a dinner in Seattle?

                                                 Page 198                                                            Page 200
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·relationship that Mr. Fenkell established with Mr.      ·2· · · · · ·A.· ·Yes.
·3· ·Hupalo?                                                 ·3· · · · · ·Q.· ·Who attended that one again?
·4· · · · · ·A.· ·I'm not aware beyond the financing --      ·4· · · · · ·A.· ·Well, to be specific, there was a large
·5· ·the relationship that financed one or more entities.    ·5· ·cocktail party that Alliance sponsored, followed by
·6· · · · · ·Q.· ·Do you know if Mr. Sefcovic had a          ·6· ·approximately four or five loose targets, more
·7· ·relationship with Mr. Hupalo --                         ·7· ·clients of ours in the industry that had an informal
·8· · · · · ·A.· ·I don't know.                              ·8· ·dinner.
·9· · · · · ·Q.· ·-- independent?                            ·9· · · · · · · · And maybe you could ask your question
10· · · · · · · · Vinny Cimino?                              10· ·again?
11· · · · · ·A.· ·Yes.                                       11· · · · · ·Q.· ·So you were actively involved in
12· · · · · ·Q.· ·Do you know him?                           12· ·promoting that dinner?
13· · · · · ·A.· ·Yes.                                       13· · · · · ·A.· ·Yes.
14· · · · · ·Q.· ·He used to work with your group?           14· · · · · ·Q.· ·And Alliance paid for that dinner?
15· · · · · ·A.· ·Yes.                                       15· · · · · ·A.· ·I think I paid for it, but I'm not sure.
16· · · · · ·Q.· ·Was he a partner at your group?            16· ·I think that was the whole point.
17· · · · · ·A.· ·I worked with him at Citigroup.            17· · · · · ·Q.· ·Would you be surprised if Alliance paid
18· · · · · ·Q.· ·Okay.· He's with RBC now?                  18· ·for it?
19· · · · · ·A.· ·He is.                                     19· · · · · ·A.· ·No.
20· · · · · ·Q.· ·And have you golfed with him -- you've     20· · · · · ·Q.· ·There's that South Dakota entity SLFC,
21· ·golfed with him at Desert Mountain, too, correct?       21· ·correct?· You testified about that one?· That deal
22· · · · · ·A.· ·Yes.                                       22· ·didn't close, did it?
23· · · · · ·Q.· ·And with Mr. Sefcovic there?               23· · · · · ·A.· ·It did not.
24· · · · · ·A.· ·Yes.                                       24· · · · · ·Q.· ·Did you work hard on getting that deal
25· · · · · ·Q.· ·At these golf outings, you would discuss   25· ·done?

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                                                 Page 201                                                     Page 203
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·No.· I don't recall it being labor         ·2· · · · · ·A.· ·I called my partners.
·3· ·intensive.                                              ·3· · · · · ·Q.· ·Did you call anybody else outside of
·4· · · · · ·Q.· ·Do you know if Mr. Sefcovic -- would       ·4· ·your firm?
·5· ·it surprise if you Mr. Sefcovic were to testify that    ·5· · · · · ·A.· ·I did not call anyone outside of my
·6· ·he -- or you found out that Mr. Sefcovic                ·6· ·firm.· I'm not sure about my partners.
·7· ·independently knew Mr. Wozniak?· Do you remember that   ·7· · · · · ·Q.· ·Did you ever talk about the complaint
·8· ·name, Mr. Wozniak?                                      ·8· ·outside of your firm or -- and exclude conversations
·9· · · · · ·A.· ·That wouldn't surprise me at all.          ·9· ·with your wife.· But outside of your firm, did you
10· · · · · · · · MR. JOHANSON:· ·I'm going to try to move   10· ·talk about the complaint publicly?
11· ·along here quickly.· I've got some documents to go      11· · · · · ·A.· ·No.
12· ·through, so please bear with me.· I'll try not to go    12· · · · · ·Q.· ·Are you aware, related to the complaint,
13· ·over prior territory, with one exception.· Mr.          13· ·did anybody let you know that the complaint in this
14· ·Golumbic asked you questions about documents.· I may    14· ·matter was filed approximately 45 days after Mr.
15· ·ask you different variations of questions about those   15· ·Fenkell brought a -- filed a complaint in the
16· ·documents.                                              16· ·Philadelphia Court of Common Pleas against Alliance
17· · · · · ·A.· ·Okay.                                      17· ·Holdings for breach of contract and related claims?
18· · · · · ·Q.· ·And I'll try to move it along and get      18· · · · · ·A.· ·As you say that, it trips my memory that
19· ·you out of here soon.                                   19· ·there was actions going on.· There might have been
20· · · · · · · · If you could look at Sheldon 1.· I don't   20· ·more than that.· And I forget when I lost contact
21· ·know if you want to put these in order or you just      21· ·with Mr. Fenkell, but it was around the time that he
22· ·want to try to find them as we go.· I'll try to go in   22· ·left the firm, and I believe that there was a lawsuit
23· ·order if that helps us move it along.                   23· ·that predated him leaving the firm, but that might be
24· · · · · ·A.· ·Okay.· 1.                                  24· ·irrelevant to your line of questioning.
25· · · · · ·Q.· ·Did you know Mr. Sefcovic to have a        25· · · · · ·Q.· ·Did you get any of that information --
                                                 Page 202                                                     Page 204
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·sense of humor?                                         ·2· ·where did you derive the information that --
·3· · · · · ·A.· ·Yes.                                       ·3· · · · · ·A.· ·I think Mr. Fenkell, if I recall
·4· · · · · ·Q.· ·Would he joke around once in a while in    ·4· ·correctly.
·5· ·e-mails?                                                ·5· · · · · ·Q.· ·When?
·6· · · · · ·A.· ·Sure.                                      ·6· · · · · ·A.· ·I don't have a crisp recollection.
·7· · · · · ·Q.· ·Is that atypical for him or not?           ·7· · · · · ·Q.· ·If you could go to Sheldon 3?· That's
·8· · · · · ·A.· ·That would not be atypical.                ·8· ·the one where Mr. Golumbic had all the names of small
·9· · · · · ·Q.· ·Do you know when you received a copy of    ·9· ·players, large players, banks.
10· ·the complaint in this matter, this lawsuit that         10· · · · · ·A.· ·Yes.
11· ·you're here for this deposition for?                    11· · · · · ·Q.· ·Current or former non-profits.
12· · · · · ·A.· ·The answer is no, I don't know the date.   12· · · · · · · · Would it surprise you that others had
13· ·But my recollection, vague, is that it was near the     13· ·access to these same entities other than yours, had
14· ·date that the complaint was entered.                    14· ·access to some of these same names and contacts
15· · · · · ·Q.· ·Who did you receive it from?               15· ·within the student loan --
16· · · · · ·A.· ·I think I received it from the Brazos      16· · · · · ·A.· ·Knowledge of the names?
17· ·Group.                                                  17· · · · · ·Q.· ·Yes.
18· · · · · ·Q.· ·Did they say anything to you when they     18· · · · · ·A.· ·No.· I would think that there's a large
19· ·sent it to you?                                         19· ·number of people who knew all of these people.
20· · · · · ·A.· ·I don't recall anything, no.               20· · · · · ·Q.· ·And would have independent business
21· · · · · ·Q.· ·Did you call them and talk about it?       21· ·relationships with these entities and/or people?
22· · · · · ·A.· ·I'm sure that I did, yes, but I don't      22· · · · · ·A.· ·That's a harder question to answer.
23· ·recall the conversation.                                23· ·Your first question was would others know of the
24· · · · · ·Q.· ·Did you call anybody about the complaint   24· ·existence of these companies?· That's a large
25· ·after you received it?                                  25· ·universe.· Would others have -- ask it again, please.


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·Isn't it true that others would have --    ·2· · · · · ·Q.· ·Thank you.
·3· ·would you be surprised if others had -- folks other     ·3· · · · · ·A.· ·Okay.
·4· ·than you, your company, SLCS, your members, your        ·4· · · · · ·Q.· ·Do you want me to repeat the question?
·5· ·partners would have some access to these individuals    ·5· · · · · ·A.· ·Please.
·6· ·and some knowledge of them so that they could make      ·6· · · · · ·Q.· ·So you had testified -- we went through
·7· ·referrals to them as well?                              ·7· ·it pretty carefully -- what the scope of services
·8· · · · · ·A.· ·Wouldn't surprise me at all.               ·8· ·that you're entity did, you and your entity did in
·9· · · · · ·Q.· ·Did you -- did you ever talk with Paul     ·9· ·general and what you did specifically for Northstar.
10· ·Sefcovic about the entities on this list?               10· ·Do you remember that question --
11· · · · · ·A.· ·All the time.· He was involved in the      11· · · · · ·A.· ·Yes.
12· ·conversations that -- when we would have laid this      12· · · · · ·Q.· ·-- earlier this afternoon?
13· ·out, et cetera.· He may have been an addressee on       13· · · · · · · · Is there anything -- referring back to
14· ·this -- he was.· So he was a solid participant in the   14· ·my specific question about what you did for the
15· ·working group as we tried to develop this business.     15· ·Northstar deal for Alliance, is this paragraph
16· · · · · ·Q.· ·And he had expertise in this particular    16· ·consistent with what you testified about?
17· ·industry, the student loan industry?                    17· · · · · ·A.· ·Well, I think it is.· A couple comments
18· · · · · ·A.· ·He was an expert counsel, and I would      18· ·in that regard, this engagement was signed probably
19· ·also say he was a very knowledgeable person in the      19· ·some number of weeks after the identification of the
20· ·student loan industry.                                  20· ·client.· So you recall that I testified that I had a
21· · · · · ·Q.· ·Could you go to Sheldon 5?                 21· ·conversation with Jamie Wolfe, and in that telephone
22· · · · · ·A.· ·Okay.                                      22· ·conversation he said "we wouldn't be interested to
23· · · · · ·Q.· ·Do you see page 1 of Sheldon 5?· By the    23· ·sell a stable cash flow, but would your client be
24· ·way, is this your home address here?                    24· ·interested to buy the master servicing company?"
25· · · · · ·A.· ·I have my office in my home, yes.          25· · · · · · · · Do you remember that testimony? Fyou
                                                 Page 206                                                              Page 208
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·Is there a physical location for the       ·2· · · · · ·Q.· ·I don't, but that's fine.
·3· ·rest of your folks or do they all work out of their     ·3· · · · · · · · Again, I'm sorry, I'm not going to
·4· ·homes?                                                  ·4· ·answer --
·5· · · · · ·A.· ·They don't all work out of their           ·5· · · · · ·A.· ·And so that conversation predated this
·6· ·own homes, but my four partners live in different       ·6· ·engagement by some number of weeks, maybe months. I
·7· ·places -- Cincinnati, Ohio; Westchester, New York;      ·7· ·don't know.· So as an example of what might not be
·8· ·Charleston, South Carolina.· Two have offices.          ·8· ·here in the scope of engagement but that we do
·9· ·Myself and the South Carolina fellow work out of our    ·9· ·regular fair for Alliance would be identifying a
10· ·homes.                                                  10· ·target, in answer to your question.
11· · · · · ·Q.· ·So two of them.· You answered my           11· · · · · · · · Now, there were probably other meetings
12· ·question before I even had to ask it.                   12· ·and maybe memos that we produced, maybe, or telephone
13· · · · · ·A.· ·Okay.                                      13· ·conversations where we went through chapter and
14· · · · · ·Q.· ·How about the four support folks?· I'm     14· ·verse, well, what do these guys do?· How do these
15· ·not diminishing them, but those four support folks,     15· ·guys fit into your business plan?· This is a good
16· ·do they work somewhere --                               16· ·example of somebody who there was a competing entity
17· · · · · ·A.· ·They work out of their home.               17· ·competing for this.· And we were told about it and we
18· · · · · ·Q.· ·So on page 1, you see where it describes   18· ·made suggestions to Alliance, I think, about their
19· ·the services at the bottom of page 1 of Sheldon 5?      19· ·competitive advantage of succeeding in this
20· · · · · ·A.· ·Yes.                                       20· ·transaction versus this other.· In fact, there was a
21· · · · · ·Q.· ·Is there anything inconsistent with that   21· ·point about this in something we read this morning
22· ·description and your testimony earlier about what you   22· ·which went to the other company was looking at this
23· ·did for Alliance in connection with the Northstar       23· ·as an ongoing concern likely valuing it based on its
24· ·deal?                                                   24· ·book value and sort of traditional methods of
25· · · · · ·A.· ·Let me read the scope of engagement.       25· ·valuation, whereas Alliance was looking at it as a


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                                                 Page 209                                                     Page 211
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·discounted cash flow and utilizing its net operating    ·2· ·purchase.
·3· ·loss carry forward.· Those conversations and the        ·3· · · · · ·Q.· ·Does this paragraph on Sheldon 5
·4· ·assessment of that competitive position and whether     ·4· ·contemplate doing the things we're talking about
·5· ·they could --                                           ·5· ·here?
·6· · · · · · · · MR. GOLUMBIC:· ·Can we go off the record   ·6· · · · · ·A.· ·Yes.· The exact -- this contract was
·7· ·for a second?                                           ·7· ·signed on March 15th.· The work that we're talking
·8· · · · · · · · VIDEOGRAPHER:· ·The time now is 4:16       ·8· ·about that I've already done was dated on March 6th.
·9· ·p.m.                                                    ·9· ·So that's what I was getting at in the answer to your
10· · · · · · · · Going off the record.                      10· ·previous question, that the engagement agreement
11· · · · · · · · (Recess.)                                  11· ·follows really the important part of my work, which
12· · · · · · · · VIDEOGRAPHER:· ·The time now is 4:26       12· ·was finding this client.
13· ·p.m.                                                    13· · · · · ·Q.· ·Yes.
14· · · · · · · · We are back on the record.                 14· · · · · ·A.· ·I'm going to say 75 percent of my
15· · · · · ·A.· ·If I could just finish that answer?        15· ·utility to Alliance on this matter happened when I
16· · · · · ·Q.· ·Sure, yes.                                 16· ·talked to Jamie Wolfe on that phone call.
17· · · · · ·A.· ·So as I was saying, this was likely        17· · · · · · · · This is a fairly meaty e-mail that I
18· ·signed into the process.· I think it does accurately    18· ·wrote, but probably Mr. Belica had input on.· But I
19· ·describe what we were going to be paid to be doing,     19· ·would -- if it had occurred after the date of this
20· ·but I think this first lead in paragraph that says      20· ·engagement, I would have said yes, this is the
21· ·that we were going to provide general transactional     21· ·general transactional support that's envisioned by
22· ·support in connection with the proposed transaction     22· ·the engagement agreement.
23· ·without limitation picks up the various things that I   23· · · · · ·Q.· ·Great.· I understand and thank you for
24· ·told you that we do.                                    24· ·clarifying that for the record.
25· · · · · ·Q.· ·Great.                                     25· · · · · · · · You can set that down.
                                                 Page 210                                                     Page 212
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · · · · Can I just show you --                     ·2· · · · · · · · There wasn't anything else, however,
·3· · · · · · · · MR. JOHANSON:· ·What's our number?· What   ·3· ·that you did in connection with this engagement
·4· ·exhibit are we on?                                      ·4· ·that's not described in either Sheldon 5 or Sheldon
·5· · · · · · · · (Exhibit 22 so marked                      ·5· ·22?
·6· · · · · · · · ·for identification.)                      ·6· · · · · ·A.· ·There could well be things that we did
·7· · · · · ·Q.· ·Could you quickly look at that and see     ·7· ·in furtherance of this engagement that weren't
·8· ·if that refreshes your memory about some of the stuff   ·8· ·envisioned by this engagement agreement.· I have none
·9· ·you were just testifying about as it relates to your    ·9· ·in my mind as I say that, but we usually sign an
10· ·Northstar engagement with Alliance?                     10· ·engagement agreement meant to say -- I would often
11· · · · · ·A.· ·Okay.· I have skimmed this e-mail.· It's   11· ·use the term "without limiting the foregoing."· The
12· ·pretty meaty.· I'm glad to read it closer, but if       12· ·foregoing would say we're going to advise you --
13· ·you'd like to ask me a question, maybe I can answer     13· ·any way we can think of advising you on this
14· ·it.                                                     14· ·transaction -- risks, blah, blah, blah -- without
15· · · · · ·Q.· ·Does this describe any of the -- again,    15· ·limiting the generality of the foregoing, we'll also
16· ·you've testified about what you did for Northstar       16· ·do the following.
17· ·earlier and now you were just a few minutes ago I       17· · · · · · · · That's how I would read this scope of
18· ·believe testifying about some edges of what you did     18· ·services section.
19· ·with respect to the Northstar deal for Alliance,        19· · · · · · · · Does that answer your question or would
20· ·correct?                                                20· ·you want to repeat it?
21· · · · · ·A.· ·Yes.                                       21· · · · · ·Q.· ·I'm just trying to make sure that we
22· · · · · ·Q.· ·Does this describe some of those edges,    22· ·have it on the record that there's not some big
23· ·using my word?                                          23· ·unidentifiable task that you did or services you
24· · · · · ·A.· ·Yes.· It's a fairly meaty conversation     24· ·provided in addition to what's summarized in a broad
25· ·about what are the risks to this company's -- to this   25· ·sense in the engagement letter.


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                                                         Page 213                                                            Page 215
·1· · · · · · · · · · · · · Sheldon                                   ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·I don't think there is.                             ·2· · · · · ·Q.· ·That was after the time that you started
·3· · · · · ·Q.· ·That's the question.                                ·3· ·working with Alliance, correct?
·4· · · · · ·A.· ·Okay.                                               ·4· · · · · ·A.· ·Correct.
·5· · · · · ·Q.· ·And then I understand that there was                ·5· · · · · ·Q.· ·And who at Alliance became proficient?
·6· ·some other work that was done before the engagement              ·6· · · · · ·A.· ·I believe everyone did.· I believe Mr.
·7· ·letter which is summarized in Sheldon 22.                        ·7· ·Fenkell did.· I believe Mr. Wanko did.· I believe Mr.
·8· · · · · ·A.· ·Yep.                                                ·8· ·Springer did, Mr. Reppucci.· One more, I apologize to
·9· · · · · ·Q.· ·Which, again, you've indicated here that            ·9· ·him, that I'm missing.· I believe they became --
10· ·was 75 percent of value add that you gave on that                10· ·particularly Mr. Springer became very knowledgeable
11· ·particular transaction?                                          11· ·about running a student loan business and the student
12· · · · · ·A.· ·Right.                                              12· ·loan industry in general.
13· · · · · ·Q.· ·Could you look at Sheldon 7 for a                   13· · · · · ·Q.· ·But they didn't have that before they
14· ·minute?                                                          14· ·started working with you?
15· · · · · ·A.· ·Okay.                                               15· · · · · ·A.· ·As I say, I don't have firsthand
16· · · · · ·Q.· ·So this is the letter that you read in              16· ·knowledge of what they had before they worked with
17· ·depth for the first time this morning, correct?                  17· ·me.
18· · · · · ·A.· ·Correct.                                            18· · · · · ·Q.· ·Do you know Mr. Stephen W. Jones of
19· · · · · ·Q.· ·Did you have any independent knowledge              19· ·SLMRS at all?
20· ·about these statements from Mr. Stephen W. Jones of              20· · · · · ·A.· ·I don't.
21· ·SLMRS prior to today?                                            21· · · · · ·Q.· ·Do you have any reason to believe that
22· · · · · ·A.· ·No.                                                 22· ·he would put something down in writing that he didn't
23· · · · · ·Q.· ·Can you look at the top of page 2?                  23· ·agree with?
24· · · · · · · · Do you see the first sentence where it              24· · · · · ·A.· ·I don't know the man.
25· ·says, "By way of further background, Alliance had no             25· · · · · · · · MR. GOLUMBIC:· ·Objection.
                                                           Page 214                                                            Page 216
·1· · · · · · · · · · · · · Sheldon                                   ·1· · · · · · · · · · · · · Sheldon
·2· ·student loan expertise at the time the agreement was             ·2· · · · · ·Q.· ·Do you know the members of SLMRS?
·3· ·executed.· Alliance entered into the agreement with              ·3· · · · · ·A.· ·No.
·4· ·the expectation that SLMRS would help to fill the                ·4· · · · · ·Q.· ·Would it surprise you to find out that
·5· ·student loan expertise void at Alliance"?                        ·5· ·SLAMS was a member of SLMRS?
·6· · · · · · · · Would you agree that there was a student            ·6· · · · · ·A.· ·I don't know SLAMS.· I don't know SLMRS.
·7· ·loan expertise void at Alliance prior to the -- prior            ·7· ·I learned of these names and these acronyms when I
·8· ·to the transaction?                                              ·8· ·read the complaint.
·9· · · · · ·A.· ·Well, I'm not familiar with the                     ·9· · · · · ·Q.· ·Do you know anything about the
10· ·agreement -- or you just said "the transaction."· I'm            10· ·capabilities of SLMRS or SLAMS to provide services in
11· ·not familiar with a transaction.                                 11· ·the student loan industry work that you talked about
12· · · · · ·Q.· ·A transaction in which Alliance -- I                12· ·to Alliance Holdings?
13· ·mean, prior to the time that Alliance started working            13· · · · · ·A.· ·Let me make this very clear for you. I
14· ·with you and getting into this business, isn't it                14· ·learned of the acronyms which you are now calling
15· ·true that Alliance had no student loan expertise?                15· ·SLMRS and SLAMS when I read the complaint, and that's
16· · · · · ·A.· ·I believe that's true, but I don't have             16· ·the sum and substance of my knowledge of SLMRS and
17· ·firsthand knowledge of their expertise prior to our              17· ·SLAMS.
18· ·involvement.                                                     18· · · · · ·Q.· ·Thank you.
19· · · · · ·Q.· ·Do you have any knowledge of it after               19· · · · · · · · Could you look at Sheldon 8 for a
20· ·your involvement?                                                20· ·minute?
21· · · · · ·A.· ·After our involvement, given the                    21· · · · · ·A.· ·Okay.
22· ·numerous transactions we worked on, Student Loans 101            22· · · · · ·Q.· ·Could you look at the first -- or the
23· ·seminar, weekly and daily calls, I believe, that                 23· ·last paragraph on page 1 of Sheldon 8?
24· ·Alliance personnel became quite proficient in the                24· · · · · ·A.· ·The last paragraph on page 1?
25· ·field of student loan finance.                                   25· · · · · ·Q.· ·Yes.


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                                                 Page 217                                                     Page 219
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·Okay.                                      ·2· · · · · ·Q.· ·And you testified earlier that 75
·3· · · · · ·Q.· ·Can you contrast that at all with the      ·3· ·percent of value add in the Northstar deal was at the
·4· ·Northstar, the similar paragraph in the Northstar       ·4· ·beginning when you wrote that e-mail and you made the
·5· ·agreement between Alliance and SLCS?                    ·5· ·introduction and you kind of crystalized how the
·6· · · · · ·A.· ·You want me to read both and then --       ·6· ·relationship could work together, correct?
·7· · · · · ·Q.· ·I don't want you to -- I just want to      ·7· · · · · ·A.· ·Right, yes.
·8· ·know if there's anything dramatically different.        ·8· · · · · ·Q.· ·So introductions is one of the things
·9· · · · · ·A.· ·No.· They're similar.                      ·9· ·you do to get paid, correct?
10· · · · · ·Q.· ·If they're similar, that's all I want.     10· · · · · ·A.· ·Yes.· Identifying a target is a part of
11· · · · · ·A.· ·I note that the first paragraph is         11· ·our service.
12· ·identical, and the substance of the -- this one,        12· · · · · ·Q.· ·Could you go to Sheldon 13?
13· ·Panhandle looks a little bit longer, but no, they're    13· · · · · · · · Again, I'm trying not to ask questions
14· ·very similar and the engagement was extremely           14· ·that were already asked and I think I have a little
15· ·similar.                                                15· ·bit.· Bear with me.· We're almost done.
16· · · · · ·Q.· ·And this, again, is intended to            16· · · · · · · · Referring to the master servicing
17· ·encompass the general scope of all the services         17· ·agreement again for the business?
18· ·that --                                                 18· · · · · ·A.· ·Referring to what again?
19· · · · · ·A.· ·Correct.                                   19· · · · · ·Q.· ·Just referring to the concept of the
20· · · · · ·Q.· ·-- SLCS would provide to Alliance,         20· ·master servicing business?
21· ·correct?                                                21· · · · · ·A.· ·Okay.
22· · · · · ·A.· ·Yes.                                       22· · · · · ·Q.· ·And the administrator service business
23· · · · · ·Q.· ·Could you turn to Sheldon 11?              23· ·that you testified about.
24· · · · · · · · Have you had a chance to --                24· · · · · ·A.· ·Yes.
25· · · · · ·A.· ·Let me just...· Okay.                      25· · · · · ·Q.· ·That was something that you could
                                                 Page 218                                                     Page 220
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·So those names on the list, you wouldn't   ·2· ·contract out for, correct, is that?
·3· ·be surprised if Paul Wozniak was someone that Mr.       ·3· · · · · ·A.· ·Master servicing?
·4· ·Sefcovic knew independently of you?                     ·4· · · · · ·Q.· ·Yes, and administrator.
·5· · · · · ·A.· ·That would not surprise me.                ·5· · · · · ·A.· ·Yes.· The answer is yes.
·6· · · · · ·Q.· ·How about with respect to Mr. Finn of      ·6· · · · · ·Q.· ·Okay.· And what types of expertise? I
·7· ·CIT?                                                    ·7· ·mean, would it be a CPA or someone else that would
·8· · · · · ·A.· ·It wouldn't surprise me, no.               ·8· ·have the expertise to assist you with that, with
·9· · · · · ·Q.· ·How about Mr. Norg Sanderson of SLFC?      ·9· ·someone with that?
10· · · · · ·A.· ·It would not surprise me that Mr.          10· · · · · ·A.· ·A master servicer has an accounting
11· ·Sefcovic knows Norg.                                    11· ·function.· It has a knowledge of the student loan
12· · · · · ·Q.· ·Independently of --                        12· ·business, generally, function.· It's basically
13· · · · · ·A.· ·Independently of me, that wouldn't be      13· ·running a student loan business, although typically
14· ·surprising.                                             14· ·not the hard part of a student loan business, I.E.,
15· · · · · ·Q.· ·-- you and your group.                     15· ·the origination of loans, but rather the control of
16· · · · · · · · Could you go to 12, Sheldon 12?            16· ·an existing -- a portfolio of student loans,
17· · · · · ·A.· ·Okay.                                      17· ·servicing of it and the financing of it.
18· · · · · ·Q.· ·Did you make the introduction to           18· · · · · ·Q.· ·So it wouldn't have been contemplated
19· ·Graduate Leverage and Dan Thiebault?                    19· ·that Alliance would do that type of work in-house?
20· · · · · ·A.· ·My best recollection is that I did.· It    20· · · · · ·A.· ·I testified earlier that that was
21· ·was a client of our firm.· This e-mail tends to imply   21· ·contemplated, particularly in a scenario where master
22· ·that I did.· I don't have a crisp recollection of the   22· ·servicers that they owned lost their personnel.
23· ·first time Grad Leverage and Dan Thiebault's name was   23· · · · · ·Q.· ·Let me clarify the question.
24· ·mentioned to Mr. Fenkell, but I assume it was via       24· · · · · ·A.· ·Okay.
25· ·this e-mail.                                            25· · · · · ·Q.· ·The eight or ten people within Alliance


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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·as a holding company or however many there were         ·2· ·recollection.
·3· ·wouldn't be doing that work.· They could buy someone    ·3· · · · · · · · I might be able to be helpful to you in
·4· ·or contract with someone who could do that work for     ·4· ·this way.· Master servicing is not nuclear physics.
·5· ·them?                                                   ·5· ·It's a very straightforward function.· The companies
·6· · · · · ·A.· ·I can answer the part of that question     ·6· ·that serve as their own master servicer do it with
·7· ·where you said that they can contract with someone      ·7· ·two or three people.· So what I've been testifying to
·8· ·and outsource the master servicing.· It's possible      ·8· ·is if Alliance wanted to, it probably had the
·9· ·they could do it themselves, but I know it's possible   ·9· ·expertise to do it themselves.· It certainly had the
10· ·that they could outsource it.                           10· ·ability to outsource it.
11· · · · · ·Q.· ·Who would have done that at the time       11· · · · · ·Q.· ·If they were doing it themselves, they
12· ·back, you know -- right when you started working with   12· ·would have to have the person power, the people --
13· ·Alliance, who would have done that?                     13· · · · · ·A.· ·The two or three people.
14· · · · · ·A.· ·This is somewhat speculating, but Mr.      14· · · · · ·Q.· ·Yes.
15· ·Stringer -- Springer, who oversaw this function for     15· · · · · · · · On 15, did any deal come out of this
16· ·their two portfolio companies, was gaining that sort    16· ·one, this Chris Cronk e-mail?· Any transaction occur?
17· ·of expertise, if that's helpful.                        17· · · · · ·A.· ·I believe this meeting was two-fold.
18· · · · · ·Q.· ·Did he gain that during the time that      18· ·One, to look into the possibility of being financed
19· ·you worked with him?                                    19· ·by Bank of America.· And, two, to describe to Mr.
20· · · · · ·A.· ·Yes.                                       20· ·Cronk and his colleagues, who are investment bankers,
21· · · · · ·Q.· ·And he didn't have that expertise prior    21· ·the type of work Alliance was trying to do so that
22· ·to the time that you worked with him?                   22· ·they could send out that word to their various
23· · · · · ·A.· ·That's correct.                            23· ·clients.· I don't think this was a meeting to develop
24· · · · · ·Q.· ·Anybody else, other than Mr.· -- is it     24· ·some sort of a transaction with Bank of America.
25· ·Springer?· I'm sorry if I got the name wrong.           25· · · · · ·Q.· ·Just continuing to develop the knowledge
                                                 Page 222                                                     Page 224
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·A.· ·I believe it's Springer.· The group of     ·2· ·of Alliance and what it wanted to do in the student
·3· ·them were becoming -- the group of them were becoming   ·3· ·loan industry?
·4· ·quite knowledgeable in student loan finance.            ·4· · · · · ·A.· ·Well, and send out the -- to continue to
·5· · · · · ·Q.· ·Over that two-year period of time?         ·5· ·distribute the information of what Alliance was
·6· · · · · ·A.· ·Yes.                                       ·6· ·trying to do to the market.
·7· · · · · ·Q.· ·Could you look at 15, Sheldon 15 for a     ·7· · · · · ·Q.· ·Yes.· Thank you.
·8· ·minute?                                                 ·8· · · · · · · · MR. JOHANSON:· :· ·I just want a
·9· · · · · · · · Before I go on, I was going to ask you     ·9· ·two-minute break.· I'll be back and may have just a
10· ·this.· Do you know what Mr. Springer's other duties     10· ·couple more questions and then I'll be done.
11· ·were at Alliance Holdings at the time?                  11· · · · · · · · VIDEOGRAPHER:· ·The time is now 4:53
12· · · · · ·A.· ·I don't recall his other duties.           12· ·p.m.
13· · · · · ·Q.· ·Did he have other entities to manage or    13· · · · · · · · Going off the record.
14· ·portfolio companies --                                  14· · · · · · · · (Recess.)
15· · · · · ·A.· ·Yes.· I believe he was portfolio manager   15· · · · · · · · VIDEOGRAPHER:· ·The time now is 5:00
16· ·for portfolio companies.· I could be incorrect, but     16· ·p.m.
17· ·that's my recollection.                                 17· · · · · · · · We're back on the record.
18· · · · · ·Q.· ·So he had that to do in addition to this   18· · · · · · · · MR. GOLUMBIC:· ·Mr. Johanson, did you
19· ·new work that you were talking about, correct?          19· ·want to indicate whether you had any --
20· · · · · ·A.· ·He had that to do -- he certainly had      20· · · · · · · · MR. JOHANSON:· ·I'm tendering the
21· ·that to do, yes.                                        21· ·witness back to you.· I reserve subject to whatever
22· · · · · ·Q.· ·Do you recall how many people were         22· ·you...
23· ·employed by the actual holding company at Alliance      23· · · · · · · · MR. GOLUMBIC:· ·Sure.
24· ·Holdings during the time frame you worked with them?    24· · · · · · · · MR. JOHANSON:· :· ·Thank you.
25· · · · · ·A.· ·It might have been a half dozen, in my     25· ·BY MR. GOLUMBIC:

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·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· · · · · ·Q.· ·Mr. Sheldon, just a few follow-up          ·2· · · · · · · · MR. JOHANSON:· Again same objection as
·3· ·questions.                                              ·3· ·to form.
·4· · · · · · · · On your Exhibit 8, the Panhandle           ·4· · · · · ·Q.· ·Did Mr. Sefcovic at any time during this
·5· ·engagement between SLCS and Alliance?                   ·5· ·period of time of 2010 to 2012 hold out that he was a
·6· · · · · ·A.· ·Yes.                                       ·6· ·member of a student loan advisory company?
·7· · · · · ·Q.· ·You had testified that this was an         ·7· · · · · ·A.· ·He did not.
·8· ·accurate description of the scope of services.· But I   ·8· · · · · ·Q.· ·Did he indicate to you that his wife,
·9· ·just want to make sure I understood it.· Did this       ·9· ·Lianne Sefcovic, was a member of a student loan
10· ·engagement, like the Northstar engagement, predate      10· ·consulting or advisory company?
11· ·the services you had already provided to Alliance?      11· · · · · ·A.· ·No.
12· · · · · ·A.· ·I don't have a crisp recollection of       12· · · · · ·Q.· ·This letter, Exhibit 7, from Stephen
13· ·initiating the Panhandle transaction and signing this   13· ·Jones to Mr. Hockeimer, Exhibit 7, do you know that
14· ·engagement, but there was very likely to be some        14· ·Mr. Jones is affiliated with Hiram College?
15· ·conversations with both Panhandle and Alliance about    15· · · · · ·A.· ·I don't know Mr. Jones.· I just know
16· ·the transaction in that it was so similar to the        16· ·nothing of this entity or Mr. Jones.
17· ·Northstar transaction.· Those might have been           17· · · · · ·Q.· ·Do you have any knowledge that Hiram
18· ·minimal.· I don't know.· But those things, you know,    18· ·College was providing services or was ready to
19· ·identifying the target necessarily happened before      19· ·provide services to Alliance in connection with
20· ·the agreement was signed, and there would have been     20· ·student loans?
21· ·some things done, but I'm guessing that not that much   21· · · · · ·A.· ·No.
22· ·and that this is the basic stuff we did for             22· · · · · ·Q.· ·I have no further questions.· Thank you.
23· ·Panhandle.                                              23· · · · · · · · MR. JOHANSON:· I just have one.
24· · · · · ·Q.· ·Sure.· But as you were testifying with     24· · · · · · · · Thank you, Mr. Golumbic.
25· ·respect to Northstar and other matters that you work    25· ·BY MR. JOHANSON:
                                                 Page 226                                                     Page 228
·1· · · · · · · · · · · · · Sheldon                          ·1· · · · · · · · · · · · · Sheldon
·2· ·on identifying a target and working to bring that       ·2· · · · · ·Q.· ·So you testified earlier that you didn't
·3· ·target to this stage is part of the services that       ·3· ·have any knowledge -- I mean, I'm sorry, because you
·4· ·SLCS provides, correct?                                 ·4· ·probably testified this way a number of times.
·5· · · · · ·A.· ·A major part, yes.                         ·5· · · · · ·A.· ·It's all right.· Go ahead.
·6· · · · · ·Q.· ·There were a lot of questions about Mr.    ·6· · · · · ·Q.· ·I may be asking you again.
·7· ·Sefcovic.· I know that you had testified that he was    ·7· · · · · · · · You testified that you didn't have any
·8· ·a solid participant as part of this working group       ·8· ·knowledge of SLMRS?
·9· ·that was working to identify potential targets in the   ·9· · · · · ·A.· ·Correct.
10· ·student loan industry and he was an expert counsel.     10· · · · · ·Q.· ·You didn't have any knowledge of SLAMS,
11· ·When you referred to that, as him being an expert       11· ·correct?
12· ·counsel, do you mean in his capacity as an attorney     12· · · · · ·A.· ·Correct.
13· ·for Squire Sanders?                                     13· · · · · ·Q.· ·You didn't have any knowledge of who the
14· · · · · ·A.· ·Yes.                                       14· ·members of SLMRS or SLAMS were, correct?
15· · · · · ·Q.· ·In his capacity as an attorney for         15· · · · · ·A.· ·Correct.
16· ·Squire Sanders working for Alliance?                    16· · · · · ·Q.· ·You didn't have any knowledge of who the
17· · · · · · · · MR. JOHANSON:· ·Excuse me.                 17· ·agents for SLMRS or SLAMS were, correct?
18· · · · · · · · I'm just to going to object to the form    18· · · · · ·A.· ·Correct.
19· ·of these questions as being improper.· Thank you.       19· · · · · ·Q.· ·So it's possible that you may not know
20· ·The last few.                                           20· ·in what capacity Mr. Sefcovic was acting when he
21· · · · · ·A.· ·If you could just repeat that?             21· ·engaged in certain student loan marketing activity,
22· · · · · ·Q.· ·It was your understanding that Mr.         22· ·right?
23· ·Sefcovic was an expert counsel as an attorney for       23· · · · · ·A.· ·Entirely possible.
24· ·Squire Sanders working for Alliance?                    24· · · · · ·Q.· ·Thank you.
25· · · · · ·A.· ·Correct.                                   25· · · · · · · · MR. JOHANSON:· I think we've actually


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                                                          Page 229                                                       Page 231
·1· · · · · · · · · · · · · Sheldon                                  ·1· · · · · · · · · · · ·Sheldon
                                                                     ·2
·2· ·made it through a witness today, Lars.
                                                                     · · ·20· · · · Document· · · · · · · · · · · · 89
·3· · · · · · · · MR. GOLUMBIC:· ·I have no further
                                                                     ·3
·4· ·questions.
                                                                     · · ·21· · · · Document· · · · · · · · · · · · 93
·5· · · · · · · · Thank you very much for your time, Mr.             ·4
·6· ·Sheldon.                                                        · · ·22· · · · Document· · · · · · · · · · · · 210
·7· · · · · · · · THE WITNESS:· ·You're welcome.                     ·5
·8· · · · · · · · MR. JOHANSON:· Thank you, Mr. Sheldon.             ·6
·9· · · · · · · · THE WITNESS:· ·You're welcome.                     ·7
10· · · · · · · · VIDEOGRAPHER:· ·The time now is 5:05               ·8
11· ·p.m.                                                            ·9
12· · · · · · · · This marks the end of tape number 5 in             10
13· ·the videotaped deposition of Paul Sheldon.                      11

14· · · · · · · · We are off the record.                             12
                                                                     13
15· · · · · · · · (Time noted:· 5:05 p.m.)
                                                                     14
16
                                                                     15
17
                                                                     16
· · · · · · · · · · · · · · · · · ·Paul Sheldon
                                                                     17
18                                                                   18
19· ·Subscribed and sworn to                                         19
20· ·before me this· · · day                                         20
21· ·of· · · · · · · ·, 2014.                                        21
22                                                                   22
23· · · · Notary Public                                              23
24                                                                   24
25                                                                   25

                                                          Page 230                                                       Page 232
·1·   · · · · · · · · · · · · Sheldon                                ·1
·2·   · · · · · · · · · · · · ·I N D E   X
·3·   ·WITNESS· · · ·EXAMINATION BY· ·   · · · · · · PAGE            ·2
·4·   ·P. Sheldon· · Mr. Golumbic· · ·   · · · · · · 5, 224
· ·   · · · · · · · ·Mr. Johanson· · ·   · · · · · · 102, 227        ·3· · · · · · · · · ·C E R T I F I C A T I O N
·5
·6                                                                   ·4
· ·   ·EXHIBITS· · · · · · · · · · · · · · · · · · PAGE              ·5· · · · · · · · I, PATRICIA GUARINO, a Shorthand
·7
· ·   · · 1· · · · ·Document· · · · · · · · · · · · 21               ·6· ·Reporter and notary public, within and for the State
·8
· ·   · · 2· · · · ·Document· · · · · · · · · · · · 28               ·7· ·of New York, do hereby certify:
·9
· ·   · · 3· · · · ·Document· · · · · · · · · · · · 32               ·8· · · · · · · · That PAUL SHELDON, the witness whose
10
· ·   · · 4· · · · ·Document· · · · · · · · · · · · 32               ·9· ·examination is hereinbefore set forth, was first duly
11
· ·   · · 5· · · · ·Document· · · · · · · · · · · · 42               10· ·sworn by me, and that this transcript of said
12                                                                   11· ·testimony is a true record of the testimony given by
· ·   · · 6· · · · ·Document· · · · · · · · · · · · 46
13                                                                   12· ·said witness.
· ·   · · 7· · · · ·Document· · · · · · · · · · · · 47
14                                                                   13· · · · · · · · I further certify that I am not related
· ·   · · 8· · · · ·Document· · · · · · · · · · · · 50
15                                                                   14· ·to any of the parties to this action by blood or
· ·   · · 9· · · · ·Document· · · · · · · · · · · · 52
16                                                                   15· ·marriage, and that I am in no way interested in the
· ·   · · 10· · · · Document· · · · · · · · · · · · 54
17
                                                                     16· ·outcome of this matter.
· ·   · · 11· · · · Document· · · · · · · · · · · · 58               17
18
· ·   · · 12· · · · Document· · · · · · · · · · · · 66               18· · · · · · · · IN WITNESS WHEREOF, I have hereunto set
19
· ·   · · 13· · · · Document· · · · · · · · · · · · 68               19· ·my hand this 7th day of November, 2014.
20
· ·   · · 14· · · · Document· · · · · · · · · · · · 75               20
21
· ·   · · 15· · · · Document· · · · · · · · · · · · 77               21
22
                                                                     22· · · · · · · · · · · · · ·PATRICIA GUARINO
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23                                                                   23
· ·   · · 17· · · · Document· · · · · · · · · · · · 82
24                                                                   24
· ·   · · 18· · · · Document· · · · · · · · · · · · 85
25                                                                   25
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·1· · · · · · · · · DEPOSITION ERRATA SHEET                  ·1· · · · · · · · · DEPOSITION ERRATA SHEET
·2                                                           ·2· ·Page No.____Line No.____Change to:___________
·3· ·Our Assignment No.:· 220390                             ·3· ·_____________________________________________
·4· ·Case Caption:· Spears vs. Finkell                       ·4· ·Reason for change:___________________________
·5                                                           ·5· ·Page No.____Line No.____Change to:___________
·6· · · · DECLARATION UNDER PENALTY OF PERJURY               ·6· ·_____________________________________________
·7                                                           ·7· ·Reason for change:___________________________
·8· ·I declare under penalty of perjury that I have read     ·8· ·Page No.____Line No.____Change to:___________
·9· ·the entire transcript of my Deposition taken in the     ·9· ·_____________________________________________
10· ·captioned matter or the same has been read to me, and   10· ·Reason for change:___________________________
11· ·the same is true and accurate, save and except for      11· ·Page No.____Line No.____Change to:___________
12· ·changes and/or corrections, if any, as indicated by     12· ·_____________________________________________
13· ·me on the DEPOSITION ERRATA SHEET hereof, with the      13· ·Reason for change:___________________________
14· ·understanding that I offer these changes as if still    14· ·Page No.____Line No.____Change to:___________
15· ·under oath.                                             15· ·_____________________________________________
16· · · · · · _______________________                        16· ·Reason for change:___________________________
17· · · · · · Paul Sheldon                                   17· ·Page No.____Line No.____Change to:___________
18· ·Subscribed and sworn to on the ____ day of ________,    18· ·_____________________________________________
19· ·20 ____ before me.                                      19· ·Reason for change:___________________________
20· ·_______________________________                         20· ·Page No.____Line No.____Change to:___________
21· ·Notary Public,                                          21· ·_____________________________________________
22· ·in and for the State of _________________________.      22· ·Reason for change:___________________________
23                                                           23
24                                                           24· ·SIGNATURE:____________________DATE:__________
25                                                           25· · · · · · ·Paul Sheldon

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·1· · · · · · · · · DEPOSITION ERRATA SHEET
·2· ·Page No.____Line No.____Change to:___________
·3· ·_____________________________________________
·4· ·Reason for change:___________________________
·5· ·Page No.____Line No.____Change to:___________
·6· ·_____________________________________________
·7· ·Reason for change:___________________________
·8· ·Page No.____Line No.____Change to:___________
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10· ·Reason for change:___________________________
11· ·Page No.____Line No.____Change to:___________
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13· ·Reason for change:___________________________
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17· ·Page No.____Line No.____Change to:___________
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21· ·_____________________________________________
22· ·Reason for change:___________________________
23
24· ·SIGNATURE:____________________DATE:__________
25· · · · · · ·Paul Sheldon



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